EXHIBIT 21
                                            DVMC Deer Valley Medical            Wells, Casey J
                                            Center                              MRN: 3040078, DOB:             , Sex: M
                                            19829 N. 27th Avenue                Acct #: 20190350580
                                            PHOENIX AZ 85027-4001               Adm: 2/4/2019, D/C: 2/6/2019
                                            Hospital Encounter

                                                        ED Notes (continued)
ED Provider Notes by Jonathan Avelino Maitem, DO at 02/04/19 1635 (continued)                                         Version 1 of 1

3. Bilateral lower lobe and bilateral upper lobe
atelectasis or consolidations.
4. The stomach is significantly distended with air and
there is air within a
loop of mildly distended small bowel. Correlation for
iatrogenic air
introduction from the patient's respiratory code is
advised.
5. Fatty hepatic changes.
6. Small fat-containing umbilical hernia and bilateral
inguinal hernias.
7. Limited assessment of the urinary bladder as it is
empty from the Foley
catheter.

Dictated on: 2/4/2019 4:48 PM
Interpreted by: Barry Sadegi, M.D.
Signed by: Barry Sadegi, M.D.
Signed Date/Time: 2/4/2019 4:48 PM

The Medical Diagnostic Imaging Group
If you need assistance, please call 602-246-2584.

XR Chest Portable
Final Result
IMPRESSION:
1. Nasogastric tube tip projects over the superior
mediastinum, repositioning
is necessary.
2. Right central venous catheter tip in satisfactory
position.
3. Cardiomegaly and elevated pulmonary vascularity.

Dictated on: 2/4/2019 4:07 PM
Interpreted by: Barry Sadegi, M.D.
Signed by: Barry Sadegi, M.D.
Signed Date/Time: 2/4/2019 4:07 PM

The Medical Diagnostic Imaging Group
If you need assistance, please call 602-246-2584.

XR Chest 1 View Post Procedure
Final Result
IMPRESSION:
1. No radiographic evidence of acute pulmonary
disease.
2. Endotracheal tube in place with distal tip
approximately 2.3 cm above the
Generated by 70247 at 11/11/20 10:36 AM                                                                                   Page 10

                                                                                                     WELLS 001031
                                            DVMC Deer Valley Medical            Wells, Casey J
                                            Center                              MRN: 3040078, DOB:             Sex: M
                                            19829 N. 27th Avenue                Acct #: 20190350580
                                            PHOENIX AZ 85027-4001               Adm: 2/4/2019, D/C: 2/6/2019
                                            Hospital Encounter

                                                        ED Notes (continued)
ED Provider Notes by Jonathan Avelino Maitem, DO at 02/04/19 1635 (continued)                                       Version 1 of 1

carina

Dictated on: 2/4/2019 3:22 PM
Interpreted by: Aaron Wittenberg, M.D.
Signed by: Aaron Wittenberg, M.D.
Signed Date/Time: 2/4/2019 3:22 PM

The Medical Diagnostic Imaging Group
If you need assistance, please call 602-246-2584.

Radiology reports interpreted by radiologist, reviewed by me.

Laboratory Studies:
Results for orders placed or performed during the hospital encounter of 02/04/19
CBC with Differential
Result                                Value                 Ref Range
  WBC                                 8.5                   4.0 - 10.5 10³/uL
  RBC                                 5.14                  3.90 - 5.40 10 6/uL
  Hemoglobin                          16.6 (H)              10.5 - 14.0 g/dL
  Hematocrit                          52.2 (H)              32.0 - 42.0 %
  MCV                                 101.6 (H)             80.0 - 95.0 fL
  MCH                                 32.3                  27.0 - 34.0 PG
  MCHC                                31.8                  31.0 - 37.0 g/dL
  RDW-CV                              12.9                  11.0 - 14.5 CV%
  RDW-SD                              48.5 (H)              36.4 - 43.9 SD FL
  Platelets                           305                   130 - 450 K/uL
  MPV                                 12.1                  7.4 - 12.4 fL
  Neutrophils                         50                    %
  Lymphs                              34                    %
  Monocytes                           10                    %
  Basophils                           0                     %
  Eosinophils                         2                     %
  Immature Grans                      5                     %
  nRBC                                <1.0                  /100 WBCs
  Neutrophils Absolute                4.23                  2.88 - 6.00 10³/uL
  Lymphocytes Absolute                2.84                  2.40 - 5.20 10³/uL
  Monocytes Absolute                  0.81                  0.27 - 1.25 10³/uL
  Eosinophils Absolute                0.13                  <=0.62 10³/uL
  Basophils Absolute                  0.03                  10³/uL
  Immature Grans Absolute             0.41 (H)              0.00 - 0.10 10³/uL
  Nucleated RBC Absolute              0.000                 <=0.020 10³/uL
Comprehensive Metabolic Panel
Result                                Value                 Ref Range
  Glucose                             225 (H)               74 - 106 mg/dL
  BUN                                 23 (H)                8 - 21 mg/dL
  Creatinine                          0.6                   mg/dL
  eGFR (Non-African American)                               >60 mL/min/1.73m2
  eGFR (African American)                                   >60 mL/min/1.73m2
Generated by 70247 at 11/11/20 10:36 AM                                                                                 Page 11

                                                                                                     WELLS 001032
                                                      DVMC Deer Valley Medical              Wells, Casey J
                                                      Center                                MRN: 3040078, DOB:                   Sex: M
                                                      19829 N. 27th Avenue                  Acct #: 20190350580
                                                      PHOENIX AZ 85027-4001                 Adm: 2/4/2019, D/C: 2/6/2019
                                                      Hospital Encounter

                                                     H&P - Additional Provider Notes (continued)
H&P by Amira Habib Attya, MD at 02/04/19 2017 (continued)
8:30 PM


   Electronically signed by Amira Habib Attya, MD at 02/04/19 2038



                                                          Consults - Additional Provider Notes
Consults by Hoang Lim, DO at 02/04/19 1910
   Author: Hoang Lim, DO                                Service: Trauma                                 Author Type: Physician
   Date of Service: 02/04/19 1910                       Creation Time: 02/04/19 1910                    Filed: 02/04/19 1924
   Status: Signed                                       Editor: Hoang Lim, DO (Physician)
       Consult Orders
       1. Trauma Surgery Consult [183200937] ordered by Jonathan Avelino Maitem, DO at 02/04/19 1718




                                                Trauma Consult Note

                                 ACUTE CARE SURGICAL SPECIALISTS

Name:       Casey Wells                                              Date of Exam:             2/4/2019
MRN:        5432291                                                  Primary Provider:         No primary care
                                                                                               provider on file.
DOB:                                                                 Age:                      40 y.o.
                                                                     Gender:                   male


                                                       Presentation
Mechanism of Injury:
 code arrest

HPI:
40M presented to ED by EMS after code arrest. Pt was reported to be doing yoga naked in the park and was
approached by police officers. Got into an altercation with police. He was reported to have been tased 3-4
times and then went into cardiac arrest. CPR was initiated. Pt presented to ED with lucas device. Pt was
intubated in ED by ER physician. Trauma is being consulted for sternal fractures and b/l rib fractures.

                                                            History
Past Medical History:
Generated by 70247 at 11/11/20 10:36 AM                                                                                               Page 209

                                                                                                                     WELLS 001230
EXHIBIT 22
                        Gary M. Vilke, M.D., FACEP, FAAEM
                              11582 Normanton Way
                            San Diego, California 92131
                                   (619) 666-8643

November 19, 2021

Christina Retts
Wienke Law Group
1095 W. Rio Salado Pkwy, Suite 209
Tempe, AZ 85281



                          RE: Lei Ann Stickney v. City of Phoenix, et al.
                                 Case No.: 2:20-cv-SMB-CDB


Introduction


       I am a board-certified emergency department physician with substantial experience in

cardiac arrest and sudden death. I am also an independent researcher on the physiologic effects

of restraint, neck holds, and body position as well as TASER conductive energy weapons. My

specific qualifications will be outlined in more detail at the end of this report.

       I have been retained as an expert to review relevant materials and provide expert opinion on

this matter on whether the actions of the City of Phoenix police officers caused or contributed to the

cardiac arrest and death of Mr. Casey Wells when the officers encountered him on February 4,

2019. After careful review, it is my opinion to a reasonable degree of medical certainty that Mr.

Wells’ cardiac arrest and death was not caused by the actions of the officers including the use of the

TASER or restraint. This opinion and related opinions are set forth in the expert report.



                                        Materials Reviewed



        I have reviewed extensive materials pertaining to the above referenced case. This includes,
but is not limited to:
                                                                         COP-STICKNEY007227
       A.      Medical and Scientific Literature


Chan TC, Vilke GM, Neuman T, Clausen JL: Restraint position and positional asphyxia. Ann
Emerg Med 1997;30(5):578-586.

Chan TC, Vilke GM, Neuman T: Reexamination of custody restraint position and positional
asphyxia. Am J Forensic Med Pathol 1998;19(3):201-205.

Vilke GM, Chan TC, Neuman T, Clausen JL: Spirometry in normal subjects in sitting, prone, and
supine positions. Respir Care 2000;45(4):407-410.

Chan TC, Neuman T, Clausen J, Eisele J, Vilke GM: Weight force during prone restraint and
respiratory function. Am J Forensic Med Pathol 2004;25(3):185-189.

Michalewicz BA, Chan TC, Vilke GM, Levy SS, Neuman TS, Kolkhorst FW. Ventilatory and
metabolic demands during aggressive physical restraint in healthy adults. J Forensic Sci
2007;52(1):171-175.

Reay DT, Howard JD, Fligner CL, Ward RJ. Effects of positional restraint on oxygen saturation
and heart rate following exercise. Am J Forensic Med Pathol. 1988 Mar;9(1):16-8.

Schmidt P, Snowden T. The effects of positional restraint on heart rate and oxygen saturation. J
Emerg Med 1999;17:777-782.

Savaser DJ, Campbell C, Castillo EM, Vilke GM, Sloane C, Neuman T, Hansen AV, Shah S, Chan
TC. The effect of the prone maximal restrained position with and without weight force on cardiac
output and other hemodynamic measures. J Forens Leg Med. 2013 Nov;20(8):991-5. Epub 2013
Aug 30.

Sloane C, Chan TC, Kolkhorst F, Neuman T, Castillo EM, Vilke GM. Evaluation of the
Ventilatory Effects of the Prone Maximum Restraint Position (PMR) on Obese Human Subjects.
Forens Sci Int 2014;237:86-9. Epub 2014;46(6):865-72. Epub 2014 Feb 14.

Ho JD, Dawes DM, Moore JC, Caroon LV, Miner JR: Effect of position and weight force on
inferior vena cava diameter--implications for arrest-related death. Forensic Sci Int. 2011 Oct
10;212(1-3):256-9.

Kroll MW, Still GK, Neuman TS, Graham MA, Griffin LV. Acute forces required for fatal
compression asphyxia: A biomechanical model and historical comparisons. Med Sci and the Law.
2017 Jan 1:25802417695711. [Epub ahead of print]

Kroll MW, Brave MA, Kleist SR, Ritter MB, Ross DL, Karch SB. Applied Force During Prone
Restraint: Is Officer Weight a Factor? Am J Forensic Med Pathol. 2018 [Epub ahead of print]

Rossen R, Kabat H, Anderson JP. Acute arrest of cerebral circulation in man. Arch
NeurPsych1943;50(5):510-28.


                                                 -2-                    COP-STICKNEY007228
Ho JD, Dawes DM, Bultman LL, et al. Respiratory Effect of Prolonged Electrical Weapon
Application on Human Volunteers. Acad Emerg Med.2007; 14:197–201

Vilke GM, Sloane CM, Suffecool A, Kolkhorst FW, Neuman TS, Castillo EM, Chan TC.
Physiologic effects of the TASER after exercise. Acad Emerg Med. 2009 Aug;16(8):704-10.

Vilke GM, Sloane CM, Bouton KD, Kolkhorst FW, Levine SD, Neuman TS, Castillo EM, Chan
TC. Physiological effects of a conducted electrical weapon on human subjects. Ann Emerg Med.
2007 Nov;50(5):569-75. Epub 2007 Aug 24.

Ho J, Dawes D, Nelson RS, et al. Acidosis and catecholamine evaluation following simulated law
enforcement "use of force" encounters. Acad Emerg Med 2010 Jul;17(7):e60-8.

Vilke GM, Bozeman WP, Chan TC. Emergency Department Evaluation after Conducted Energy
Weapon Use: Review of the Literature for the Clinician. J Emerg Med 2011;40(5):598-604. Epub
2011 Jan 4.

Swerdlow CD, Fishbein MC, Chaman L, Lakkireddy DR, Tchou P.. Presenting Rhythm in Sudden
Deaths Temporally Proximate to Discharge of TASER Conducted Electrical Weapons. Acad.
Emerg. Med. 2009;16:726-739.

Kroll MW, Lakkireddy D, Rahko PS, Panescu D. Ventricular Fibrillation Risk Estimation for
Conducted Electrical Weapons: Critical Convolutions. Conf Proc IEEE Eng Med Biol Soc
2011:271-7.

Panescu D, Kroll M, Brave M. Cardiac Fibrillation Risks with TASER Conducted Electrical
Weapons. Conf Proc IEEE Eng Med Biol Soc. 2015:323-9.

Kroll MW, Brave MA, Pratt HMO, Witte KK, Kunz SN, Luceri RM. Benefits, Risks, and Myths of
TASER Handheld Electrical Weapons. https://doi.org/10.1007/s41314-019-0021-9.


        B.    Case-Specific Materials


       01.    Plaintiff’s Second Amended Complaint dated June 24, 2020;
       02.    Defendants’ Answer to Plaintiff’s Second Amended Complaint dated September 4, 2020.
       03.    Plaintiff’s Second Amended Complaint dated June 24, 2020
       04.    Defendants’ Answer to Plaintiff’s Second Amended Complaint dated September 4, 2020
       05.    Defendants’ Initial Disclosure Statement dated October 30, 2020 with exhibits:
       06.    Phoenix Police Department Investigative Report
       07.    Color photos associated with Phoenix Police Department Investigative Report


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                                                                           COP-STICKNEY007229
08.   Phoenix Police Department Investigative Report re: Wells Autopsy (Redacted)
09.   Phoenix Police Department Body Cam Video
10.   Phoenix Police Department CAD Log
11.   Phoenix Police Department radio dispatch call
12.   Phoenix Police Department 911 Call
13.   Phoenix Police Department Taser Report prepared by Mark Veres
14.   Phoenix Police Department Audio Interview of Shelly Aldridge
15.   Phoenix Police Department Audio Interview of John Antoniades
16.   Phoenix Police Department Audio Interview of Jeffrey Bolduc
17.   Phoenix Police Department Audio Interview of Holly Boston
18.   Phoenix Police Department Audio Interview of Constance Brenton
19.   Phoenix Police Department Audio Interview of Richard Buffington
20.   Phoenix Police Department Audio Interview of Peter Chambers
21.   Phoenix Police Department Audio Interview of Wanda Cleveland and Brittany Walls
22.   Phoenix Police Department Audio Interview of Elisabeth Johnson
23.   Phoenix Police Department Audio Interview of Kyle O’Hare
24.   Phoenix Police Department Audio Interview of Jenevette Tate
25.   Phoenix Police Department Audio Interview of Naida Tedquist
26.   Phoenix Police Department Audio Interview of Douglas Texel
27.   Phoenix Police Department Audio Interview of Vickki Zachariah
28.   Phoenix Police Department Audio Interview of Officer James Arnold
29.   Phoenix Police Department Audio Interview of Officer Travis Funston
30.   Phoenix Police Department Audio Interview of Officer Frank Long
31.   Phoenix Police Department Audio Interview of Sergeant Rodarme
32.   Phoenix Police Department Audio Interview of Officer Joseph Seaquist
33.   Phoenix Police Department Audio Interview of John Antoniades
34.   Phoenix Police Department Dash Cam Video
35.   Phoenix Police Department Use of Force Report
36.   Maricopa County Office of the Medical Examiner Final Report
37.   Maricopa County Office of the Medical Examiner Neuropathology Final Report
38.   Maricopa County Office of the Medical Examiner Anthropology Final Report
39.   Maricopa County Office of the Medical Examiner Toxicology Final Report
40.   Phoenix Police Department Professional Standards Bureau (“PSB”) Report

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                                                               COP-STICKNEY007230
41.   Phoenix Police Department PSB Report (Internal Investigation)
42.   Phoenix Police Department PSB (Administrative Paperwork)
43.   Phoenix Police Department PSB (Involved Employees)
44.   Phoenix Police Department PSB (Civilian/Suspect) (Redacted)
45.   Phoenix Police Department (Attachments) (Redacted)
46.   Phoenix Police Department Review Board Use of Force Incident Review Memo
47.   Phoenix Police Department PSB Investigation Summary
48.   John Antoniades Audio File
49.   James Arnold Audio File
50.   Jeffrey Bolduc Audio File
51.   Holly Boston Audio File
52.   Richard Buffington Audio File
53.   Peter Chambers Audio File
54.   Travis Funston Audio File
55.   Dustin Haynes Audio File
56.   Frank Long Audio File
57.   Kenneth Palmer Audio File
58.   Robert Rodarme Audio File
59.   Joseph Seaquist Audio File
60.   Jenevette Tate Audio File
61.   Douglas Texel Audio File
62.   Sean Yamane Audio File
63.   Vickki Zachariah Audio File
64.   AZ Central.com article re: Casey Wells
65.   Defendants’ First Supplemental Disclosure Statement dated February 3, 2021 with exhibits:
66.   Taser Pulse Chart 1 (Seaquist)
67.   Taser Pulse Chart 2 (Seaquist)
68.   Phoenix Fire Department EMS Incident Report
69.   Phoenix Fire Department Treatment Refusal form and release
70.   Phoenix Fire Department Incident History Report (RMS Live System)
71.   Defendants’ Second Supplemental Disclosure Statement dated March 3, 2021 with exhibits:
72.   Officer James Arnold’s Division file as maintained by the City of Phoenix (Redacted)
73.   Declaration of Custodian of Records from Phoenix Police Department re: Officer James

                                       -5-


                                                                    COP-STICKNEY007231
      Arnold’s Division file
74.   Officer James Arnold’s FMB file as maintained by the City of Phoenix (Redacted)
75.   Declaration of Custodian of Records from Phoenix Police Department re: Officer James
      Arnold’s FMB file
76.   Officer James Arnold’s Human Resources (“HR”) file as maintained by the City of Phoenix
      (Redacted)
77.   Declaration of Custodian of Records from Phoenix Police Department re: Officer James
      Arnold’s HR file
78.   Officer James Arnold’s Professional Standard’s Bureau (“PSB”) file as maintained by the
      City of Phoenix (Redacted)
79.   Declaration of Custodian of Records from Phoenix Police Department re: Officer James
      Arnold’s PSB file
80.   Officer James Arnold’s Supervisor Notes file as maintained by the City of Phoenix (Redacted)
81.   Declaration of Custodian of Records from Phoenix Police Department re: Officer James
      Arnold’s Supervisor Notes file
82.   Officer James Arnold’s Training file as maintained by the City of Phoenix (Redacted)
83.   Declaration of Custodian of Records from Phoenix Police Department re: Officer James
      Arnold’s Training file
84.   Declaration of Custodian of Records from Phoenix Police Department re: no SID file exists
      for Officer James Arnold
85.   Officer Travis Funston’s Division file as maintained by the City of Phoenix (Redacted)
86.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Travis
      Funston’s Division file
87.   Officer Travis Funston’s FMB file as maintained by the City of Phoenix (Redacted)
88.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Travis
      Funston’s FMB file
89.   Officer Travis Funston’s Human Resources (“HR”) file as maintained by the City of Phoenix
      (Redacted)
90.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Travis
      Funston’s HR file
91.   Officer Travis Funston’s Professional Standard’s Bureau (“PSB”) file as maintained by the
      City of Phoenix (Redacted)
92.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Travis

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                                                                     COP-STICKNEY007232
       Funston’s PSB file
93.    Officer Travis Funston’s Supervisor Notes file as maintained by the City of Phoenix
       (Redacted)
94.    Declaration of Custodian of Records from Phoenix Police Department re: Officer Travis
       Funston’s Supervisor Notes file
95.    Officer Travis Funston’s Training file as maintained by the City of Phoenix (Redacted)
96.    Declaration of Custodian of Records from Phoenix Police Department re: Officer Travis
       Funston’s Training file
97.    Declaration of Custodian of Records from Phoenix Police Department re: no SID file exists
       for Officer Travis Funston
98.    Officer Dustin Haynes’ Division file as maintained by the City of Phoenix (Redacted)
99.    Declaration of Custodian of Records from Phoenix Police Department re: Officer Dustin
       Haynes’ Division file
100.   Officer Dustin Haynes’ FMB file as maintained by the City of Phoenix (Redacted)
101.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Dustin
       Haynes’ FMB file
102.   Officer Dustin Haynes’ Human Resources (“HR”) file as maintained by the City of Phoenix
       (Redacted)
103.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Dustin
       Haynes’ HR file
104.   Officer Dustin Haynes’ Professional Standard’s Bureau (“PSB”) file as maintained by the
       City of Phoenix (Redacted)
105.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Dustin
       Haynes’ PSB file
106.   Officer Dustin Haynes’ Supervisor Notes file as maintained by the City of Phoenix (Redacted)
107.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Dustin
       Haynes’ Supervisor Notes file
108.   Officer Dustin Haynes’ Training file as maintained by the City of Phoenix (Redacted)
109.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Dustin
       Haynes’ Training file
110.   Declaration of Custodian of Records from Phoenix Police Department re: no SID file exists
       for Officer Dustin Haynes
111.   Officer Frank Long’s Division file as maintained by the City of Phoenix (Redacted)

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                                                                      COP-STICKNEY007233
112.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Frank
       Long’s Division file
113.   Officer Frank Long’s FMB file as maintained by the City of Phoenix (Redacted)
114.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Frank
       Long’s FMB file
115.   Officer Frank Long’s Human Resources (“HR”) file as maintained by the City of Phoenix
       (Redacted)
116.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Frank
       Long’s HR file
117.   Officer Frank Long’s Professional Standard’s Bureau (“PSB”) file as maintained by the City
       of Phoenix (Redacted)
118.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Frank
       Long’s PSB file
119.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Frank
       Long’s PSB file
120.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Frank
       Long’s Supervisor Notes file
121.   Officer Frank Long’s Training file as maintained by the City of Phoenix (Redacted)
122.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Frank
       Long’s Training file
123.   Declaration of Custodian of Records from Phoenix Police Department re: no SID file exists
       for Officer Frank Long
124.   Officer Kenneth Palmer’s Division File as maintained by the City of Phoenix (Redacted)
125.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Kenneth
       Palmer’s Division file
126.   Officer Kenneth Palmer’s FMB File as maintained by the City of Phoenix (Redacted)
127.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Kenneth
       Palmer’s FMB file
128.   Officer Kenneth Palmer’s Human Resources (“HR”) file as maintained by the City of Phoenix
       (Redacted)
129.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Kenneth
       Palmer’s HR file
130.   Officer Kenneth Palmer’s Professional Standard’s Bureau (“PSB”) file as maintained by the

                                        -8-


                                                                     COP-STICKNEY007234
       City of Phoenix (Redacted)
131.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Kenneth
       Palmer’s PSB file
132.   Officer Kenneth Palmer’s Supervisor Notes file as maintained by the City of Phoenix
       (Redacted)
133.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Kenneth
       Palmer’s Supervisor Notes file
134.   Officer Kenneth Palmer’s Training file as maintained by the City of Phoenix (Redacted)
135.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Kenneth
       Palmer’s Training file
136.   Declaration of Custodian of Records from Phoenix Police Department re: no SID file exists
       for Officer Kenneth Palmer
137.   Sgt. Robert Rodarme’s Division file as maintained by the City of Phoenix
138.   Declaration of Custodian of Records from Phoenix Police Department re: Sgt. Robert
       Rodarme’s Division file
139.   Sgt. Robert Rodarme’s FMB file as maintained by the City of Phoenix (Redacted)
140.   Declaration of Custodian of Records from Phoenix Police Department re: Sgt. Robert
       Rodarme’s FMB file
141.   Sgt. Robert Rodarme’s Human Resources file as maintained by the City of Phoenix
       (Redacted)
142.   Declaration of Custodian of Records from Phoenix Police Department re: Sgt Robert
       Rodarme’s HR file
143.   Sgt. Robert Rodarme’s Professional Standard’s Bureau (“PSB”) file as maintained by the City
       of Phoenix
144.   Declaration of Custodian of Records from Phoenix Police Department re: Sgt. Robert
       Rodarme’s PSB file
145.   Sgt. Robert Rodarme’s Training file as maintained by the City of Phoenix (Redacted)
146.   Declaration of Custodian of Records from Phoenix Police Department re: Sgt. Robert
       Rodarme’s Training file
147.   Declaration of Custodian of Records from Phoenix Police Department re: no SID file exists
       for Sgt. Robert Rodarme
148.   Officer Joseph Seaquist’s FMB file as maintained by the City of Phoenix (Redacted)
149.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Joseph

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                                                                     COP-STICKNEY007235
       Sequist’s FMB file
150.   Officer Joseph Seaquist’s Human Resources file as maintained by the City of Phoenix
       (Redacted)
151.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Joseph
       Sequist’s HR file
152.   Officer Joseph Seaquist’s Professional Standard’s Bureau (“PSB”) file as maintained by the
       City of Phoenix
153.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Joseph
       Seaquist’s PSB file
154.   Officer Joseph Seaquist’s Training file as maintained by the City of Phoenix (Redacted)
155.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Joseph
       Seaquist’s Training file
156.   Officer Sean Yamane’s Division file as maintained by the City of Phoenix (Redacted)
157.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Sean
       Yamane’s Division file
158.   Officer Sean Yamane’s FMB file as maintained by the City of Phoenix
159.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Sean
       Yamane’s FMB file
160.   Officer Sean Yamane’s Human Resources (“HR”) file as maintained by the City of Phoenix
       (Redacted)
161.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Sean
       Yamane’s HR file
162.   Officer Sean Yamane’s Professional Standard’s Bureau (“PSB”) file as maintained by the
       City of Phoenix (Redacted)
163.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Sean
       Yamane’s PSB file
164.   Officer Sean Yamane’s Supervisor Notes file as maintained by the City of Phoenix (Redacted)
165.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Sean
       Yamane’s Division file
166.   Officer Sean Yamane’s FMB file as maintained by the City of Phoenix
167.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Sean
       Yamane’s FMB file
168.   Officer Sean Yamane’s Human Resources (“HR”) file as maintained by the City of Phoenix

                                        - 10 -


                                                                      COP-STICKNEY007236
       (Redacted)
169.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Sean
       Yamane’s HR file
170.   Officer Sean Yamane’s Professional Standard’s Bureau (“PSB”) file as maintained by the
       City of Phoenix (Redacted)
171.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Sean
       Yamane’s PSB file
172.   Officer Sean Yamane’s Supervisor Notes file as maintained by the City of Phoenix (Redacted)
       Declaration of Custodian of Records from Phoenix Police Department re: Officer Sean
       Yamane’s Supervisor Notes file
173.   Officer Sean Yamane’s Training File as maintained by the City of Phoenix
174.   Declaration of Custodian of Records from Phoenix Police Department re: Officer Sean
       Yamane’s Training file
175.   Declaration of Custodian of Records from Phoenix Police Department re: no SID file exists
       for Officer Sean Yamane
176.   Phoenix Police Department Training materials re: Non-credit video training Restraint/Refusal
177.   Phoenix Police Department Training re: Taser Operations
178.   Phoenix Police Department Training re: Ground Fighting
179.   Phoenix Police Department Training re: Excited Delirium
180.   Phoenix Police Department Training re: Taser X26 Recertification
181.   Phoenix Police Department Training re: Urban and Open Area Engagements
182.   Phoenix Police Department Training re: Use of Force Review
183.   Phoenix Police Department Training re: Crisis Communications for First Responders
184.   Phoenix Police Department Training re: Taser X26 Recertification
185.   Phoenix Police Department Training re: Taser X2 Operator
186.   Phoenix Police Department Training re: Advanced Officer Training
187.   Phoenix Police Department Training materials re: Use of Force Review
188.   Phoenix Police Department Training materials re: Arrest Team Tactics
189.   Phoenix Police Department Training materials re: Lesson Plan - Dealing with the Mentally Ill
190.   Phoenix Police Department Training materials re: Lesson Plan - Module Mental Illness
191.   Phoenix Police Department Training materials re: Lesson Plan - Module Use of Force Review
192.   Phoenix Police Department Training materials re: Lesson Plan - Taser Certification Power
       Point Presentation

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193.   Phoenix Police Department Training re: Lesson Plan - Taser M26/X26 Advanced Taser
194.   Phoenix Police Department Training re: Lesson Plan - Taser X26 Recertification
195.   Phoenix Police Department Training materials re: CALEA Video - Mental Illness
196.   Article re: Compression Asphyxia Biomechanical Model by Kroll, et al. 2017
197.   Westlaw Case Copy re: Marquez v. City of Phoenix (Appeal 2012)
198.   Westlaw Case Copy re: Marquez v. City of Phoenix
199.   Phoenix Police Department Use of Force Report for IR
200.   Phoenix Police Department Ops Order 1-05 Use of Force (Eff. 2018)
201.   Transcript re: Audio Interview of Officer Arnold
202.   Transcript re: Audio Interview of Officer Funston
203.   Transcript re: Audio Interview of Officer Long
204.   Transcript re: Audio Interview of Sergeant Rodarme
205.   Transcript re: Audio Interview of Officer Seaquist
206.   Transcript re: John Antoniadis Audio Interview
207.   Transcript re: Shelly Aldridge Audio Interview
208.   Transcript re: Connie Brenton Audio Interview
209.   Transcript re: Richard Buffington Audio Interview
210.   Transcript re: Jeffrey Bolduc Audio Interview labeled --Jeffrey Bolduc
211.   Transcript re: Peter Chambers Audio Interview
212.   Transcript re: Elizabeth Johnson Audio Interview labeled --Elisabeth Johnson (Redacted)
213.   Transcript re: Douglas Texel Audio Interview labeled --Douglas Texel (Redacted)
214.   Transcript re: Jenevette Tate Audio Interview labeled --Jenevette Tate (Redacted)
215.   Transcript re: Lei Stickney Audio Interview
216.   Transcript re: Naida Tedquist Audio Interview
217.   Transcript re: Vicki Zachariah Audio Interview
218.   Transcript re: Body Worn Camera (Palmer)
219.   Transcript re: Dispatch Radio Call
220.   Transcript re: Holly Boston 911 Call
221.   Transcript re: James Main 911
222.   Transcript re: Peter Chambers 911
223.   Transcript re: Message System Call
224.   Transcript re: Jenvette Tate 911
225.   Transcript re: 911 Call

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226.   Transcript re: Kayla 911 Call
227.   Transcript re: Detective John Teusink Dispatch Call
228.   Officer Dustin Haynes’ E-Learning Training Log (Redacted)
229.   Officer Frank Long’s E-Learning Training Report (Redacted)
230.   Officer James Arnold’s E-Learning Training Report (Redacted)
231.   Officer Joseph Seaquist’s E-Learning Training Report (Redacted)
232.   Officer Kenneth Palmer’s E-Learning Training Report (Redacted)
233.   Sergeant Robert Rodarme’s E-Learning Training Report (Redacted)
234.   Officer Sean Yamane’s E-Learning Training Report (Redacted)
235.   Officer Travis Funston’s E-Learning Training Report (Redacted)
236.   Phoenix Police Department Alert History for Officer James Arnold
237.   Phoenix Police Department Alert History for Officer Travis Funston
238.   Phoenix Police Department Alert History for Officer Dustin Haynes
239.   Phoenix Police Department Alert History for Officer Frank Long
240.   Phoenix Police Department Alert History for Sergeant Robert Rodarme
241.   Phoenix Police Department Alert History for Officer Joseph Seaquist
242.   Phoenix Police Department Alert History for Officer Sean Yamane
243.   Phoenix Police Department Concise Officer History Report for Officer James Arnold
       (Redacted)
244.   Phoenix Police Department Concise Officer History Report for Officer Travis Funston
       (Redacted)
245.   Phoenix Police Department Concise Officer History Report for Officer Dustin Haynes
       (Redacted)
246.   Phoenix Police Department Concise Officer History Report for Officer Frank Long
247.   Phoenix Police Department Concise Officer History Report for Officer Kenneth Palmer
       (Redacted)
248.   Phoenix Police Department Concise Officer History Report for Sergeant Robert Rodarme
       (Redacted)
249.   Phoenix Police Department Concise Officer History Report for Officer Joseph Seaquist
       (Redacted)
250.   Phoenix Police Department Concise Officer History Report for Officer Sean Yamane
       (Redacted)
251.   Transcript re: PSB 19-0022 Audio file of Holly Boston Interview

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252.   Transcript re: PSB 19-0022 Audio file of Officer Dustin Haynes Interview
253.   Transcript re: PSB 19-0022 Audio file of Officer Frank Long Interview
254.   Transcript re: PSB 19-0022 Audio file of Officer Joseph Seaquist Interview
255.   Transcript re: PSB 19-0022 Audio file of Officer Sean Yamane Interview
256.   Plaintiff’s Initial Disclosure Statement dated October 13, 2020 with disclosed exhibits
257.   Plaintiff’s First Supplemental Disclosure Statement dated December 2, 2020 with disclosed
       exhibits
258.   Plaintiff’s Second Supplemental Disclosure Statement dated January 18, 2021 with disclosed
       exhibits
259.   Plaintiff’s Third Supplemental Disclosure Statement dated February 27, 2021 with disclosed
       exhibits
260.   Plaintiff’s Fourth Supplemental Disclosure Statement dated March 6, 2021 with disclosed
       exhibits
261.   Plaintiff’s Fifth Supplemental Disclosure Statement dated March 17, 2021 with
262.   disclosed exhibits
263.   Plaintiff’s Sixth Supplemental Disclosure Statement dated March 20, 2021 with
264.   disclosed exhibits
265.   Plaintiff’s Seventh Supplemental Disclosure Statement dated March 22, 2021 with disclosed
       exhibits
266.   Plaintiff’s Twelfth Supplemental Disclosure Statement dated October 15, 2021 with
       disclosed exhibits;
267.   Medical Records from Honor Health Deer Valley Medical Center
268.   Deposition with exhibits of Officer James Arnold
269.   Deposition with exhibits of Officer Travis Funston
270.   Deposition with exhibits of Officer Dustin Haynes
271.   Deposition with exhibits of Officer Frank Long
272.   Deposition with exhibits of Officer Kenneth Palmer
273.   Deposition with exhibits of Sgt. Robert Rodarme
274.   Deposition with exhibits of Officer Joseph Seaquist
275.   Deposition of Sean Yamane
276.   Depositoin of Krystal Goodwin
277.   Expert Report of Dr. Michael Freeman
278.   Expert Report of Dr. Daniel Wohlgelernter

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       279.    Expert Report of Dr. Daniel Spitz
       280.    Expert Report of Scott DeFoe
       281.    Medical Records from St. Joseph’s Hospital and Medical Center




                                       Overview of Opinions
                        (all opinions within this report are to a reasonable
                             degree of medical or scientific probability)

       An overview of my opinions is as follows with more description of each below:


   1. The actions of the officers to control and restrain Mr. Wells did not cause or contribute to
      his cardiac arrest and death.

   2. The use of the TASER on Mr. Wells did not cause or contribute to his cardiac arrest or
      death.

   3. There was no clinical evidence of a prolonged neck hold on Mr. Wells and the thyroid
      cartilage injury noted on autopsy did not cause his sudden cardiac arrest and death.

   4. Mr. Wells was exhibiting clinical signs of methamphetamine intoxication during his
      encounter with the officers, which is consistent with the toxicology screen.


                                         General Overview



       After reviewing the above listed materials, it appears that on February 4, 2019 at approximately

1406, the Phoenix Police Department received a call reporting a naked male in the street yelling. This

individual, later identified as Mr. Casey Wells, was 40 years old, weighed approximately 227 lbs. and was

5’9” at the time. This translates to a body mass index of 33.5, which falls into the “obese” category.

Phoenix Police Officer James Arnold arrived on the scene first and attempted to converse with Mr.

Wells. Sgt. Robert Rodarme arrived on the scene while Officer Arnold was trying to de-escalate

the situation and get Mr. Wells off the street and clothed. This de-escalation was not successful.


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                                                                                COP-STICKNEY007241
Then Officer Arnold and Sgt. Rodarme tried to work together to get Mr. Wells in handcuffs but he

refused and resisted. Officer Arnold then placed Mr. Wells in a face-to-face bear-hug with the

officer’s arms under Mr. Wells’ arms. With the assistance of Sgt. Rodarme pulling Mr. Wells’

shoulders, the two officers were able to get Mr. Wells to the ground on his back.

       With Mr. Wells on his back, Officer Arnold was straddling Mr. Wells’ abdomen. Mr. Wells

swung his arms at Sgt. Rodarme, to which Officer Arnold used his forearm to strike Mr. Wells in

the nose. Officer Arnold was controlling Mr. Wells’ left arm while Sgt. Rodarme was trying to

control the right arm. When Officer Joseph Seaquist arrived on scene, he assisted by controlling

Mr. Wells’ feet and legs to prevent him from kicking. Once Officer Seaquist had some control of

Mr. Wells’ legs the officers turned Mr. Wells onto his stomach. Once over, Officers Arnold and

Sgt. Rodarme stayed in the same relative positions on either side of Mr. Wells, with Sgt. Rodarme

now trying to control Mr. Wells’ left arm and Officer Arnold attempting to control Mr. Wells’ right

arm.

       Mr. Wells continued to resist being handcuffed so Officer Seaquist deployed his TASER

from about one foot away into Mr. Wells’ back. Mr. Wells tensed up, relaxed and then continued to

fight. Sgt. Rodarme was trying to gain control of Mr. Wells’ left arm which was positioned under

Mr. Wells’ stomach while Officer Arnold was trying to control Mr. Wells’ right arm. Officer

Sequist deployed his TASER several other times. The officers were able to handcuff Mr. Wells and

Officer Travis Funston arrived on scene and took Officer Seaquist’s RIPP Restraint and put it on

Mr. Wells’ legs as a hobble, but did not connect the clip.

       Shortly after being restrained, Mr. Wells was noted to not be breathing and did not have a

pulse. CPR was initiated and paramedics, who had been previously requested because of the

TASER use, arrived shortly thereafter. The paramedics found Mr. Wells in a PEA (pulseless

electrical activity) cardiac rhythm and initiated resuscitative measures but could not get a pulse




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                                                                             COP-STICKNEY007242
back prior to transporting Mr. Wells to the hospital.

        Mr. Wells was transported to Deer Valley Medical Center emergency department. During

resuscitation, Mr. Wells regained a pulse, but never did regain consciousness. He was admitted to

the ICU, but brain imaging studies and EEG showed no realistic expectation of recovery. Life

sustaining therapies were withdrawn and Mr. Wells died on February 6, 2019 at 1746.


       A brief timeline of selected events from the EMS record is below:

1428    Call received
1433    On scene
1434    PEA rhythm, CPR
1435    18 g IV placed; epinephrine given-no changes
1438    Epinephrine given- no changes
1440    LMA placed
1442    Epinephrine given
1446    Departed scene
1452    Arrived at hospital


        The Medical Examiner, Dr. Kevin Horn, performed an autopsy and reported that the cause

of death was due to complications of cardiac dysrhythmia and arrest in setting of drug

(methamphetamine) intoxication, acute psychosis, arteriosclerotic cardiovascular disease, and

physical restraint with prone positioning and possible extrinsic chest compression.

        Given this history, there are several issues that need to be addressed in more detail below.

All opinions given are to a reasonable, or higher, degree of medical probability based on the

information currently available.



                             Detailed discussion and basis of opinions


   1. The actions of the officers to control and restrain Mr. Wells did not cause or contribute to
      his cardiac arrest and death.




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                                                                            COP-STICKNEY007243
       During the period that officers were trying to get Mr. Wells under control and restrained, he

was maintained at times on his back (supine) or on his stomach (prone) position with officers

repositioning and distributing some weight in response to Mr. Wells’ physical resistance. During

this time, based on the reports and depositions by officers and my review of the videos, Mr. Wells

was continuing to physically resist and grunt throughout.

       Once Mr. Wells was rolled onto his back, Officer Arnold and Sgt. Rodarme reported they

were on either side of Mr. Wells trying to control his arms and get him handcuffed. Officer

Seaquist was controlling Mr. Wells legs. Officer Arnold, who weighed about 250 lbs., reported on

page 113 of his deposition that he did later place his knee onto the shoulder blade of Mr. Wells.

“And like I had said, I never gained control of his arm until other people got there and then they

were able to get control of him. I had stepped away for that brief second or so to take a couple of

breaths. Then when they were still struggling with him, that's when I attempted to help hold him

down by kneeling on his shoulder blade. When I say kneel on his shoulder blade, I just placed my

knee on the back of his shoulder blade. I was doing more of the leaning on my left leg. Q.··So what

you're saying is that you weren't actually placing weight on him with your knee? A.··I had to have

been placing some sort of weight on him, just not all my weight, nor I wouldn't even say 50 percent

of my weight on him at that time. I placed the majority of my weight on my left leg that I was in,

like a -- say if I knelt down and I had my arm on my left leg leaning over on it I just placed my right

knee in his right shoulder blade.” Below is an image from the body cam showing the position of

Officer Arnold on the shoulder.




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                                                                             COP-STICKNEY007244
       The majority of the weight force was not on Mr. Wells in such a position that would have

created the potential to limit ventilation. The weight placed on the shoulder would not significantly

limit ventilations enough to cause asphyxiation. Nor would pulling out and holding the arm and

hand in position. Weight on the legs would have no limiting effect on ventilation or breathing.

Research using up to 220 lbs. of weight on a subject’s back has not shown to cause physiologic

changes that would imply asphyxiation is even possible with that amount of weight.

       If the officers’ application of weight had impacted Mr. Wells’ ability to ventilate to the point

of causing a cardiac arrest and sudden death by asphyxiation, the ventilations would have had to be

restricted long enough to where blood oxygen levels would drop because there was not enough

oxygen getting into Mr. Wells’ lungs. When this occurs, the low blood oxygen levels will cause the

heart to become irritable and eventually slow and then stop causing the subject to go into cardiac

arrest. This takes time and essentially a complete blockage of air movement in and out of the lungs.

There was no evidence that the short period during which some weight applied to Mr. Wells to get

him restrained caused the cascade of physiologic changes resulting in a cardiac arrest due to

asphyxia. In summary, the evidence supports that neither position, restraint or body weight caused

asphyxia or contributed to Mr. Wells’ cardiac arrest and death.


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                                                                             COP-STICKNEY007245
   2. The use of the TASER on Mr. Wells did not cause or contribute to his cardiac arrest or
      death.


       There are no peer-reviewed published scientific or medical literature that concludes that

TASER Conducted Electrical Weapons, cause cardiac dysrhythmias or cardiac arrest in humans

utilized in the probe mode or away from the chest transcardiac axis; there is no peer-reviewed

literature that supports that in the case of Mr. Wells a TASER could possibly have electrically-

induced his cardiac arrest or death; and there is a wealth of literature that supports that the TASER

could not have induced cardiac arrest or death in Mr. Wells. This means there has never been a

reported case of sudden death, cardiac arrest, or dysrhythmia from a TASER probe deployment to

the back of a human subject. There is theoretical modeling that describes how a TASER could

possibly cause cardiac arrest over the transcardiac (over the chest) axis with an embedded TASER

dart with a very close dart-to-heart distance (DTH), but these circumstances are not present with

Mr. Wells. In the case of an anterior chest deployment of a TASER probe, the modeled risks of

going into ventricular fibrillation (VF) are estimated to be 1 in 2.5 million to 1 in 2.87 million for

anterior chest probe deployments.

       More than 2.5 million volunteer subjects have undergone TASER activations, and none

have ever been reported to develop sudden cardiac arrest or die. Just because a TASER was used in

some temporal proximity to his death, does not imply contribution or causation to his death.

       According to the autopsy report Mr. Wells was 69” in length and weighed 227 pounds; this

gives Mr. Wells a body mass index (BMI) of 33.5 kilograms per meter squared (kg/m2) which is

considered obese.

       The TASER download reflects that Officer Seaquist used his TASER X2 during the incident

with Mr. Wells with a total of five trigger pulls recorded over approximately a one and a half-



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                                                                              COP-STICKNEY007246
minute time period. Officer Seaquist reported using the TASER in the probe mode with the probe

having been fired about 12 inches away from Mr. Wells, minimizing the probe spread. Officer

Seaquist reported in his deposition that he did not believe the first two activations were effective.

For the third and subsequent activations, Officer Seaquist reported that he activated the second

cartridge in probe mode as well. The time duration of the six trigger pulls was 5 seconds except for

the fourth trigger pull that was for 6 seconds, totaling 26 seconds of activation time. However, it

should be noted that activation or discharge does not equate to electrical charge being delivered to

the subject. The download data are noted below:




       For a TASER to deliver a charge to the person, the electrical circuit must be completed and

maintained. Thus, as a point of clarification, just because the TASER downloads recorded 26

seconds of activation/discharge time from the TASER, does not mean that the TASER were indeed

in sufficiently close contact with the subject and delivering the electrical stimulus for that amount

of time. Nor does the 26 seconds of activation/discharge time indicate in what mode the TASER

was used, or what degree of NMI, if any, was induced. In this case, the TASER was reported to be

used in probe mode from close range.

       If the TASER had “electrocuted” Mr. Wells, his heart would have gone into ventricular

fibrillation (VF) at the time the electricity was being delivered and he would have immediately lost

consciousness at the time that the TASER was discharging or within 1-2 seconds after stopping.

Subjects in VF cannot fight or struggle, let alone remain conscious as the blood flow to the brain

ceases immediately.




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                                                                             COP-STICKNEY007247
       For one to possibly conclude that a TASER could even be considered to cause cardiac

arrest, all the following facts would need to be present:

       1) The device probes would need to be penetrating deep into the chest directly over the

           heart with a very close DTH. Even for cardiac capture, which is not synonymous with

           VF, in a human a TASER dart would have to be within 16.7 millimeters (mm) to the

           heart;

       2) The subject would need to have a thin chest wall. In the case of Mr. Wells, even a

           TASER dart directly over his heart would likely not have been sufficiently close enough

           to induce capture;

       3) The subject would need to be standing at the time of the TASER activation and leaning

           forward so that the heart is closer to the anterior chest wall and the TASER dart closest

           to the heart;

       4) The subject would need to lose consciousness immediately during the TASER activation

           or within 1-2 seconds after; and

       5) The first cardiac rhythm would need to be VF.

       All of these would be needed to even consider the TASER as the cause of death, but in this

case with Mr. Wells, these facts are not present. So again, the published scientific data as well as

the objective evidence available conclusively confirms that the use of the TASER was non-

contributory or causal to the cardiac arrest and death of Mr. Wells.



   3. There was no clinical evidence of a prolonged neck hold on Mr. Wells and the thyroid
      cartilage injury noted on autopsy did not cause his sudden cardiac arrest and death.


       There was no evidence based on the review of the videos, reports and deposition testimony

that a neck hold was ever attempted on Mr. Wells. Officer Arnold was asked the following line of



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                                                                             COP-STICKNEY007248
questioning on page 149 of his deposition, “Q.··Did you ever apply a carotid hold? A.··No.

Q.··Did you ever apply a half carotid hold? A.··No. Q.··Did you ever intentionally put any

pressure on. Mr. Wells' neck?· A.··No.” Sgt. Rodarme was asked the following questions on page

44 of his deposition, “Q: Other that single strike down, did you witness any other uses of force

against Casey Wells head, neck or throat? A: No. Q: Did anybody ever use a neck hold on Casey?

A.··No.” Additionally, in my review of materials, I did not see any other officers or bystanders

report that a neck hold was applied to Mr. Wells by the officers.

       The autopsy performed by the medical examiner noted the following: Anterior and

posterior layered dissections of the neck reveal a focally dense hemorrhage in association with the

placement site of a venous catheter in the right lateral aspect of the neck. There are no other

apparent traumatic injuries of the soft tissues of the neck, the strap muscles, or the cervical spine, or

spinal cord. The neck organs are removed and evaluated at autopsy. In addition to previously

described submucosal contusions of the tongue there is a focal 1/2-inch submucosal contusion of

the anterior upper right aspect of the esophagus adjacent to the thyroid cartilage. The remainder of

the airway structures are not opened at the time of autopsy and are referred for anthropology

consultation. There are the following evidences of therapeutic intervention: There is a triple-lumen

intravascular catheter inserted into the right aspect of the neck associated with a moderate amount

of surrounding subcutaneous and strap muscle hemorrhage in this area.

       The cervical spine is structurally intact. The atlanto-occipital articulation is grossly normal.

The hyoid bone and thyroid cartilage are intact. Apart from focal therapeutic hemorrhage as

previously described there are no other hemorrhages in the strap muscles or soft tissues of the neck.

The upper airway appears patent. The tongue, tonsils, salivary glands, and remainder of the pharynx

display changes as previously described without other significant pathology.

       On the anthropology report of the neck organs removed at autopsy, there was documentation




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                                                                               COP-STICKNEY007249
of fractures to the right superior horn and right lamina of the thyroid cartilage and fractures of the

right and left inferior horns of the thyroid cartilage.

        There were no other significant injuries to other structures of the neck, including the larynx,

arytenoid or tracheal cartilages nor of the muscles of the neck beyond what was caused by the

placement of the neck IV catheter.

        Neck holds can cause injury and possible death by blocking the airway and asphyxiating an

individual by a bar hold or by blocking off blood flow to the brain for so long, that brain damage

occurs from a hypoxic (low oxygen level) injury which then leads to a cardiac arrest by a carotid

restraint. In the case of Mr. Wells, there was no history of a bar hold. A bar hold is when the arm

is pulled across the airway hard enough to cause asphyxiation. When this occurs, there can be

crushing of the anterior neck structures, leading to significant damage and airway blockage.

        Additionally, there was no report of a carotid restraint, also known as the lateral vascular

neck restraint (LVNR), being placed on Mr. Wells. The pathophysiology and safety of the LVNR

are relatively straightforward and well delineated in many texts. The purpose is to place the arm

around the neck of the subject to be controlled. The crook of the elbow is placed at the anterior

(front) region of the neck and the forearm and upper arm come around the sides and are used to

place pressure on the lateral aspects of the neck where the carotid arteries are located. Pressure

placed on the arteries diminishes blood flow to the brain, quickly rendering the subject unconscious.

This takes time to occur. And if released once unconsciousness occurs, it has been deemed safe for

many years of use in martial arts. If the hold is left on for a prolonged period, restricting blood flow

to the brain, there is a theoretical risk of stroke or death. Research by Rossen et al. applying

pressure across the carotid arteries with complete obstruction of flow for up to 100 seconds did

cause loss of consciousness in human subjects but did not demonstrate any adverse outcomes

including notable brain damage, cardiac arrest or sudden death. Based on the review of the




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                                                                               COP-STICKNEY007250
materials, there is no evidence to support that a prolonged neck hold was placed on Mr. Wells.

       Other evidence that there was not a neck hold placed that caused significant damage or

crushed the airway and blocked airflow into the lungs is that there was no reported difficulty in

establishing the airway by the paramedics or using it to ventilate. Below is an image of a Laryngeal

Mask Airway (LMA), which is the airway placed into Mr. Wells by the paramedics. Had the

airway been crushed enough to block airflow and asphyxiate Mr. Wells, the tube would have been

very difficult to place because the distorted anatomy would have made advancing the tube difficult

if not impossible. And more importantly, if the airway had been crushed, the bagging of air into the

larynx would have been impeded. Neither of these issues were reported.




       When Mr. Wells arrived to the emergency department, the LMA was removed by the

emergency physician and replaced with an endotracheal tube (ETT), a breathing tube that is placed

into the airway. Similarly, had the airway been crushed enough to block airflow and asphyxiate


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                                                                            COP-STICKNEY007251
Mr. Wells, the ETT would have been very difficult to place because the distorted anatomy would

have made advancing the tube difficult if not impossible. And again, if the airway had been

crushed, the bagging of air into the larynx would have been impeded. Neither of these issues were

reported by the emergency physician.

       Thus, even though there are injuries noted to the thyroid cartilage on autopsy, these are not

specific to a neck hold. They are indicative of neck trauma having occurred, but does not define

exactly when or how the trauma occurred. In summary, there is no evidence confirming that this

injury was caused by a neck hold nor that it caused Mr. Wells’ sudden cardiac arrest and death.




   4. Mr. Wells was exhibiting clinical signs of methamphetamine intoxication during his
      encounter with the officers, which is consistent with the toxicology screen.


       Mr. Wells had methamphetamine and amphetamine reported in his blood toxicology

evaluation on autopsy. Methamphetamine is a sympathomimetic illicit drug that acts as a

stimulant. Methamphetamine has a number of physiologic effects, including increasing heart rate

and blood pressure. It can cause delusions, paranoia, erratic or violent behavior and increased

agitation, as well as sweatiness, elevated temperatures, and jitteriness. Mr. Wells was exhibiting

many of these signs of methamphetamine intoxication including lack of following commands from

the officers, erratic behavior, and impulsiveness as well as aggressiveness. In the emergency

department record documented by Dr. Jonathan Maitem, the temperature of Mr. Wells at 1520 was

noted to be 100.2°F. This is obviously an elevated body temperature. It should also be noted that

patients who go into cardiac arrest and undergo CPR resuscitation tend to have body temperatures

that are even cooler because of the lack of blood flow and the ambient exposure from performing

the CPR. In this case, Mr. Wells had an elevated temperature despite the cardiac arrest with CPR



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                                                                            COP-STICKNEY007252
and the exposure. His core body temperature was more likely even higher initially.

       Mr. Wells’ behavior on the video and as described by witnesses and officers was consistent

with an individual who is under the influence of methamphetamine.




                                            Background

       My background is that I am a full-time faculty member in the department of emergency

medicine at the University of California, San Diego Medical Center. I am residency trained and

board certified in Emergency Medicine. I work full time as a practicing clinician in the Emergency

Department of a busy urban hospital and serve as the clinical operations chief for our two

emergency departments with a combined annual census of approximately 75,000 visits. I currently

serve as the Medical Director for Risk Management for UC San Diego Health. I also serve as the

UCSD Medical Center’s Medical Risk Management Committee Chair and Allocation Committee

Co-Chair, as well as previously having served as the Chair of the Patient Care and Peer Review

Committee, each of which are charged with the task of reviewing medical records and making

determinations of standard of care. I am also the former Chief of Staff for UC San Diego Health.

       As a physician working at an urban based emergency department at a Level 1 trauma center,

I have evaluated hundreds of patients over the last 25 years who have been in cardiac arrest and

thousands who have been restrained and used methamphetamine.

       I am knowledgeable of peer-reviewed medical and scientific research on the physiological

effects of positional restraint and positional asphyxia conducted by others. I have also performed

extensive clinical research on human subjects who have been restrained in various positions and

with various amounts of weight being placed (articles included in my curriculum vitae) which

includes having directly been involved with hundreds of subjects being restrained and studied,




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                                                                           COP-STICKNEY007253
hundreds of patients restrained during my work in the emergency department and have personally

been restrained with weights placed on me as well. I have been invited to lecture nationally and

internationally on this subject. Given my own interests in this area, I regularly perform a complete

review of the literature regarding restraints and in custody death.

       I am knowledgeable of peer-reviewed medical and scientific research on TASER electronic

control devices conducted by others. In fact, I was twice the lead author on work requested by the

American Academy of Emergency Medicine (AAEM) to review the totality of the peer reviewed

published medical literature on humans and come to conclusions regarding the necessary

emergency department evaluation of patients being seen after receiving a TASER activation. I have

received federal grant funding and performed extensive clinical research on human subjects who

have received TASER applications (articles included in my curriculum vitae) which includes

having been involved with over 200 TASER activations and have personally received multiple

applications of the device. I have written several book chapters on this topic and have lectured

internationally about the physiologic effects of TASERs.

       I am knowledgeable of peer-reviewed medical and scientific research on neck holds. I have

written several peer reviewed papers and textbook chapters on this topic and have been invited to

lecture on this topic. I am trained as a second-degree black belt in tae kwon do and have been

trained in neck holds and have even been personally had a lateral vascular neck restraint (LVNR)

placed on me to the point of unconsciousness. Given my own interests in this area, I regularly

perform a complete review of the literature regarding neck restraint use.

       I am knowledgeable of peer-reviewed medical and scientific research for cardiac arrest and

CPR practices. I was the Principal Investigator for San Diego’s Resuscitative Outcomes

Consortium (ROC) site, a National Institute of Health (NIH) funded study for ten years that

involved over 200,000 cardiac arrest patients to evaluate treatment options for out of-hospital




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cardiac arrest and severe traumatic injury. I have published many peer-reviewed papers on the

topic of cardiac arrest and cardiac resuscitation, including publications in the New England Journal

of Medicine, JAMA, and Circulation. I also served as the Medical Director of the American Heart

Association Training Center at the University of California, San Diego Center for Resuscitation

Science almost ten years, teaching Advanced Cardiac Life Support (ACLS) both locally and being

asked to give lectures on cardiac arrest internationally. I had been an ACLS instructor for over 20

years. I also work at a busy urban comprehensive emergency department where I care for patients

in cardiac arrest on a regular basis.

       My Emergency Medical Services (EMS)/prehospital background and experience includes

having been a flight physician with Lifeflight of San Diego and with Mercy Air, taking care of

acutely injured patients at the scene. My EMS administrative roles include having been the Base

Station Medical Director for UCSD, the Medical Director for the Palomar and Southwestern

Paramedic College Training Programs, and the former Medical Director for the County of San

Diego Emergency Medical Services (EMS) one of the largest EMS systems in the nation. In this

role, I was responsible for protocols and quality assurance of over 1000 paramedics and 4000

EMT’s. I started the UCSD EMS/Disaster Medicine Fellowship Training Program and was the first

Fellowship Director and currently serve as the associate Director of the EMS/Disaster Medicine

Division in the UCSD Department of Emergency Medicine and as the Medical Director for the

North County Fire Protection District. I have been a paramedic base hospital physician in San

Diego County for over 25 years. Other previous EMS roles include having been the Medical

Director for the Chula Vista Fire Department, the Carlsbad Fire Department, and the Aeromedevac,

Aviamedix and AirLink USA Air Ambulance Services. I was also the Medical Director for the San

Diego County Metropolitan Medical Strike Team (MMST) and the UCSD Base Hospital Medical

Director, and I also served as EMS medical back up for many SWAT operations. I have written




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numerous peer reviewed papers on prehospital medicine and operations as well as many book

chapters and have lectured nationally and internationally on prehospital care. I was also the

Principal Investigator for San Diego’s Resuscitative Outcomes Consortium (ROC) site, a National

Institute of Health (NIH) funded study consortium that evaluated treatment options for out of-

hospital cardiac arrest and severe traumatic injury for over a decade.

       As per Rule 26 formatting, Appendix A is a copy of my current Curriculum Vitae, which

includes a list of all publications authored by me. Appendix B is a list of all cases in which I have

testified as an expert in trial or deposition within the preceding four years. Appendix C is my fee

schedule. The knowledge base that I utilize has been developed over time from my years of

clinical practice and experience, reading and training as well as research. Under penalty of perjury,

I hereby swear that the opinions stated above are true and correct within a reasonable degree of

medical probability based on the information currently available to me. The opinions may be

updated as additional information is provided for review.



Respectfully submitted,




Gary M. Vilke, M.D., FACEP, FAAEM
Professor of Clinical Emergency Medicine
Vice-Chair, Clinical Operations Emergency Medicine
Medical Director, Risk Management, UC San Diego Health System
Medical Director, North County Dispatch JPA




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APPENDIX A

                                    CURRICULUM VITAE
                     GARY MICHAEL VILKE, M.D., FACEP, FAAEM


HOME ADDRESS:                                              OFFICE ADDRESS:

11582 Normanton Way                                        Department of Emergency Medicine
San Diego, CA 92131                                        UCSD Medical Center
Phone: (619) 666-8643                                      200 W. Arbor Drive
Pager: (619) 290-9149                                      San Diego, CA 92103-8676
                                                           Phone: (619) 543-6210
                                                           Fax:    (619) 543-3115
                                                           E-mail: gmvilke@ucsd.edu


PERSONAL:         Born September 12, 1966 in Cleveland, Ohio


EDUCATION:

Academic:               B.S. in Zoology, University of California, Berkeley
  1983-88               Berkeley, California

Medical School:         M.D., University of California, San Diego School of Medicine
 1988-92                La Jolla, California

Internship:             Department of Surgery
   1992-93              University of California, San Diego Medical Center
                        San Diego, California

Residency:              Department of Emergency Medicine
  1993-96               University of California, San Diego Medical Center
                        San Diego, California (Chief Resident: 1995-96)

Physician Leadership    University of California, San Diego Medical Center
Academy:                San Diego, California
  2007-09


LICENSURE:        California Medical License Number G-78057


BOARD CERTIFICATIONS:
    National Board of Medical Examiners, 1993
    American Board of Emergency Medicine, 1997, renewed 2007 and 2017


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APPOINTMENTS:

  9/11 - Present   Professor of Clinical Emergency Medicine and Medicine, University of
                   California, San Diego (UCSD) School of Medicine

  4/21-Present     Interim Medical Director, California State Department of Parks and
                   Recreation

  12/20–Present    Emergency Medicine Medical Staff Service Chief

  7/19-Present     Medical Director, North County Dispatch Joint Powers Authority

  1/17-Present     Vice-Chair of Clinical Operations, UC San Diego Department of Emergency
                   Medicine

  2/14- Present    Assistant Director, Division of Emergency Medical Services (EMS)/Disaster
                   Medicine, UCSD Medical Center, Department of Emergency Medicine

  7/12 – Present   Medical Director, Risk Management, UC San Diego Health System

  7/94 - Present   Base Hospital Physician, University of California Medical Center




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PREVIOUS EXPERIENCE/APPOINTMENTS:

  1/13 – 6/19    Medical Director, Carlsbad Fire Department

  10/09 – 6/19   UCSD Department of Emergency Medicine Clinical Research Scholar
                 Fellowship Director

  10/15 – 5/19   Medical Director, AirLinkUSA Air Ambulance Service

  1/18-7/18      Medical Director, Chula Vista Fire Department

  2/06 – 6/18    Director, Division of Clinical Research, UCSD Medical Center, Department
                 of Emergency Medicine

  1/16 – 6/18    Co-Medical Director, Department of Emergency Medicine, UCSD Medical
                 Center

  9/15- 9/17     Staff Physician, El Centro Regional Medical Center Department of
                 Emergency Medicine

  6/12 – 6/17    Associate Director, Department of Emergency Medicine Behavioral
                 Emergencies Research (DEMBER) Lab

  1/16 – 1/17    Emergency Medicine Clinical Service Chief, UC San Diego Health System

  4/07 – 12/16   Medical Director of the American Heart Association Training Center at the
                 UCSD Center for Resuscitation Science

  7/96 – 12/15   Assistant Director, Department of Emergency Medicine, UCSD Medical
                 Center

  7/13 – 9/15    Chief, Division of Custody Medicine, UCSD Medical Center, Department of
                 Emergency Medicine

  4/99 – 9/15    Director, Custody Services, UCSD Medical Center (Co-Director 1999-2013)

  3/13 – 9/15    Medical Director, AviaMedix Air Ambulance Service
  10/11- 2/14    Chief, Division of Emergency Medical Services (EMS)/Disaster Medicine,
                 UCSD Medical Center, Department of Emergency Medicine

  4/12 – 3/13    Medical Director, Aeromedevac Air Ambulance Service
  7/09 – 6/12    Chief of Staff, UCSD Medical Center
  7/07 - 6/09    Vice Chief of Staff UCSD Medical Center
  7/04 – 6/09    EMS/Disaster Medicine Fellowship Director, Department of Emergency
                 Medicine.


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PREVIOUS EXPERIENCE/APPOINTMENTS (cont.):
  3/02 - 2/06    Medical Director, San Diego County Emergency Medical Services
  3/03 - 12/05   Medical Consultant, San Diego Chapter Red Cross Disaster Health Services
  6/04 - 2/05    Interim Chief, San Diego County Emergency Medical Services
  1/01 - 2/04    Medical Director, Southwestern College Paramedic Training Program
  7/00 - 2/04    Medical Director, Palomar College Paramedic Training Program
  7/97 - 1/03    Director, Prehospital Services, UCSD Medical Center
  6/97 - 1/03    Medical Director, Paramedic Base Hospital, UCSD Medical Center
  7/96 - 1/03    Medical Director, Mercy Air Medical Transport Service, San Diego,
                 California
  4/99 - 3/01    Medical Co-Director, San Diego Central Jail Medical Services
  1/96 - 7/96    Flight Physician, Mercy Air Medical Transport Service, San Diego,
                 California
  7/95 - 7/96    Associated Emergency Physicians Medical Group, San Diego, California
  12/94 - 7/96   Kaiser Permanente Emergency Department, San Diego, California
  10/94 - 7/96   Med America Health Resource Company, San Diego, California

  4/94 - 7/95    Sharp-Rees-Stealy Urgent Care, San Diego, California
  7/93 - 12/95   Flight Physician, Life Flight Air Medical Transport Service




PREVIOUS ACADEMIC APPOINTMENTS
  7/05 – 9/11    Professor of Clinical Medicine, UCSD School of Medicine
  7/01 - 6/05    Associate Professor of Clinical Medicine, UCSD School of Medicine
  7/96 - 6/01    Assistant Clinical Professor of Medicine, UCSD School of Medicine




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HONORS AND AWARDS:

   1990     Random House Medical Student Award
   1996     American College of Emergency Physicians, California Chapter Challenge
            Bowl Winner

   1996     Council of Residency Directors (CORD) Resident Academic Achievement Award
   1996     Outstanding Emergency Medicine Resident
   1996     UCSD Emergency Department Staff Support Award
   1996     Journal of Emergency Medicine Outstanding Contribution Award
   1999     “Golden Apple” Teaching Award, UCSD Emergency Medicine Residency
            Graduating Class of 1999

   2000     Faculty of the Year, UCSD Emergency Medicine Residency Graduating Class of 2000
   2000     Best Research Poster Presentation, California Chapter of the American College of
            Emergency Physicians (CAL/ACEP) Scientific Assembly, Dana Point, California

  2000    Outstanding Scientific Abstract, State of California EMS Authority Annual
Emergency
          Medical Services for Children Conference, San Diego, California, November 2000

   2001     Best Oral Presentation, CAL/ACEP Scientific Assembly, Santa Clara, California
   2004     Academy of Clinician Scholars, University of California San Diego
   2004     Top Doctor in San Diego County, San Diego Magazine
   2004     Top Peer Reviewer, Annals of Emergency Medicine
   2005     Top Doctor in San Diego County, San Diego Magazine
   2005     Clinical Investigation Institute, University of California San Diego
   2006     Top Doctor in San Diego County, San Diego Magazine
   2007     Finalist San Diego Business Journal Health Care Champion Award
   2007     Top Doctor in San Diego County, San Diego Magazine
   2007     Top Peer Reviewer, Annals of Emergency Medicine
   2008     Top Doctor in San Diego County, San Diego Magazine
   2008     UCSD Undergraduate Campus Outstanding Faculty Mentor of the Year
   2009     Clinical and Translational Research Institute, Charter member
   2009     Top Doctor in San Diego County, San Diego Magazine
   2010     Top Doctor in San Diego County, San Diego Magazine
   2011     Top Doctor in San Diego County, San Diego Magazine



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HONORS AND AWARDS, continued:
  2012 Top Doctor in San Diego County, San Diego Magazine
  2013 Top Doctor in San Diego County, San Diego Magazine
  2014 Top Doctor in San Diego County, San Diego Magazine
  2015 "25 Emergency Medicine & EMS Professors You Should Know" From Medical
       Technology Schools at: http://www.medicaltechnologyschools.com/emt/emergency-
       medicine-ems-professors-to-know

  2018 Top Doctor in San Diego County, San Diego Magazine
  2019 Top Doctor in San Diego County, San Diego Magazine


PROFESSIONAL SOCIETY MEMBERSHIPS:
  American Medical Association, 1988-97
  California Alumni Association, 1988
  American College of Emergency Physicians, 1991
  Fellow, American College of Emergency Physicians, 2000
  California Chapter of the American College of Emergency Physicians, 1991
  Society for Academic Emergency Medicine, 1995
  Society for Academic Emergency Medicine, EMS Interest Group, 2019
  National Association of EMS Physicians, 1998
  Fellow, American Academy of Emergency Medicine, 2000
  California Chapter of the American Academy of Emergency Medicine, 2000
  American Association of University Professors, 2002
  California Conference of the American Association of University Professors, 2002
  San Diego Faculty Association, 2002
  San Diego County Medical Society, 2003
  American Association of Emergency Psychiatry, 2014-2017




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PATENTS:

   # WO 2010/011976 A2: Medication Delivery Devices Having Penetrable Sterility Barriers and
   Alignment Features (January 28, 2010)

   # WO 2010/011976 A2: Medication Delivery Devices Having Penetrable Sterility Barriers and
   Alignment Features (January 28, 2010)

   # US 2010/011966 A2: Medication Delivery System (January 28, 2010)

   # US 2010/0022987 A1: Medication Delivery System (January 28, 2010)

   # US 61476836 Medication Delivery Apparatus (April 19, 2011)




Content Expert
   Reviewer, Practical Summaries in Acute Care, Thomson American Health Consultants, 2006
   Expert Editorial Advisor, Managing the Ankylosing Spondylitis Patient in an Emergency Setting
   for the Spondylitis Association of America (SAA). 2008

   Content Expert for Cable News Network (CNN), 2009

   Content Expert for ABC News, 2011




Journals
   Editor-in-Chief, Advances in Legal Medicine, Longdom Publishing, 2014-2015.

   Senior Associate Editor/Editorial Board, Journal of Emergency Medicine, Elsevier Science,
   Inc., 2013 (Associate Editor since 2007, Editorial board since 2000; reviewer since 1994)
   Editorial Board, Prehospital Emergency Care, Taylor & Francis Group, 2006 (Reviewer since
   2004)
   Editorial Board, Journal of Forensic and Legal Medicine, Elsevier Science, Inc. 2012
   (Reviewer since 2011)

   Editorial Board, Emergency Medicine and Healthcare, Herbert Publications, 2013
   Editorial Board, Saudi Journal of Emergency Medicine, 2019
   Senior Reviewer, Annals of Emergency Medicine, Mosby, 2007 (Reviewer since 1998)




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Journals (cont.)
   Reviewer, European Journal of Epidemiology, Kluwer Academic Publishers, 1996-97
   Reviewer, Western Journal of Emergency Medicine, 2001
   Reviewer, American Journal of Emergency Medicine, Elsevier Science, Inc., 2005
   Reviewer, Emergency Medicine Journal, BMA House, 2006
   Reviewer, Forensic Science International, 2007
   Reviewer, California Journal of Emergency Medicine, 2007
   Reviewer, Journal of the American Medical Association (JAMA), 2009
   Reviewer, BioMedical Engineering OnLine, 2009
   Reviewer, Bioelectromagnetics, 2010
   Reviewer, Forensic Science, Medicine and Pathology, 2010
   Reviewer, Psychology Research and Behavior Management, 2010
   Reviewer, Academic Emergency Medicine, 2010
   Reviewer, Medicina, 2012
   Reviewer, Injury Prevention, 2013
   Reviewer, Therapeutics and Clinical Risk Management, 2013
   Reviewer, Pediatrics, 2013
   Reviewer, Journal of Forensic Toxicology and Pharmacology, 2014
   Reviewer, Journal of Injury and Violence Research, 2014
   Reviewer, International Journal of Molecular Sciences, 2015
   Reviewer, Emergency Medicine International, 2015
   Reviewer, Policing: A Journal of Policy and Practice, 2016
   Reviewer, International Journal of Law and Psychiatry, 2017
   Reviewer, Journal of Correctional Health Care, 2019
   Reviewer, Clinical Toxicology, 2019
   Reviewer, Medicine, Science and the Law, 2019
   Reviewer, Medicine, Science and the Law, 2019
   Reviewer, International Journal of Legal Medicine, 2019




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CURRENT UCSD COMMITTEE MEMBERSHIPS:
  Research Committee, Department of Emergency Medicine, 1997
  UCSD Faculty Association, 2002
  Quality Improvement/Peer Review Committee, Department of Emergency Medicine, 1999
  UCSD Academy of Clinician Scholars Executive Committee, 2005
  UCSD Medical Staff Executive Committee, 2007
  Chair, UCSD Medical Risk Management Committee, 2012
  Chair, UCSD Allocation Committee, 2012
  UCSD Significant Events Committee, 2012
  Co-Chair, UCSD/Rady Children’s Joint Risk Management Committee (JRMC), 2013
  UCSD Patient Experience Executive Committee, 2013
  UCSD Faculty Leadership Group, 2014
  Patient Advocacy Reporting System (PARS) Oversight Team, 2014
  UCSD Leadership Council, 2015
  UCSD Department of Emergency Medicine Clinical Operations Committee, 2016
  UCSD Department of Emergency Medicine Executive Committee, 2016
  UCSD Department of Emergency Medicine Management Committee, 2016
  UCSD Department of Emergency Medicine/Psychiatric Committee, 2016
  UCSD Hillcrest Emergency Department Patient Flow Task Force, 2016
  UCSD Health System Patient Grievance Review Committee, 2016
  UCSD Threat Assessment Management Committee, 2016
  UCSD Medical Staff Bylaws Committee, 2018
  UCSD Department of Emergency Faculty Search Committee 2018
  UCSD Medical Staff Professionalism Committee, 2019
  UCSD Academic Assembly alternative representative, 2019
  UCSD Ligature Prevention Task Force, 2019
  UCSD Emergency Medicine Workplace Violence Initiative Committee, 2019
  UCSD Urgent Care Leadership Committee, 2019
  UCSD Department of Emergency Medicine Staff Research Associate Interview Committee, 2019
  UCSD Department of Emergency Medicine Residency Interview Committee, 2019
  UCSD Flu Capacity Task Force, 2019
  UCSD Urgent Care Pharmacy Committee, 2020
  UCSD Health Novel Coronavirus Planning and Response Workgroup, 2020



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CURRENT COMMITTEE MEMBERSHIPS:

  American Academy of Emergency Physicians, Clinical Practice Committee, 2011
  San Diego County Base Station Physicians’ Committee, 2013
  San Diego County Prehospital Audit Committee, 2013
  EMS Directors Association of California, 2019
  San Diego County North Zone EMS Committee, 2019
  San Diego County Health Services Capacity Task Force, 2019
  San Diego County EMS Protocol Task Force, 2019
  Oceanside Fire Department CQI Committee, 2019
  San Diego North Zone Dispatch Protocol Task Force, 2019
  San Diego County Fire Chief Association, EMS Section, 2019
  San Diego Health Connect, EMS Workgroup, 2019




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PREVIOUS UCSD COMMITTEE MEMBERSHIPS:

  UCSD Department of Emergency Medicine Academic Affairs Committee, 2013-15
  President, UCSD Academy of Clinician Scholars, 2013-15
  UCSD Board of Governor’s Committee, 2013-15
  UCSD Academic Senate Representative Assembly, Alternate, 2011-13
  UCSD Sheriff Managed Care Oversight Committee
  Ladder Rank Recruitment Committee, UCSD Department of Emergency Medicine, 2013
  UCSD Medical Staff Bylaws Work Group, 2014
  Chair, Emergency Department Staffing Committee of Process Action Team, 1994-95
  Hospital Infection Control Committee, 1994-95
  Emergency Medicine Housestaff Association Representative, 1994-96
  Emergency Department Clinical Practices Committee, 1994-96
  Emergency Department Peer Review/Quality Assurance Committee, 1995-96
  Emergency Department Critical Care Room Process Action Team, 1996
  Paramedic/Emergency Department Interface Task Force, 1998-99
  Emergency Department Staffing Committee, Department of Emergency Medicine, 1999
  Credentials Committee, 1997-2000
  Faculty Search Committee, Department of Emergency Medicine, 1999, 2000, 2002
  Medical Director’s Group, 1997-2002
  Patient Care Review Committee, 2003
  Medical Risk Management Committee, 2002-07
  Patient Improvement and Outcome Committee, 2003-05
  Medical Staff Executive Committee Reorganization Ad Hoc Committee, 2005-2006
  UCSD Phasing Strategy Ad Hoc Committee, 2005-06
  Clinical Representative, Trauma Quality Assurance Program, 1998-2006
  Vice Chief of Staff, UCSD Medical Center, 2007-2009
  UCSD/San Diego Sheriff Security Working Group, 2003-10
  Chief of Staff, UCSD Medical Center, 2009-2012
  Vice-Chair, Quality Council Committee, 2009-2012 (member since 2003)
  Chair, Medical Staff Executive Committee, 2009-2012
  UCSD Governance Advisory Committee, 2009-2012




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PREVIOUS UCSD COMMITTEE MEMBERSHIPS, continued:

  UCSD Department of Medicine Clinical Operations Redesign Enterprise (CORE) Initiative
  Team, 2009-2012
  Director of Risk Management Selection Committee, 2007
  Chair, Medical Risk Management Committee, 2003-07 (member since 2002)
  Medical Risk Management Executive Committee, 2003-07
  UCSD Medical Center Allocation Committee 2005-07
  Patient Safety Committee, 2003-07
  Vice Chair, Medical Staff Executive Committee, 2007-09
  Chair, Patient Care and Peer Review Committee, 2007-09 (member since 2005)
  Trauma Multidisciplinary Committee, 2000-09
  Department of Medicine Committee on Advancement and Promotions (DOMCAP), 2007-09
  Vice Chair, Quality Council Committee, 2009-2012
  UCSD Medical Center Syncope Task Force, 2010-11
  LIFESHARING, A Donate Life Organization Advisory Board, 2010-2014
  UCSD Director of Risk Management Selection Committee, 2012
  Secretary-Treasurer, UCSD Academy of Clinician Scholars, 2005-12
  UCSD Root Cause Analysis Committee, 2013
  UCSD Department of Emergency Medicine Chair Selection Committee, 2012-13
  UCSD Department of Emergency Medicine Faculty Coverage Committee, 2012-13
  UCSD Integrated Delivery Network Design Team, 2012-13
  UCSD Department of Emergency Medicine Patient Satisfaction Committee, 2012-13
  UCSD Department of Emergency Medicine Faculty Search Committee, 2013
  Rady Children’s Root Cause Analysis Committee, Ad hoc, 2012-2015
  Rady Children’s Emergency Department Faculty Search Committee, 2015




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PREVIOUS MEMBERSHIPS/ACTIVITIES:

  Vice-President, California Chapter of Emergency Medicine Residents Association, 1994-95
  Editor-in-Chief, California Chapter of Emergency Medicine Residents Association Newsletter,
  1994-95
  Co-Director, School of Medicine 225: Introduction to Emergency Medicine, UCSD School of
  Medicine, 1994-95
  Strike Team Leader, DMAT Olympics 1996 Biological & Chemical Antiterrorist Medical Support
  Director, Mercy Air Medical Transport Services Continuing Clinical Education, 1996-2003
  Member, San Diego County 911 Dispatch Quality Review Board, 1997-98
  Co-Director, University of California, San Diego School of Medicine, Course SOM 224I, 1997-2002
  Pediatric Advanced Life Support Course Director, 1997-2002
  Editor-in-Chief, UCSD Medical Center EMS Run Review, 1997-2003
  Sponsor, Palomar College Emergency Medical Education Department Paramedic Training,
  1997-2003
  Medical Support Physician, Super Bowl XXXII, San Diego, California, January 25, 1998
  Medical Support Physician, Suzuki Rock-n-Roll Marathon, San Diego, California, June 21, 1998
  Marketing Director, California Chapter of the American College of Emergency Physicians
  (CAL/ACEP) Scientific Assembly, 1998-99
  Member, Program Committee, CAL/ACEP Scientific Assembly, 1998-99
  Howard Hughes Foundation Undergraduate Preceptor, 1998, 1999
  Co-editor, Pearls from PAC Newsletter, 1998-2000
  Preceptor, Introduction to Clinical Medicine 201-B, UCSD School of Medicine, 1999
  EMS Team Leader, San Diego County Metropolitan Medical Strike Team, 1999
  Co-Chair, Program Committee, CAL/ACEP Scientific Assembly, 1999-2000 and 2000-01
  Member, San Diego County Bio-Terrorism Planning Group, 1999-2003
  Moderator, EMS Poster Section, Western Regional Society for Academic Emergency Medicine
  Conference, Portland, Oregon, April 2000
  Preceptor, California State University Dominguez Hills Statewide Nursing Program, 2000
  Affiliate Faculty, Southwestern College Paramedic Training Program, 2000-03




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PREVIOUS MEMBERSHIPS/ACTIVITIES, continued:

  Medical Director, EPIC “Eliminate Preventable Injuries of Children” Medics, San Diego
  County, 2000-03
  San Diego Port District AED (Automated External Defibrillator) Program RPF Panel, 2001
  Peer Reviewer, Pediatric Emergency Medicine Reports, 2001
  Reviewer, Scientific Abstract Presentations, CAL/ACEP Scientific Assembly, 2001-02
  Member, Board of Directors, CAL/ACEP, 2001-03
  Moderator, Western Regional SAEM Research Presentations, San Diego, California, April 2002
  Clinical Coordinator, Southwestern College Emergency Medical Technician Program, 2001-03
  Santa Clara County/Regional Medical Center Trauma Designation Review Committee, 2004
  San Diego County Health Services Capacity Issues Task Force, 2002-06
  San Diego Regional Safety Consortium Inter-facility Transfer Protocol Task Force, 2004-06
  San Diego Regional Fire Prevention Emergency Preparedness Task Force, 2004-2006
  San Diego County Task Force on Fire Prevention, 2004-06
  President-Elect, EMS Medical Director’s Association of California, 2005-06
  Medical Director, San Diego County Metropolitan Medical Strike Team, 1998-2008
  American College of Emergency Physicians (ACEP) Task Force on Excited Delirium
     Syndrome 2009-10
  Objective Structured Clinical Examiner, UCSD School of Medicine, 1997-10
  Evaluator, UCSD Physician Assessment and Clinical Evaluation (PACE) Program, 2000-06
  Tactical EMS Care Provider for San Diego Sheriff’s Special Enforcement Detail (SED), 2007-10
  San Diego State Pre-Med Preceptor, SDSU, 2008-13
  Phi Delta Epsilon Faculty Mentor, UCSD, 2008-12
  National Institute of Justice Task Force on Excited Delirium, 2011
  Member, Disaster Medical Assistance Team (CA-4), 1994-2011
  Operations Committee, San Diego County Metropolitan Medical Strike Team, 1998-2010
  Physician Member, San Diego County Metropolitan Medical Strike Team, 1998-07




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PREVIOUS COMMITTEE MEMBERSHIPS:

  Practice Management Committee, CAL/ACEP, 1994-95
  Committee on Prehospital Stroke Triage, San Diego County Medical Society, 1998
  Research Subcommittee, San Diego County Prehospital Audit Committee, 1997-99
  Prehospital RSI Task Force, San Diego County Prehospital Audit Committee, 1997-99
  Chair, San Diego County Prehospital Audit Committee, 1998-2000
  San Diego County Pediatric CPR Task Force, 1999-2000
  San Diego Sheriff’s Source Selection Committee, 2000
  Steering Committee, San Diego County Metropolitan Medical Strike Team, 1998-2001
  Program Committee, CAL/ACEP Scientific Assembly, 1998-2001 (Co-Chair for 1999-2001)
  Awards Committee, CAL/ACEP Scientific Assembly, 1999-2001
  EMS Committee, San Diego County Metropolitan Medical Strike Team, 1999-2001
  San Diego Metropolitan Medical Response System Bio-Terrorism Planning Group, 1999-2001
  San Diego County EMS QA Net Prehospital Design Steering Committee, 2000-01
  Chair, CPR Subcommittee, San Diego County Prehospital Audit Committee, 1998-2002
  San Diego County SIPs (Serial Inebriate Program) Task Force, 2000-02
  Task Force Leader, CAL/ACEP Scientific Assembly, 2001-02
  Chair, Training Committee, San Diego County Metropolitan Medical Strike Team, 2001-02
  Co-Chair, EMS Committee, CAL/ACEP, 2001-02
  Policy Committee, CAL/ACEP, 2001-02
  Chair, Research Subcommittee, San Diego County Prehospital Audit Committee, 2000-02
  Governmental Affairs Committee, CAL/ACEP, 2001-02
  Didactic Subcommittee, SAEM Program Committee, 2001-02
  Program Mgmt Committee, San Diego County Metropolitan Medical Strike Team, 2001-03
  Air Medical Transport Section, American College of Emergency Physicians, 2001-03
  San Diego County Sheriff’s Mortality Review Committee, 2001-03
  San Diego County Sheriff’s Pharmacy and Therapeutics Committee, 2001-03
  City of San Diego EMS Physicians' Advisory Committee, 1998-2006
  City of San Diego Prehospital Cardiac Advisory Committee, 1998-2006
  Education Committee, CAL/ACEP, 2000-03
  SAEM EMS Interest Group, 2001-2006 (Co-chair 2003-04)




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PREVIOUS COMMITTEE MEMBERSHIPS, continued:

  San Diego County EMS for Children (EMSC) Advisory Committee, 2002-05
  Scientific Subcommittee, SAEM Program Committee, 2002-05
  Police Executive Research Forum Task Force on Conductive Energy Weapons Use, 2005
  San Diego County EMS for Children (EMSC) Advisory Committee, 2002-05
  Scientific Subcommittee, SAEM Program Committee, 2002-05
  Member-at-large, EMDAC Officer Board, 2004-05
  San Diego County Fire Chief’s Association, 2004-06
  San Diego County Sheriff’s Helicopter Program Ad Hoc Advisory Committee, 2004-06
  Chair, San Diego County HRSA Work Group, 2004-06
  San Diego County Regional Helicopter Advisory Committee, 2004-06
  San Diego County HRSA Executive Steering Committee, 2004-06
  San Diego County Critical Care Transport Working Group, 2005-06
  San Diego County Prehospital Patient Record IT Steering Committee, 2005-06
  San Diego County Cardiac Advisory Committee, 2005-06
  San Diego County Stroke Advisory Committee, 2005-06
  San Diego County Emergency Medical Care Committee, 2006
  Co-Chair, San Diego County Medical Society EMS Medical Oversight Committee, 2002-2006
  Chair, EMS Committee, American Academy of Emergency Medicine California Chapter, 2000-06
  EMS Medical Director’s Association of California, 2002-06
  San Diego County Trauma Administrators Committee, 2002-06
  Chair, San Diego County EMS Research Committee, 2002-06
  Chair, San Diego County Paramedic Protocol Revision Committee, 2002-06
  San Diego County Public Health Services Physicians Group, 2003-06
  SAEM EMS Interest Group, 2001-2006 (Co-chair 2003-04)
  San Diego County Healthcare Advisory Committee on Terrorism, 2003-06
  San Diego County Paramedic Training Joint Advisory Committee, 2000-06
  San Diego County Public Health Preparedness Team, 2001-06
  EMS Section, American College of Emergency Physicians, 2001-06
  Chair, San Diego County Aeromedical Protocol Committee, 1998-2006
  San Diego County Committee on Pediatric Emergency Medicine, 1998-2006




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                                                                      COP-STICKNEY007272
PREVIOUS COMMITTEE MEMBERSHIPS, continued:
  San Diego County Base Hospital Physicians Committee, 1997-2006
  San Diego County Trauma Audit Committee, 1997-2006
  San Diego County Prehospital Audit Committee, 1997-2006
  EMS Medical Director’s Association of California, 2002-06
  SAEM Program Committee, 2001-2007
  Chair, Photography Subcommittee, SAEM Program Committee, 2002-2007
  Training Committee, San Diego County Metropolitan Medical Strike Team, 2001-09
  San Diego BEACON/EMS Hub Technical Committee, 2012-13
  San Diego Central Jail Quality Assurance Committee, 1999-2013
  San Diego Central Jail Medical Oversight Committee, 1999-2013
  Resuscitative Outcomes Consortium (ROC) Executive Committee, 2014-15
  Resuscitative Outcomes Consortium (ROC) EMS Operations Committee, 2014-15
  Resuscitative Outcomes Consortium (ROC) Management Committee, 2014-15
  Resuscitative Outcomes Consortium (ROC) Hospital Practices Cardiac Committee, 2014-15
  Resuscitative Outcomes Consortium (ROC) Publications Committee, 2014-15
  Resuscitative Outcomes Consortium (ROC) Cardiac Committee, 2014-15
  Resuscitative Outcomes Consortium (ROC) Trauma Committee, 2014-15
  Carlsbad Fire Department EMS Oversight Committee, 2013-17




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CURRENT FUNDED RESEARCH:

  1. Co-Investigator with Chris Coyne (Co-PI) for study entitled, “A blinded non-randomized
     comparison of inhaled loxapine (ADASUVE®) versus IM haloperidol/lorazepam”. Funded
     by Teva Pharmaceuticals, 2015-present. Amount: $28,300.

  2. Co-Principal Investigator with Susan Little for study entitled, “FOCUS program (On the
     Frontlines of Communities in the United States): Routine Screening for HIV Infection at the
     UCSD Hillcrest and Thornton Emergency Departments”. Funded by Gilead, 2016-present.
     Amount: $490,937.41.

  3. Co-Investigator with Chris Coyne for study entitled, “FOCUS program (On the Frontlines
     of Communities in the United States): Routine Screening for HCV Infection at the UCSD
     Hillcrest and Thornton Emergency Departments”. Funded by Gilead, 2018-present.
     Amount: $306,770.




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PREVIOUS FUNDED RESEARCH:

1.    Co-Investigator with Tom Neuman (PI) for evaluation of positional asphyxia in the hobble
      restraint position, funded by the County of San Diego, 1995--$33,900

2.    Co-Investigator, with Theodore Chan (PI), for evaluation of the Melker percutaneous
      cricothyrotomy kit in human cadavers, funded by Cook Medical Products, 1997--$10,000

3.    Co-Investigator with John Eisele (PI) for the evaluation of positional asphyxia in the hobble
      restraint position with weight on subjects' backs, funded by the American Academy of
      Forensic Sciences, 1998--$2,500

4.    Co-Investigator, with Theodore Chan (PI), for study entitled, “The Impact of Oleoresin
      Capsicum Spray on Respiratory Function in Human Subjects in the Sitting and Prone
      Maximal Restraint Positions.” Study funded by the National Institute of Justice, U.S.
      Department of Justice, 1998-99. UCSD No. 98-7107; USDOJ Federal Award #98-IJ-CX-
      0079. Amount: $128,176

5.    Principle Investigator (PI) for study entitled “Evaluation of Hurricaine anesthetic in patients
      with dyspepsia” funded by Beutlich Pharmaceuticals for, 2001. Amount: $1,500

6.    Co-Investigator, with Theodore Chan (PI), for evaluation of the Melker percutaneous
      cricothyrotomy kit in human cadavers, funded by Cook Medical Products, 2003. Amount:
      $12,000

7.    Co-Investigator, with David Hoyt (PI) for the Resuscitation Outcomes Consortium: UCSD /
      San Diego Resuscitation Research Center, funded by the NIH, 9/1/04 to 6/30/09. UO1
      HL077908. Amount: $2,250,522

8.    Co-Principal Investigator (Co-PI), with Theodore Chan, for study entitled, “The effect of
      Taser on Cardiac, Respiratory and Metabolic Physiology in Human Subjects.” Study funded
      by the National Institute of Justice, U.S. Department of Justice, 10/1/2005 to 9/30/2007.
      UCSD No. 2006-0846; USDOJ Federal Award #98-IJ-CX-0079. Amount: $213,941.4

9.    Co-Investigator, with Daniel Davis (PI) for the study entitled, “ROC Interventional Trials:
      Hypertonic Resuscitation for Traumatic Injury, Trauma Epistry, PRIMED”, funded by the
      NIH, 7/1/06 to 6/30/08. UO1 HL077863. Amount: $331,320

10.   Co-Investigator, with Daniel Davis (PI) for the, “ROC Cardiac Epistry”, funded by the AHA,
      7/1/06 to 6/30/08. Amount: $133,427

11.   Co-Investigator, with Theodore Chan (PI) for study entitled, “Multi-Center Study of the
      Impact of Nurse-Patient Ratios on Emergency Department Overcrowding.” funded by the
      Emergency Medicine Foundation, 7/1/07 to 6/30/08. Amount: $50,000

12.   Principal Investigator (PI) for study entitled, “Evaluation of the Ventilatory and Respiratory Effects
      of a Restraint Chair on Human Subjects.” Funded by the Institute for the Prevention of In-Custody
      Deaths, Inc, 1/1/07 to 12/31/07. Amount: $11,658


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PREVIOUS FUNDED RESEARCH (cont):

13.   Co-Investigator, with Edward Castillo (PI) for study entitled, “California ED Diversion Project
      Evaluation.” funded by the California Healthcare Foundation, 5/15/08 to 10/15/08. Amount:
      $50,990

14.   Principal Investigator (PI) for study entitled, “Ventilatory Effects of Prone Restraint on Obese Human
      Subjects.” Funded by the Institute for the Prevention of In-Custody Deaths, Inc, 1/1/09 to 12/31/09.
      Amount: $13,423

15.   Principal Investigator (PI) for study entitled, “FAST TRAC: Finding ACS with Serial Troponin
      Testing for Rapid Assessment.” Funded by the Nanosphere, Inc. 2/1/09 to 2/1/11. Amount: $85,000

16.   Principal Investigator (PI) for study entitled, “CHOPIN: Copentin Helps in the Early Detection of
      Patients with Acute Myocardial Infarction.” Funded by Brahms AG, 8/1/09 to 8/1/12. Amount:
      $103,950

17.   Co-Investigator, with Christine Hall for the study titled, “RESTRAINT - Risk of dEath in
      Subjects That Resisted: Assessment of Incidence and Nature of faTal events”, funded by the
      Vancouver Island Health Authority. 7/1/09 to 6/30/11. Amount $50,000

18.   Co-Investigator for study titled “STAT MERCURY: Studying the Treatment of Acute
      HyperTension: A Multicenter EmeRgency Department Clevidipine Utilization RestrY”
      funded by the Medicines Company, 7/27/10 to 11/1/11. Amount $1400

19.   Co-Investigator for study titled “A Phase II, Randomized, Double-blind, Placebo-
      controlled Study to Evaluate the Safety and Efficacy of MN-221 when Administered
      Intravenously as an Adjunct to Standard Therapy to Adults with an Acute Exacerbation
      of Asthma.” Study funded by MediciNova, Inc. 1/1/11 to 1/31/12. Amount $50,000

20.   Principle Investigator for study titled “AKINESIS: Acute Kidney Injury N-gal Evaluation of
      Symptomatic heart failure.” Study funded by Alere and Abbott, 4/1/11 to 6/30/12. Amount $32,000

21.   Principle Investigator for study titled “Evaluation of Ecallantide (DX-88) for the Acute
      Treatment of Angiotensin Converting Enzyme Inhibitor Induced Angioedema, a Phase II,
      double-blind study. Study funded by Dyax Corporation. 4/1/11 to 6/30/12. Amount $20,000

22.   Principle Investigator for study titled “REAL: Rapid Evaluation of Acute Kidney Injury with
      NGAL in Acutely Ill Patients in the ICU.” Study funded by Alere, 5/1/11 to 6/30/12. Amount
      $74,435

23.   Principle Investigator for study titled “A Mulit-Center, Open-Label, Surveillance Trial to
      Evaluate the Safety and Efficacy of a Shortened Infusion Time of Intravenous Ibuprofen
      Protocol CPI-CL-015.” Study funded by Cumberland Pharmaceuticals, Inc., 6/1/11 to
      6/30/12. Amount $50,000




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PREVIOUS FUNDED RESEARCH (cont):

24. Co-Investigator, with Edward Castillo (PI) for the study titled, “Restraint Chair Literature
    Review and Policy Gap Analysis", funded by the Ontario Ministry of Community Safety and
    Correctional Services, 7/1/13 to 9/30/13. COS-0010. Amount: $15,000

25.   Co-Investigator, with Daniel Davis (PI) for the study titled, “Resuscitation Outcomes
      Consortium (ROC) Regional Clinical Center, San Diego”, funded by the NIH, 3/1/10 to
      6/30/14. U01 HL077908-09. Amount: $1,389,389

26.   Co-Investigator with Edward Castillo (PI) for study entitled, “Diagnostic Evaluation using
      ClearView in Decision Making in the Emergency Room”. Funded by EPIC Research and
      Diagnostics, Inc, 2012-2014. Amount: $650,840.10 (based on 570 total participants).

27.   Co-Investigator with Edward Castillo (PI) for study entitled, “Point-of-Care Testing for Illicit
      Drugs and Alcohol Intoxication in an Emergency Room”. Funded by the National Institute on
      Drug Abuse through Seacoast Science, Inc., 2013-2015. Amount: $50,163.

28.   Co-Investigator with Edward Castillo (PI) for study entitled, “Evaluation of downward force
      placed onto prone subjects.” Funded by the Institute for the Prevention of In-Custody Deaths,
      Inc., 2014-2015. Awarded, contract in process. Amount: $7,500.

29.   Co-Investigator with Edward Castillo (PI) for study entitled, “Acute Bacterial Skin and Skin
      Structure Infection (abSSSI) Practice Pattern Assessment.” Funded by Durata Therapeutics
      International B.V., 2014-2015. Amount: $15,000.

30.   Co-Investigator with Edward Castillo (PI) for study entitled, “Exploring emergency room
      physician’s knowledge and attitudes concerning the use of appropriate and safe home care as
      an alternative to hospital admission.” Funded by the Gary and Mary West Health Institute,
      2014-2015. Amount: $118,021.

31.   Co-Investigator with Allyson Kreshak (PI) for study entitled, “Telephone, Text or Type?
      Comparing Tools for Improving Physician-Patient Communication Beyond the Walls of the
      Emergency Department after Discharge.” Funded by the UCSD Academy of Clinician
      Scholars, 2014-2015. Amount: $10,000.

32. Principal Investigator (PI) for the study titled, “Resuscitation Outcomes Consortium (ROC)
    Regional Clinical Center, San Diego”, funded by the NIH, 7/1/14 to 12/31/15. U01
    HL077908-09. Amount: NCE

33. Principal Investigator (PI) for study entitled, “EXCITATION Study: Unexplained In-Custody
    Deaths: Evaluating Biomarkers of Stress and Agitation.” Study funded by the National
    Institute of Justice, U.S. Department of Justice, 11/1/2012 to 6/30/2016. USDOJ Federal
    Award # 2012-R2-CX-K006. Amount: $431,943

34. Principal Investigator (PI) for the study titled, “Resuscitation Outcomes Consortium (ROC)
    Protocol -ALPS”, funded by the NIH, 7/1/13 to 12/31/15. 5U01HL077863-11 subaward
    758500. Amount: $289,003


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PREVIOUS FUNDED RESEARCH (cont):

35.   Co-Investigator with Edward Castillo (PI) for study entitled, “Acute Home Care as an
      Alternative to Inpatient Admission from the Emergency Department”. Funded by the Gary
      and Mary West Health Institute, 2015 – 2016. Amount: $499,125.

36.   Co-Investigator with Theodore Chan (PI) for study entitled, “The Gary and Mary West
      Geriatric Center of Excellence (West COE): Phase 1 Research Development”. Funded by the
      Gary and Mary West Health Institute, 2015-2016. Amount: $243,610.




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PUBLICATIONS:

Texts/Books

1.    Atlas of Emergency Procedures. Rosen P, Chan TC, Vilke GM, Sternbach G (Eds.);
      St. Louis: Mosby, Inc., 2001.

2.    Atlas of Emergency Procedures. (Edition translated into Spanish) Rosen P, Chan TC, Vilke
      GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2005.

3.    Guidelines for Investigating Officer-Involved Shootings, Arrest-Related Deaths and Deaths in
      Custody. Ross DL, Vilke GM (Eds.); New York and London: Routledge. 2017.

Book Chapters

1.    Vilke GM: Head Trauma, Blunt. In: The 5 Minute Emergency Medicine Consult.
      Rosen P, Barkin RM, Hayden SR, Schaider JJ, Wolfe R (Eds.); Philadelphia: Lippincott
      Williams & Wilkins, 1999, pp 472-473.

2.    Vilke GM: Head Trauma, Penetrating. In: The 5 Minute Emergency Medicine Consult.
      Rosen P, Barkin RM, Hayden SR, Schaider JJ, Wolfe R (Eds.); Philadelphia: Lippincott
      Williams & Wilkins, 1999, 474-475.

3.    Vilke GM: Urethral Catheterization. In: Atlas of Emergency Procedures. Rosen P,
      Chan TC, Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 124-127.

4.    Vilke GM: Cystostomy. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
      Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 128-129.

5.    Vilke GM: Bladder Aspiration. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
      Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 130-131.

6.    Vilke GM: Dorsal Slit in Phimosis. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
      Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 132-133.

7.    Vilke GM: Manual Paraphimosis Reduction. In: Atlas of Emergency Procedures. Rosen P,
      Chan TC, Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 134-135.

8.    Vilke GM: Zipper Removal. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
      Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 136-137.

9.    Hayden SR, Silfvast T, Deakin CD, Vilke GM: Surgical Procedures. In: Prehospital Trauma
      Care. Soreide E, Grande CM (Eds.); New York: Marcel Dekker, Inc., 2001, pp 323-354.

10.   Hayden SR, Thierbach A, Vilke GM, Sugrue M: Patient Turnover: Arriving and Interacting
      in the Emergency Department. In: Prehospital Trauma Care. Soreide E, Grande CM (Eds.);
      New York: Marcel Dekker, Inc., 2001, pp 737-751.




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PUBLICATIONS, continued:

Book Chapters

11.   Vilke GM: Cervical Spine Injury, Adult. In: Rosen and Barkin’s 5-Minute Emergency
      Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
      (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 1048-1049.

12.   Vilke GM: Extremity Trauma, Penetrating. In: Rosen and Barkin’s 5-Minute Emergency
      Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
      (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 394-395.

13.   Vilke GM: Head Trauma, Blunt. In: Rosen and Barkin’s 5-Minute Emergency Medicine
      Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.);
      Philadelphia: Lippincott Williams & Wilkins, 2003, pp 476-477.

14.   Vilke GM: Head Trauma, Penetrating. In: Rosen and Barkin’s 5-Minute Emergency
      Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
      (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 478-479.

15.   Vilke GM: Ring/Constricting Band Removal. In: Rosen and Barkin’s 5-Minute Emergency
      Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
      (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 980-981.

16. Vilke GM: Warts. In: Rosen and Barkin’s 5-Minute Emergency Medicine Consult (second
    edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.); Philadelphia:
    Lippincott Williams & Wilkins, 2003, pp 1222-1223.

17. Vilke GM: Fournier’s Gangrene. In: Rosen and Barkin’s 5-Minute Emergency Medicine
    Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.);
    Philadelphia: Lippincott Williams & Wilkins, 2003, pp 430-431.

18. Vilke GM: Variants of Normal. In: ECG in Emergency Medicine and Acute Care. Chan TC,
    Brady WJ, Harrigan RA, Ornato JP, Rosen P (Eds.); Philadelphia: Elsevier Mosby, 2005,
    pp 12-15.

19. Vilke GM: Keloid Formation. In: Greenberg’s Text-Atlas of Emergency Medicine.
    Greenberg MI, Hendrickson RG, Silverberg M (Eds.); Philadelphia: Lippincott Williams and
    Wilkins, 2005, p 684.

20. Vilke GM: Distal Digital Amputation. In: Greenberg’s Text-Atlas of Emergency Medicine.
    Greenberg MI, Hendrickson RG, Silverberg M (Eds.); Philadelphia: Lippincott Williams and
    Wilkins, 2005, p 685.

21. Vilke GM: Painful Syndromes of the Hand and Wrist. In: Harwood-Nuss’ Clinical Practice
    of Emergency Medicine fourth edition. Editor-in-chief: AB Wolfson. Philadelphia:
    Lippincott Williams and Wilkins, 2005, pp 536-540.


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PUBLICATIONS, continued:

Book Chapters

22.   Vilke GM: Neck Holds. In: Sudden Deaths in Custody. Ross DL, Chan TC (Eds.);
      New Jersey: Humana Press, 2006, pp 15-38.

23. Sloane C, Vilke GM: Riot Control Agents, Tasers and Other Less Lethal Weapons.
    In: Sudden Deaths in Custody. Ross DL, Chan TC (Eds.); New Jersey: Humana Press, 2006,
    pp 113-138.

25.   Vilke GM: Clostridium botulinum Toxin (Botulism) Attack. In: Disaster Medicine.
      Ciottone GR (Ed.); Boston: Elsevier Mosby, 2006, pp 701-704.

26. Vilke GM: Viral Agents (Section 10, Part 2). Section Editor. In: Disaster Medicine.
    Ciottone GR (Ed.); Boston: Elsevier Mosby, 2006, pp 661-697.

27.   Patel R, Reynoso J, Vilke GM: Genitourinary Trauma. In: Emergency Medicine Handbook.
      Clinical Concepts for Clinical Practice. Roppolo LP, Davis D, Kelly SP, Rosen P (Eds.);
      Philadelphia: Elsevier Mosby, 2007, pp 164-173.

28.   Vilke GM: Extremity Trauma, Penetrating. In: Rosen & Barkin's 5-Minute Emergency
      Medicine Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P
      (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2007, pp 392-393.

29. Vilke GM: Fournier’s Gangrene. In: Rosen & Barkin's 5-Minute Emergency Medicine
    Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.);
    Philadelphia: Lippincott Williams & Wilkins, 2007, pp 428-429.

30.   Vilke GM: Head Trauma, Blunt. In: Rosen & Barkin's 5-Minute Emergency Medicine
      Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.);
      Philadelphia: Lippincott Williams & Wilkins, 2007, pp 474-475.

31.   Vilke GM: Head Trauma, Penetrating. In: Rosen & Barkin's 5-Minute Emergency Medicine
      Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.);
      Philadelphia: Lippincott Williams & Wilkins, 2007, pp 476-477.

32. Vilke GM: Spine Injury: Cervical, Adult. In: Rosen & Barkin's 5-Minute Emergency
    Medicine Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P
    (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2007, pp 1040-1041.

33.   Vilke GM: Warts. In: Rosen & Barkin's 5-Minute Emergency Medicine Consult (third
      edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.); Philadelphia:
      Lippincott Williams & Wilkins, 2007, pp 1224-1225.




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PUBLICATIONS, continued:

Book Chapters

37.   Vilke GM, Sloane CM, Chan TC. Accelerated Triage for Medical Evaluations Following
      CED Activations. In: Critical Issues in Policing Series: Strategies for Resolving Conflict
      and Minimizing Use of Force. Ederheimer JA (Ed); Washington DC, Police Executive
      Research Forum, 2007, pp 108-109.

38.   Christensen EF, Deakin C, Vilke GM: Prehospital Care and Trauma Systems. In: Trauma:
      Emergency Resuscitation, Perioperative Anesthesia, Surgical Management, Volume I. Wilson
      WC, Grande CM, Hoyt DB (Eds.); New York: Informa Healthcare USA, Inc, 2007, pp 43-58.

36    Chan TC, Vilke GM. In: TASER® Conducted Electrical Weapons: Physiology, Pathology,
      and Law. Kroll MW, Ho JD (Eds.); New York: Springer, 2009, pp 109-118.

37.   Vilke GM: Hand and Wrist Pain. In: Harwood-Nuss’ Clinical Practice of Emergency
      Medicine fifth edition. Editor-in-chief: AB Wolfson. Philadelphia: Lippincott Williams and
      Wilkins, 2010, pp 711-714.

38.   Wilson MP, Vilke GM. Not all ear pain is acute otitis media…and not all require antibiotics!
      In: Avoiding Common Errors in the Emergency Department. Mattu A, Chanmugam AS,
      Swadron SP, Tibbles CD, Woolridge DP (Eds) Philadelphia: Lippincott Williams and
      Wilkins, 2010, pp 520-522.

39.   Oyama LC, Vilke GM. In: Emergency Medicine Review Preparing for the Boards. Harrigan
      RA, Ufberg JW, Tripp ML (Eds) St. Louis: Elsevier Saunders, 2010, pp 303-315.

40. Vilke GM: Extremity Trauma, Penetrating. In: Rosen & Barkin's 5-Minute Emergency
    Medicine Consult (fourth edition). Schaider JJ, Barkin RM, Hayden SR, Wolfe RE, Barkin
    RE, Shayne P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2011, pp 392-
    393.

41.   Vilke GM: Fournier’s Gangrene. In: Rosen & Barkin's 5-Minute Emergency Medicine
      Consult (fourth edition). Schaider JJ, Barkin RM, Hayden SR, Wolfe RE, Barkin RE, Shayne
      P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2011, pp 428-429.

42.   Vilke GM: Head Trauma, Blunt. In: In: Rosen & Barkin's 5-Minute Emergency Medicine
      Consult (fourth edition). Schaider JJ, Barkin RM, Hayden SR, Wolfe RE, Barkin RE, Shayne
      P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2011, pp 476-477.

43. Vilke GM: Head Trauma, Penetrating. In: In: Rosen & Barkin's 5-Minute Emergency
    Medicine Consult (fourth edition). Schaider JJ, Barkin RM, Hayden SR, Wolfe RE, Barkin
    RE, Shayne P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2011, pp 478-
    479.




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PUBLICATIONS, continued:

Book Chapters

44. Vilke GM: Spine Injury: Cervical, Adult. In: In: Rosen & Barkin's 5-Minute Emergency
    Medicine Consult (fourth edition). Schaider JJ, Barkin RM, Hayden SR, Wolfe RE, Barkin
    RE, Shayne P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2011, pp 1044-
    1045.

45.   Vilke GM: Warts. In: In: Rosen & Barkin's 5-Minute Emergency Medicine Consult (fourth
      edition). Schaider JJ, Barkin RM, Hayden SR, Wolfe RE, Barkin RE, Shayne P, Rosen P
      (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2011, pp 1226-1227.

46.   Heegaard WG, Vilke GM: Factitious Conducted Electrical Weapons Wounds: Injuries and
      Considerations. In: Atlas of Conducted Electrical Weapon Wounds and Forensic Analysis.
      Ho JD, Dawes DM, Kroll MW (Eds.) New York: Springer, 2012, pp 131-142.

47.   Wilson MP, Vilke GM. The patient with excited delirium in the emergency department. In
      Zun LS, Chepenik LG, Mallory MNS editors. Behavioral Emergencies: A handbook for
      emergency physicians. Cambridge: Cambridge University Press; 2013.

48.   Vilke GM: Extremity Trauma, Penetrating. In: Rosen & Barkin's 5-Minute Emergency
      Medicine Consult (fifth edition). Schaider JJ, Barkin RM, Hayden SR, Wolfe RE, Barkin
      RE, Shayne P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2015, pp 398-
      399.

49.   Vilke GM: Fournier Gangrene. In: Rosen & Barkin's 5-Minute Emergency Medicine
      Consult (fifth edition). Schaider JJ, Barkin RM, Hayden SR, Wolfe RE, Barkin RE, Shayne
      P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2015, pp 434-435.

50.   Vilke GM: Head Trauma, Blunt. In: Rosen & Barkin's 5-Minute Emergency Medicine
      Consult (fifth edition). Schaider JJ, Barkin RM, Hayden SR, Wolfe RE, Barkin RE, Shayne
      P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2015, pp 486-487.

51.   Vilke GM: Head Trauma, Penetrating. In: Rosen & Barkin's 5-Minute Emergency Medicine
      Consult (fifth edition). Schaider JJ, Barkin RM, Hayden SR, Wolfe RE, Barkin RE, Shayne
      P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2015, pp 488-489.

52.   Vilke GM: Spine Injury: Cervical, Adult. In: Rosen & Barkin's 5-Minute Emergency
      Medicine Consult (fifth edition). Schaider JJ, Barkin RM, Hayden SR, Wolfe RE, Barkin
      RE, Shayne P, Rosen P (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2015, pp 1054-
      1055.

53.   Vilke GM: Warts. In: Rosen & Barkin's 5-Minute Emergency Medicine Consult (fifth
      edition). Schaider JJ, Barkin RM, Hayden SR, Wolfe RE, Barkin RE, Shayne P, Rosen P
      (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2015, pp 1240-1241.




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PUBLICATIONS, continued:

Book Chapters

54.   Vilke GM: Hand and Wrist Pain. In: Harwood-Nuss’ Clinical Practice of Emergency
      Medicine sixth edition. Editor-in-chief: AB Wolfson. Philadelphia: Lippincott Williams and
      Wilkins, 2015, pp 707-710.

55.   Vilke GM: The Question of Positional and Compression Asphyxia. In: The Thin Blue Line.
      Amdur E and Hutchings J (eds.) Edgework, 2015, pp 287-290.

56.   Vilke GM: The Question of Positional and Compression Asphyxia. In: Safe Behind Bars.
      Amdur E, Blake M, De Villeneuve C (eds.) Edgework, 2015, pp 321-324.

57.   Vilke GM: The Question of Positional and Compression Asphyxia. In: Cooling the Flames
      Amdur E, Murphy JK (eds.) Edgework, 2015, pp 247-250.

58.   Castillo EM, Vilke GM. Road Traffic Accidents: Air Bag-Related Injuries and Deaths.
      Encyclopedia of Forensic and Legal Medicine (Second Edition), 2016, pp 162-174.

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248.   Vilke GM, Brennan JJ, Chan TC, Hsia RY, Killeen JP, Castillo EM. Emergency
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249.   Coyne CJ, Ha E, Brennan JJ, Castillo EM, Birring P, Shah S, Vilke GM. Cancer-Related
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259.   Vilke GM, Mash D, Pardo M, Bozeman W, Hall C, Sloane C, Wilson M, Coyne CJ, Xie C,
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ORAL PRESENTATIONS AT NATIONAL MEETINGS:

1.   Chan TC, Buchanan J, Anderson M, Vilke GM: Patient ethnicity and age in prehospital
     emergency ambulance use and acuity rates. NAEMSP Mid-Year Meeting, Lake Tahoe,
     Nevada; July 1998.

2.   Vilke GM, Dunford JV, Buchanan J, Chan TC: Are opiate overdose deaths related to patient
     release after naloxone? ACEP Research Forum, San Diego, California; October 1998.

3.   Gerling MC, Hamilton RS, Davis DP, Morris GF, Vilke GM, Hayden SR: The effects of
     cervical spine immobilization on technique and laryngoscope blade selection on an unstable
     cervical spine injury in a cadaver model of intubation. ACEP Research Forum, San Diego,
     California; October 1998.

4.   Vilke GM, Chan TC, Ray LU, Anderson ME: Use of prehospital crash injury data to assess
     regional automobile safety restraint use. NAEMSP Annual Meeting, Marcos Island, Florida;
     January 1999.

5.   Chew GS, Chan TC, Bramwell K, Davis DP, Vilke GM: Does gastric distention from air
     insufflation affect the accuracy of the syringe esophageal detector device in detecting
     esophageal intubation? SAEM Western Regional Research Forum, Redondo Beach,
     California; March 1999.

6.   Davis DP, Kimbro T, Vilke GM: The use of midazolam for prehospital rapid-sequence
     intubation may be associated with a dose-related increase in hypotension. NAEMSP Annual
     Meeting, Dana Point, California; January 2000.

7.   Marino AT, Sharieff G, Gerhart AE, Chan TC, Vilke GM: The efficacy and complication
     rate of prehospital midazolam for the treatment of pediatric seizures. NAEMSP Annual
     Meeting, Dana Point, California; January 2000.

8.   Eisele JW, Chan T, Vilke G, Neuman T, Clausen J: Effect of weight placed on the back of
     subjects in the hobble restraint position. American Academy of Forensic Sciences Annual
     Meeting, Reno, Nevada; February 2000.

9.   Chan TC, Vilke GM, Neuman TS, Clark RF, Clausen JL: The effect of oleoresin capsicum
     spray inhalation on pulmonary and respiratory function. SAEM Western Regional Research
     Forum, Portland, Oregon; April 2000.

10. Vilke GM, Chan TC, Seltzer A, Fisher R, Dunford JV: Outcome of out-of-hospital refusal
    of paramedic transport by parents of pediatric patients. State of California EMS Authority
    EMS for Children Annual Conference, San Diego, California; November 2000.

11. Deitch S, Vilke GM, Marino A, Vroman D, Chan TC: Effect of prehospital use of
    nitroglycerine on EKG findings in patients with chest pain. American Academy of
    Emergency Medicine Annual Conference, Orlando, Florida; March 2001.



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ORAL PRESENTATIONS AT NATIONAL MEETINGS, continued:

12.   Vilke GM, Steen PJ, Smith AM, Chan TC: Pediatric intubation by paramedics: The San Diego
      County experience. SAEM Western Regional Research Forum, Irvine, California; March 2001.

13. Davis DP, Ochs M, Hoyt DB, Dunford JV, Vilke GM: The use of the Combitube as a salvage
    airway device for paramedic RSI. SAEM Western Regional Research Forum, Irvine,
    California; March 2001.

14. Chan TC, Dunford JV, Vilke GM: Impact of a community multidisciplinary homeless
    outreach team. SAEM Annual Meeting, Atlanta, Georgia; May 2001.

15. Chan TC, Dunford JV, Vilke GM: Impact of a community multidisciplinary homeless
    outreach team. CAL/ACEP Scientific Assembly, Santa Clara, California; June 2001.
    (Won Award for Best Oral Presentation)

16. Valentine C, Davis D, Ochs M, Hoyt D, Bailey D, Vilke G: The use of the Combitube as a
    salvage airway device for paramedic rapid sequence induction. NAEMSP Annual Meeting,
    Tucson, Arizona; January 2002.

17.   Vilke GM, Lev R, Castillo EM, Metz MA, Murrin PA, Chan TC: Prospective countywide
      trial to decrease ambulance diversion hours. SAEM Western Regional Meeting, Scottsdale,
      Arizona; April 2003.

18. Vilke GM, Lev R, Castillo EM, Murrin PA, Chan TC: Prospective countywide trial to
    decrease ambulance diversion hours. SAEM Annual Meeting, Boston, Massachusetts,
    May 2003.

19. Vilke GM, Lev R, Castillo EM, Metz MA, Murrin PA, Chan TC: San Diego County
    improved patient destination trial to decrease emergency department diversion hours and
    diverted patients. American College of Emergency Physicians Research Forum, Boston,
    Massachusetts; October 2003.

20. Vilke G, Castillo E, Metz M, Murrin P, Ray LU, Lev R, Chan T: Community trial to
    decrease ambulance diversion of patients and hours. NAEMSP National Conference, Tucson,
    Arizona; January 2004.

21.   Marcelyn Metz, Patricia Murrin, Gary M. Vilke: The three-phase EMS cardiac arrest model
      for ventricular fibrillation. ENA Annual Meeting; San Diego, California; October 2004.

22.   Michalewicz, BA, TC Chan, GM Vilke, SS Levy, TS Neuman, and FW Kolkhorst:
      Ventilatory and metabolic demands during aggressive physical restraint in healthy adults.
      American College of Sports Medicine Annual Meeting, Denver, CO; June 2006. [Medicine
      and Science in Sports and Exercise 38(5 Supplement), 2006].

23.   Vilke GM, Ali S, Simmons T, Witucki P, Wilson MP. Does an alcohol-based sanitizer impact
      breathalyzer levels? SAEM Annual Meeting, Chicago, Illinois; May 2012.


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      SELECTED SPEAKING ENGAGEMENTS:

1.    “Death of a Child: How to Treat the Survivors” -- Grand Rounds, Department of Emergency
      Medicine, UCSD Medical Center; April 1996.

2.    “Assessing GCS and the Field Neurologic Exam” -- Palomar College Paramedic Training;
      June 1998.

3.    “Prehospital Shock”; “Management of the Field Trauma Patient” -- Mercy Air, Ventura
      County Lecture Series; August 1998.

4.    “ER: Not Just a Television Show, But a Field of Research” -- Howard Hughes Foundation
      Lecture Series, University of California, San Diego; November 1998.

5.    “Multi-Casualty Incident” -- UCSD Medical Center Trauma Conference; March 1999.

6.    “Managing the Prehospital Multi-Casualty Incident” -- Southwestern College Paramedic
      Training Institute; May 1999.

7.    “Aeromedical Transport: The Past and Current Environment” -- Trauma Morbidity and
      Mortality Conference, Children’s Hospital, San Diego, California; July 1999.

8.    “Altitude Medicine”; “Carbon Monoxide Poisoning and Treatment Options”; “Aeromedical
      Transport Options”; “Emergent Airway Management Options” -- Rural Emergency Medicine
      Conference, Jackson Hole, Wyoming; August 1999.

9.    “Abdominal and Chest Trauma in Sports” -- First Annual San Diego County Athletic
      Coaches Workshop, San Diego, California; June 2000.

10.   “Tabletop Discussion on Chemical Weapon of Mass Destruction” -- Facilitator of Tabletop
      Training for San Diego County Metropolitan Medical Strike Team; July 2000.

11.   “Pediatric IV Access”; “Spinal Immobilization”; “Children with Special Health Care Needs”;
      “Cardiovascular Emergencies” -- American Academy of Pediatrics Pediatric Education for
      Prehospital Professionals Conference, San Diego, California; November 2000.

12.   “New Frontiers in Field Management of Pediatric Status Epilepticus” -- State of California
      EMS Authority Annual EMS for Children Conference, San Diego, California; November 2000.

13.   “EMS Medical Control: Avoiding your Day in Court” -- ACEP’s Emergency Medicine
      Connection Conference, San Diego, California; March 2001.

14.   “Pediatric Intubations by Paramedics” -- San Diego Chapter of the Committee on Pediatric
      Emergency Medicine; April 2001.

15.   “Warfare and Terrorism: A Review of Chemical Agents -- San Diego County Metropolitan
      Medical Strike Team Training; August 2001.


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                                                                         COP-STICKNEY007345
SELECTED SPEAKING ENGAGEMENTS, continued:

16.   “Bioterrorism and San Diego County” -- Council of Community Clinics Meeting;
      October 2001.

17.   “Bioterrorism and San Diego County Readiness” -- CTN interview with Bill Horn;
      October 2001.

18.   “Future of Prehospital Care” -- Keynote Speaker, Southwestern Paramedic College
      Graduation; November 2001.

19.   “Biological Agents for Terrorism” -- San Diego County Metropolitan Medical Strike Team
      Training; November 2001.

20.   “Clinical Aspects of Bioterrorist Agents” -- Palomar Paramedic College; November 2001.

21.   “Clinical Aspects of Bioterrorism” -- Grand Rounds, Fallbrook Hospital; January 2002.

22.   “Bioterrorism and San Diego County Readiness” -- Poway Town Hall Meeting; January 2002.

23.   “Bioterrorist Preparedness” -- National Medical Association, San Diego County; January 2002.

24.   “Chemical Agents of Terrorism: Diagnosis and Treatment” -- Topics and Advances in
      Internal Medicine, San Diego, California; March 2002.

25.   “Bioterrorism: Implications for the Legal and Domestic Community” -- Thomas Jefferson
      School of Law, San Diego, California; April 2002.

26.   “Prehospital Management of Pediatric Seizures” -- EMS-Children Annual Conference;
      San Diego, California; November 2002.

27.   “Paramedicine – Past, Present and Future” -- Keynote Speaker, Southwestern Paramedic
      College Graduation; San Diego, California; December 2002.

28.   “Medical Group Preparedness: How would you Respond to a Possible Victim of
      Bioterrorism?” -- Bioterrorism Preparedness Training Conference; San Diego California;
      January 2003.

29.   “Update on Bioterrorism” -- The Western States Winter Conference on Emergency Medicine;
      Park City, Utah; January 2003.

30.   “Academic Emergency Medicine and Research Opportunities” -- San Diego Health
      Information Association, San Diego, California; February 11, 2003.

32.   “Blast and Radiological Injuries: Myths and Realities” -- San Diego County Metropolitan
      Medical Strike Team Training; San Diego, California; August 2003.



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SELECTED SPEAKING ENGAGEMENTS, continued:

33.   “Clinical Aspects of Bioterroism” -- American Correctional Health Services Association,
      California and Nevada Chapter Annual Conference, San Diego, California; September 2003.

34.   “Bioterrorism” -- UCSD/SDSU General Preventive Medicine Residency Lecture Series,
      La Jolla, California; October 2003.

35.   “Prehospital Pediatric Airway Obstruction” – Children’s Hospital Grand Rounds, San Diego,
      California; July 2004.

36.   “Future of Healthcare in San Diego: Trends Impacting our Delivery System” -- San Diego
      Organization of Healthcare Leaders, San Diego, California; August 2004.

36. “Firestorm 2003” -- Children’s Hospital Grand Rounds, San Diego, California; January 2004.

37.   “EMS research: Unique ethical and regulatory issues” -- Applied Research Ethics National
      Association Annual meeting, San Diego, California; October 2004.

38.   “What happens when you call 911?” -- San Diego Sports Medicine Foundation, San Diego,
      California; October 2004.

39.   “Making the Metropolitan Medical Response System Work for You" -- Emergency Response
      2004 Conference, San Diego, California; November 2004.

40.   “San Diego County Emergency Department Ambulance Bypass - Past, Present, Future” --
      Urgent Matters Briefing, San Diego, California; November 2004.

41.   “San Diego County Emergency Department Ambulance Bypass - Past, Present, and Future” --
      San Diego Community Emergency Departments, San Diego, California; December 2, 2004.

42.   “Emergency Response Management for Efficiency of Care and Fiscal Consideration” --
      American Correctional Health Services Association, Oakland, California; April 2, 2005.

43.   “Conducted Energy Devices – Medical Updates and Issues” -- Police Executive Research
      Forum, Houston, Texas; October 18, 2005.

44.   “Conducted Energy Devices Proximity Deaths and Medical Response” -- 2005 Critical
      Issues in Policing Series, Police Executive Research Forum, San Diego, California;
      December 8, 2005.

45.   “Conductive Electrical Devices (Tasers) and Patients with Excited Delirium for Law
      Enforcement and Emergency Medical Personnel” -- The U.S. Metropolitan Municipalities
      EMS Medical Directors Annual Meeting, Dallas, Texas; February 16, 2006.

46.   “Tasers and Sudden Death” -- Keynote speaker at One Day Symposium on In-Custody
      Deaths by the Florida Sheriffs Association, Orlando, Florida; June 1, 2006.


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SELECTED SPEAKING ENGAGEMENTS, continued:

47. “Medical Aspects of the Use of Force Continuum” -- Department of Justice Community
    Oriented Policing Services (COPS) Conference, Washington, DC; July 29, 2006.

48. “Resuscitation Outcomes Consortium” -- 7th Annual University of California Neurotrauma
    Meeting, Carmel, California; August 3, 2006.

49. “Use of Force: Sudden Death Myths and Excited Delirium” -- The Commission of
    Accreditation for Law Enforcement Agencies (CALEA) Less Lethal Technology Working
    Group Meeting, Washington, DC; September 10, 2006.

50. “Police In-Custody Deaths and the Taser Controversy” -- UCSD/SDSU General Preventive
    Medicine Residency Lecture Series, La Jolla, California; September 2006.

51. “Conductive Energy Devices: The medical aspects of Taser Electronic Control Devices
    (ECDs) and other Energy Devices” – Sudden Death, Excited Delirium and In-Custody Death
    Conference by the Institute for the Prevention of In-Custody Deaths, Inc. Las Vegas,
    Nevada; November 16-17, 2006.

52. “Cardiac, Respiratory and Metabolic Effects of EMD” – Study of Deaths Following Electro
    Muscular Disruption, Meeting of the Chief Medical Panel for the National Institute of Justice.
    Washington D.C.; January 9, 2007.

53. “The Medical Implications of Tasers and the Impact on EMS ” – National Association of
    EMS Physicians National Conference. Naples, FL; January 12, 2007.

54. “Excited Delirium” - Solutions For Corrections Seminar for the California State Sheriff’s
    Association. Ontario, CA; February 7, 2007.

55. “Excited delirium, positional asphyxia and restraint” -- EMS Today Conference, Baltimore,
    Maryland; March 10, 2007.

56. “Medical implications of Tasers and other Conductive Energy Devices” -- EMS Today
    Conference, Baltimore, Maryland; March 10, 2007.

57. “Excited Delirium” -- American Correctional Health Services Association, Oakland,
    California; September 19, 2007.

58. “Human Physiologic Effects of Tasers” – Study of Deaths Following Electro Muscular
    Disruption, Meeting of the Chief Medical Panel for the National Institute of Justice.
    Washington D.C.; September 27, 2007.

59. “The clinical impacts of TASER and other Conductive Energy Devices on Humans: A Review
    of the latest Medical Research” – Sudden Death, Excited Delirium and In-Custody Death
    Conference by the Institute for the Prevention of In-Custody Deaths, Inc. Las Vegas, Nevada;
    November 28-30, 2007.


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SELECTED SPEAKING ENGAGEMENTS, continued:

60. “Physiological Effects of Tasers” – The City Council of Miami-Dade. Miami, Florida;
    January 17, 2008.

61.   “Excited Delirium: What is it? Why does it kill? What do we need to know about it?
      Western States Winter Conference on Emergency Medicine. Park City, Utah, February 8,
      2008.

62. “Medical Effects of Tasers” – The City Council of Houston. Houston, Texas; March 10,
    2008.

63. “Less Lethal Weapons” - Emergency Nurses Association, San Diego Chapter. San Diego,
    California; April 18, 2008.

64. “The Clinical Impacts of TASER and other Conductive Energy Devices on Humans and Why
    People Die Afterwards” -- American Correctional Health Services Association, San Diego,
    California; September 17, 2008.

65. “Police In-Custody Deaths and Excited Delirium” -- UCSD/SDSU General Preventive
    Medicine Residency Lecture Series, La Jolla, California; October 2008.

66. “The Clinical Impacts of TASER and other Conductive Energy Devices on Humans” –
    Sudden Death, Excited Delirium and In-Custody Death Conference by the Institute for the
    Prevention of In-Custody Deaths, Inc. Las Vegas, Nevada; October 29, 2008.

67. “Agitated Delirium – Role of Illicit Drug Use in Sudden Restraint Death” Western Medical
    Toxicology Fellowship Conference. San Diego, California; April 29, 2009.

68. “Conducted Energy Devices: Are They Safe Options?” Excited Delirium Conference by the
    Canadian Institute for the Prevention of In-Custody Deaths, Inc. Niagara Falls, Canada; May
    26, 2009.

69. “The Physiologic Effects of the Taser on Humans” UCSD Biomedical and Clinical Research
    Seminars. San Diego, California; June 2, 2009.

70. “The Taser-Plastic Surgery Interface” UCSD Department of Plastic Surgery Grand Rounds.
    San Diego, California; June 17, 2009.

71. “ECD Research Update and Safety Issues” – Sudden Death, Excited Delirium and In-Custody
    Death Conference by the Institute for the Prevention of In-Custody Deaths, Inc. Las Vegas,
    Nevada; November 12, 2009.

72. “Use of the Restraint Chair and Positional Asphyxia” – Southern California Jail Manager’s
    Association. Temecula, California; January 21, 2010.



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SELECTED SPEAKING ENGAGEMENTS, continued:

73.   “Excited Delirium Challenges and Best ER Practices” Excited Delirium Conference by the
      Canadian Institute for the Prevention of In-Custody Deaths, Inc. Niagara Falls, Canada; April
      19, 2010.

74. “Excited Delirium and TASERs: What Physicians Need to Know” – Grand Rounds Scripps
    Encinitas Hospital. Encinitas, California; July 15, 2010.

75. “Excited Delirium and TASERs: What Physicians Need to Know” – Grand Rounds
     University Medical Center. Las Vegas Nevada; August 10, 2010.

76. “Review of ECD Research and Reported Cardiac Capture” – Sudden Death, Excited Delirium
    and In-Custody Death Conference by the Institute for the Prevention of In-Custody Deaths,
    Inc. Las Vegas, Nevada; November 17, 2010.

76.   “The Science Behind the American Heart Association ACLS Guidelines” – Puerto Vallarta
      ACLS Resuscitation Conference. Puerto Vallarta, Mexico; February 18, 2011.

77.   “The Science Behind the American Heart Association ACLS Guidelines” – Cabo San Lucas
      ACLS Resuscitation Conference. Cabo San Lucas, Mexico; March 25, 2011.

78.   “ROC Cardiac Arrest Outcomes” – San Diego Resuscitation Conference. San Diego,
      California; April 9, 2011.

79.   “Do Electronic Control Devices Kill Humans: Review of the Data” – Sudden Death, Excited
      Delirium and In-Custody Death Conference by the Institute for the Prevention of In-Custody
      Deaths, Inc. Las Vegas, Nevada; November 16, 2011.

80.   “Evaluation After Choking or Strangulation” – UCSD Forensic Nursing Conference. San
      Diego, California; April 28, 2012.

81.   “Prehospital Hypothermia for Cardiac Arrest” – Santa Clara County EMS Conference. San
      Jose, California; May 23, 2012.

82.   “The Science Behind the American Heart Association ACLS Guidelines” – Cabo San Lucas
      ACLS Resuscitation Conference. Cabo San Lucas, Mexico; August 21, 2012.

83.   “Acute Cerebral Accidents” – Hermosillo ACLS Resuscitation Conference. Hermosillo,
      Sonora, Mexico; September 11, 2012.

84.   “Excited Delirium Syndrome: TASERS, Restraints, and Sudden Death” – Emergency Nurses
      Association Annual Conference. San Diego, California; September 15, 2012.

85.   “Electronic Control Devices and the not so Shocking Truth about their Lethality” – Sudden
      Death, Excited Delirium and In-Custody Death Conference by the Institute for the Prevention
      of In-Custody Deaths, Inc. Las Vegas, Nevada; November 14, 2012.


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SELECTED SPEAKING ENGAGEMENTS, continued:

86.   “Medical Evaluation and Detection of Dementia and Delirium” – Annual Update on
      Behavioral Emergencies Conference. Las Vegas, Nevada, December 5, 2012.

87.   “Acute Cerebral Accidents” – Puerto Vallarta Resuscitation Conference. Puerto Vallarta
      Mexico; January 17, 2013.

88.   “Excited Delirium Syndrome: TASERS, Restraints, and Sudden Death” – San Diego County
      Emergency Nurses Association 911 Conference. San Diego, California; April 19, 2013.

89.   “Acute Cerebral Accidents” – Cabo San Lucas Resuscitation Conference. Cabo San Lucas
      Mexico; April 27, 2013.

90.   “Acute Myocardial Infarction” – Mazatlan Resuscitation Conference. Mazatlan Mexico;
      May 7, 2013.

91.   “Hypothermia Post Cardiac Arrest” –Acapulco Resuscitation Conference. Acapulco,
      Mexico; May 28, 2013.

92.   “Bath Salts and In-Custody Death”- National Sheriff’s Association. Charlotte, NC; June 25,
      2013.

93.   “Updates in Cardiac Arrest: The ROC Trials” – Mexico Association of Emergency Medicine
      Emergency Update Conference. Mexico City, Mexico; June 28, 2013.

94.   “Management of Head Trauma” – Mexico Association of Emergency Medicine Emergency
      Update Conference. Mexico City, Mexico; June 28, 2013.

95.   “Hypothermia Post Cardiac Arrest” –La Paz Resuscitation Conference. La Paz, Mexico; July
      22, 2013.

96.   “Management of Head Trauma” – Mexico Association of Emergency Medicine Emergency
      Update Conference. Monterrey, Mexico; September 26, 2013.

97.   “Updates in Cardiac Arrest: The ROC Trials” – Mexico Association of Emergency Medicine
      Emergency Update Conference. Monterrey, Mexico; September 26, 2013.

98.   “Risk Management and Minimizing Malpractice Exposure” – UCSD Department of
      Orthopedics Grand Rounds, San Diego, CA October 2, 2013.

99.   “Decreasing Your Risk in Labor and Delivery” – UCSD 9th Annual Perinatal Symposium,
      San Diego, CA October 11, 2013.

100. “Excited Delirium Syndrome: TASERS, Restraints, and Sudden Death” – UCSD Department
     of Emergency Medicine Grand Rounds, San Diego, CA November 11, 2013.



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SELECTED SPEAKING ENGAGEMENTS, continued:

101. “Excited Delirium Syndrome” – Annual Update on Behavioral Emergencies Conference.
     Orlando, Florida; December 12, 2013.

102. “The importance of CT on the initial evaluation of a trauma patient: ABC or AB-CT ?” –
     Primero Simposium Internacional BNH con UCSD Celebrado en Los Cabos. Los Cabos,
     Mexico; December 7, 2013.

103. “Management of Head Trauma” –Emergency Medicine Update Conference. Puerto Vallarta,
     Mexico; December 18, 2013.

104. “Updates in Cardiac Arrest: The ROC Trials” – Emergency Medicine Update Conference.
     Puerto Vallarta, Mexico; December 18, 2013.

105. “Pulmonary Embolism: Evaluation and Treatment”- 25th Annual Mexico Emergency
     Medicine Congress. Acapulco, Mexico; February 20, 2014.

106. “Management of Head Trauma” –Emergency Medicine Update Conference. Puerto Vallarta,
     Mexico; March 5, 2014.

107. “Updates in Cardiac Arrest: The ROC Trials” – Emergency Medicine Update Conference.
     Puerto Vallarta, Mexico; March 5, 2015.

108. “Management of Burns” –Trauma Update Conference. Puerto Vallarta, Mexico; April 3,
     2014.

109. “Management of Head Trauma” –Trauma Update Conference. Puerto Vallarta, Mexico;
     April 3, 2014.

110. “Cuffs, Chains and Chairs” – Restraint and In-Custody Death Conference by the Institute for
     the Prevention of In-Custody Deaths, Inc. Las Vegas, Nevada; April 24, 2014.

111. “Management of Burns” –Trauma Update Conference. Los Cabos, Mexico; June 5, 2014.

112. “Management of Head Trauma” - Primera Feria Annual de la Salud. Guadalajara, Mexico;
     July 18, 2014

113. “Management of Burns” - Primera Feria Annual de la Salud. Guadalajara, Mexico; July 18,
     2014.

114. “Updates in Cardiac Arrest: The ROC Trials” – Primera Feria Annual de la Salud.
     Guadalajara, Mexico; July 18, 2014.

115. “Pulmonary Embolism: Evaluation and Treatment”- Primera Feria Annual de la Salud.
     Guadalajara, Mexico; July 18, 2014.



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                                                                        COP-STICKNEY007352
SELECTED SPEAKING ENGAGEMENTS, continued:

116. “Risk Management and Minimizing Malpractice Exposure” – UCSD Department of
     Anesthesia Pain Service Grand Rounds, San Diego, CA September 24, 2014.

117. “The ABCs of CPR” –Huatulco Resuscitation Conference. Huatulco, Mexico; October 2,
     2014.

118. “Risk Management and Minimizing Malpractice Exposure” – UCSD Division of
     Gastroenterology Grand Rounds, San Diego, CA October 16, 2014.

119. “Identification and Treatment of Excited Delirium Syndrome” - Annual Update on
     Behavioral Emergencies Conference. Scottsdale, Arizona; December 11, 2014.

120. “Autopsy of an In-Custody Death” – Defense Research Institute Annual Conference, San
     Diego, CA January 30, 2015.

121. “TASERS: The shocking truth”- 26th Annual Mexico Emergency Medicine Congress.
     Mazatlan, Mexico; February 5, 2015.

122. “Resuscitation Update: CPR, Hypothermia and new devices” - 26th Annual Mexico
     Emergency Medicine Congress. Mazatlan, Mexico; February 5, 2015.

123. “Management of Head Trauma” - Segundo Feria Annual de la Salud. Guadalajara, Mexico;
     May 22, 2015.

124. “Updates in Cardiac Arrest: The ROC Trials” – Segundo Feria Annual de la Salud.
     Guadalajara, Mexico; May 22, 2015.

125. “Pulmonary Embolism: Evaluation and Treatment”- Segundo Feria Annual de la Salud.
     Guadalajara, Mexico; May 22, 2015.

126. “Resuscitation Update: CPR, Hypothermia and new devices” – Altitude and Travel Medicine
     Symposium. Cusco, Peru; August 21, 2015.

127. “Approaches to Stabilization, Transfer and Disposition of Tourist with Multiple Trauma –
     Altitude and Travel Medicine Symposium. Cusco, Peru; August 21, 2015.

128. “Risk Management and Minimizing Malpractice Exposure” – UCSD Department of
     Orthopedics Grand Rounds, San Diego, CA December 2, 2015.

129. “Ketamine and EMS” – Annual Update on Behavioral Emergencies Conference. Las Vegas,
     Nevada; December 3, 2015.

130. “Pulmonary Embolism: Evaluation and Treatment”- 27th Annual Mexico Emergency
     Medicine Congress. Puerto Vallarta, Mexico; February 4, 2016.



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SELECTED SPEAKING ENGAGEMENTS, continued:

131. “The importance of CT on the initial evaluation of a trauma patient: ABC or AB-CT ?” – 27th
     Annual Mexico Emergency Medicine Congress. Puerto Vallarta, Mexico; February 4, 2016.

132. “Risk Management and Minimizing Malpractice Exposure” – UCSD Department of
     Dermatology Grand Rounds, San Diego, CA February 11, 2016.

133. “Remembering the Provider” – Southern California Association of Health Risk Managers,
     Palm Desert, CA May 4, 2016.

134. “The ABCs of CPR” –San Miguel Health Fair. San Miguel, Mexico; July 15, 2016.

135. “Beware of the Medically Fragile Patient”- Special Needs Conference by the Institute for the
     Prevention of In-Custody Deaths, Inc. Las Vegas, Nevada; March 7, 2017.

136. “Avances en Tromboembolia Pulmonar”- 3rd Annual Congreso Binacional de Medicine de
     urgencias y Trauma, Tijuana, Mexico; May 5, 2017.

137. “Caso Clinico de Trauma”- 3rd Annual Congreso Binacional de Medicine de urgencias y
     Trauma, Tijuana, Mexico; May 5, 2017.

138. “Avances en Aeromedicina”- 3rd Annual Congreso Binacional de Medicine de urgencias y
     Trauma, Tijuana, Mexico; May 6, 2017.

139. “Science of Restraint, Position/Compression and Asphyxia, and Science Behind Asphyxial
     Death” – Police Use of Force in Today’s World. Miami, FL; June 26, 2017.

140. “Excited Delirium Syndrome and the Risk of Litigation” – California Crisis Intervention
     Team Association Annual Meeting. Costa Mesa, CA; August 24, 2017.

141. “Medico-legal Issues in the Acutely Agitated Patient” – Coalition on Psychiatric
     Emergencies Pre-Conference. Scottsdale, Arizona, December 15, 2017.

142. “Updates on Excited Delirium” – Annual Update on Behavioral Emergencies Conference.
     Scottsdale, Arizona, December 15, 2017.

143. “When Should Ketamine be Used in the Treatment of Agitation?” – International Conference
     on Emergency Medicine. Mexico City, Mexico, June 8, 2018.

144. “Avances en Tromboembolia Pulmonar”- 3rd Annual Congreso Binacional de Medicine de
     urgencias y Trauma, Tijuana, Mexico; June 7, 2019.

145. “Excited Delirium in the ED: Clinical Pearls” – Southern California EM Symposium, Los
     Angeles, California. February 1, 2020.

146. “Updates in Treating Excited Delirium Syndrome”- 31st Emergency and Reanimation
     Congress, Acapulco, Mexico. February 12, 2020.

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SELECTED SPEAKING ENGAGEMENTS, continued:

147. “Management of Acute Agitation in the Emergency Department”- 31st Emergency and
     Reanimation Congress, Acapulco, Mexico. February 12, 2020.

148. “Debate on Excited Delirium and Treatment” – Annual Update on Behavioral Emergencies
     Conference. Zoom, December 2, 2020.

149. “Excited Delirium Syndrome” – San Diego County Methamphetamine Strike Force. San
     Diego, California, December 4, 2020.




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                                                                   COP-STICKNEY007355
APPENDIX B

Testimony for last 4 years

Deposition Testimony

November 20, 2017
Elaine Bridges v County of Los Angeles, et al
Superior Court of California, County of Los Angeles South District
Case No.: TC028303
Attorney: Keith Wyatt
Defense: Jail asthmatic death

December 4, 2017
C.R. et al. v. City of Antioch et. al. (Death of Rakeem Rucks)
U.S. District Court Northern District of California
Case Number: 3:16-cv-03742-EDL
Attorney: Noah Blechman
Defense: Restraint death, ExDS

December 6, 2017
Kelli Denise Goode, et al v The City of Southaven, et al.
U.S. District Court Northern District of Mississippi Oxford Division
Case Number: 3:1-cv-060-DMB-RP
Attorney: John Goode
Defense: Restraint death, ExDS

December 11, 2017
Robinson v City of Redding, et al.
U.S. District Court Eastern District of California
Case Number: 2:14-cv-02910-KJM-KJN
Attorney: Gary Brickwood
Defense: Restraint death, spit mask, ExDS

December 17, 2017
Matthew Prunty v State of Louisiana, et al
Office of Worker’s Compensation, State of Louisiana
Case Number: 14-00831
Attorney Robert Dunkelman
Defense: TASER work comp injury case

January 19, 2018
Shainie Lindsey, et. al. v. City of Pasadena, et. al.
U.S. District Court, Central District of California
Case Number: CV16-08602 SJO(RAOx)
Attorney: Kevin Osterberg
Defense: In-custody death, restraint, TASER


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                                                             COP-STICKNEY007356
March 19, 2018
James Neuroth v. Mendocino County, et al.
U.S. District Court, Northern District of California
Case Number: 1:15-cv-03226
Attorney: Kathleen M. Kunkle
Defense: In-custody death, restraint

April 24, 2018
Jean Suarez v. City of Hollywood, et. al.
U.S. District Court, Southern District of Florida
Case Number: 0:16-CV-62215-WPD
Attorney: Adam Hapner
Defense: In-custody death, restraint, TASER, ExDS

June 5, 2018
Alex Aguilar, Jr, et al v. City of Los Angeles, et al
U.S. District Court, Central District of California
Case No.: 2:17-cv-043882-CBM-MRW
Attorney: Calvin House
Defense: In-custody death, ingested bindle, TASER

August 28, 2018
Ramos, et al. v. Town of East Hartford, et al
U.S. District Court, District of Connecticut
Case No. 3:16-CV-00166 (VLB)
Attorney: Sara Murphy
Defense: In-custody death, TASER

September 20, 2018
Magilson vs. Total Access Urgent Care, PC, et al.,
Circuit Court of St. Louis County State of Missouri
Case No. 15SL-CC04289
Attorney: Andrew Eastman
Defense: Urgent care PE death

September 24, 2018
Estate of Tashi Farmer v. Las Vegas Metropolitan Police Department, et. al.
U.S. District Court District of Nevada
Case No. 2:17-cv-01946-JCM-PAL
Attorney: Matt Wolf
Defense: In custody death, TASER, neck hold

September 27, 2018
Albertha Fletcher, et al v City of New London, et al
U.S. District Court District of Connecticut
Case No. 3:16-cv-241 (MPS)
Attorney: Rhonda Rooney
Defense: Agitation evaluation and management in ED

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                                                              COP-STICKNEY007357
October 19, 2018
Roy Nelson III, Successor-in-Interest to Decedent Roy Nelson, et al. v. City of Hayward, et al.
U.S. District Court Northern District of California
Case No. 3:16-cv-7222
Attorney: Raymond Rollan
Defense: WRAP restraint in-custody death

December 18, 2018
Dennis P. Murphy v. Sandoval County, et al
U.S. District Court District of New Mexico
Case No. 1:17-cv-585-SWS/MLC
Attorney: Nick Autio
Defense: heroin withdrawal, renal failure jail death

February 6, 2019
Saly Martinez et al. v. USA, et al.
U.S. District Court, District of Arizona
Case No: CV-17-01876-PHX-JJT
Attorney: Larry Tinsley
Defense: Strangulated hernia

February 25, 2019
Susan A. Keyes, et. al. v James Alexander Hunter, MD, et. al.
Circuit Court of Greene County, Missouri
Case No.:1631-CC-00181
Attorney: Catherine Reade
Defense: Cipro toxicity, diverticulitis

March 7, 2019
Vincent Valenzuela, et. al. v City of Anaheim, et. al.
U.S. District Court of California, Southern Division
Case No. SACV17-02094 CJC
Attorney: Jill Williams
Defense: In Custody Death, Neck hold, TASER

March 23, 2019
Humberto Martinez, et al v. City of Pittsburg, et al.
U.S. District Court Northern District of California
Case No.: 4:17-cv-04246
Attorney: Noah Blechman
Defense: In Custody Death, Neck hold, Taser

April 15, 2019
Norma M. Walkes, et al. v Jonatan D. Valdez, M.D., et al
Circuit Court of the Fifth Judicial Circuit in and for Lake County, Florida
Case No.: 2016-CA-001752
Attorney: Daryl Parks

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                                                                         COP-STICKNEY007358
Plaintiff: Hospital treatment of agitation

April 18, 2019
Lester Pride, et. al. vs SSM Health Care St. Louis, et. al.
Circuit Court of St. Charles County, Missouri Eleventh Judicial Circuit
Case No.: 1711-CC00080
Attorney: Stephen Woodley
Plaintiff: Delayed CVA care

April 22, 2019
Chandra Turner, et al vs City of Champaign, et al
U.S. District Court for the Central District of Illinois
Case No.: 17 CV 2261
Attorney: Justin Brunner
Defense: In Custody Death

April 23, 2019
Cassidy Yount vs Raymond Ketting, MD, et. al.
Circuit Court of Scott County, Missouri
Case No.:18SO-CV00399
Attorney: Stephen Woodley
Plaintiff: Delayed CVA carela

May 24, 2019
David Collins, et al v County of San Diego, et al
San Diego Superior Court
Case No. 37-2017-00028981-CU-PN-CTL
Attorney: Chris Welsh
Defense: hyponatremia at jail

June 5, 2019
Mary H. Garcia, et al. vs County of Riverside, et al.
U.S. District Court, Central District of California
Case No. 5:18-cv-839
Attorney: James Packer
Defense: Restraints and restraint chair

July 19, 2019
A.B., etc, et al vs County of San Diego, et al
U.S. District Court, Central District of California
Case No.: 3:18-cv-01541-MMA-LL
Attorney: Christina Vilaseca
Defense: In Custody Death

September 30, 2019
Trinita Farmer v. Las Vegas Metropolitan Police Department, et. al.
U.S. District Court District of Nevada
Case No. 2:18-CV-00860-GMN-VCF

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                                                             COP-STICKNEY007359
Attorney: Matt Wolf
Defense: In custody death, TASER, neck hold

December 19, 2019
Norma Montano, et al. v. Sean Esparza, et al.
Pima County Superior Court
Case No. C20180653
Attorney: Nathan Metzgar
Defense: GSW to chest death

April 13, 2020
Christopher Lenihan v County of Los Angeles, et al.
Superior Court of Los Angeles County
Case No. BC656759
Attorney: Michele Goldsmith
Defense: EMS transport of heat related illness

June 11, 2020
Charmane Henderson v City of Torrance, et al.
U.S. District Court, Central District of California
Case No. 2:18-cv-03918-MWF-Ex
Attorney: Michael Watts
Defense: In custody death, TASER

August 7, 2020
Nyerges, et al v. Hillstone Restaurant Group, Inc.
U.S. District Court, District of Arizona
Case No.:2:19-cv-2376-DWL
Attorney: Pari Scroggin
Defense: Choking death

August 27, 2020
Shane Cavanaugh v. County of San Diego, et al.
U.S. District Court Southern District of California
Case No.: 18cv2557-BEN-LL
Attorney: Fernando Kish
Defense: Jail hanging

September 1, 2020
McAtee/George v. CoxHealth, et. al.
Circuit Court of Taney County, Missouri at Forsyth
Case No. : 1946-CC00124
Attorney: Catherine Reade
Defense: Urgent care pediatric heart failure

September 28, 2020
Monica Munoz v Bright Futures Academy, et al
Superior Court of the State of California, County of San Bernardino

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                                                            COP-STICKNEY007360
Case No: CIVDS1721398
Attorney: Elham Rabbani
Defense: Compression asphyxia

October 30, 2020 (Part1)
Mussalina Muhaymin v City of Phoenix, et al
U.S. District Court, District of Arizona
Case No. CV-17-04565-PHX-SMB
Attorney: Karen Stillwell
Defense: In Custody Death

November 9, 2020
Estate of Todero v. City of Greenwood, et al.
U.S. District Court, Southern District of Indiana, Indianapolis Division
Case No. 1:17-cv-1698-JPH-MJD
Attorney: James Stephenson
Defense: In Custody Death

November 13, 2020
Teresa Perkins v. City of Anaheim
U.S. District Court, Central District of California
Case No. 8:19-cv-00315-JLS-JDE
Attorney: Gregg Audet
Defense: In Custody Death

November 19, 2020 (Part 2)
Mussalina Muhaymin v City of Phoenix, et al
U.S. District Court, District of Arizona
Case No. CV-17-04565-PHX-SMB
Attorney: Karen Stillwell
Defense: In Custody Death

December 15, 2020
M.H. and Juan Solano v County of Orange, et al.
U.S. District Court, Central District of California
Case No.: 8:19-cv-00549-JVS-ADS
Attorney: Jeanne Tollison
Defense: In Custody Death

December 16, 2020
Daniel Prude Grand Jury Investigation
Rochester, NY
Case No. N/A
Attorney Jennifer Sommers
Expert: In Custody Death

January 25, 2021
Katrina Eisinger, et al v. City of Anaheim, et al.

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                                                               COP-STICKNEY007361
Superior Court of the State of California, County of Orange
Case No.:30-2018-010135259 CU-PA-CJC
Attorney: Moses Johnson
Defense: In Custody Death

February 4, 2021
Felicia Thompson v. Narinder Saukhla, MD, et al.
U.S. District Court, Eastern District of California
Case No. 2:18-cv-02422-WBS-KJN
Attorney: Van Longyear
Defense: Prison medical care

February 11, 2021
Ariel Barker v City of Plaquemine
U.S. District Court, Middle District of Louisiana
Case No. 3:17-cv-340
Attorney: Tara Johnson
Defense: In-custody death

May 5, 2021
Dongyuan Li . vs. City of Santa Ana, et al
U.S. District Court, Central District of California
Case No. 8:20-cv-00068-SB (JDEx)
Attorney: Danielle Foster
Defense: Heat Exhaustion

June 16, 2021
Shewanna Phillip v Harris County, et al
U.S. District Court, Southern District of Texas
Case No.: 4:18-cv-01586
Attorney: Jennifer Callan
Defense: Jail cardiac arrest

June 28, 2021
Russell H. Dawson, et al. v South Correctional Entity (SCORE), et al.
U.S. District Court, Western District of Washington at Seattle
Case No.: 2:119-cv-01987-RSM
Attorney: Heidi Mandt
Defense: Jail medical care

June 29, 2021
Shewanna Phillip v Harris County, et al (part 2)
U.S. District Court, Southern District of Texas
Case No.: 4:18-cv-01586
Attorney: Jennifer Callan
Defense: Jail cardiac arrest

July 12, 2021

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                                                              COP-STICKNEY007362
Michael Moore v. City of Los Angeles
U. S. District Court, Central District of California
Case No.: CV20-3053 AB (AGRx)
Attorney: Christian Bojorguez
Defense: police actions in ER

July 16, 2021
Quinta Sanders v. Cory Hutcheson, et al.
U. S. District Court, Eastern District of Missouri Southeastern District
Case No: 1:18-CV-00269
Attorney: Robert T. Plunkert
Defense: Cell extraction death

August 9, 2021
Anthony Gagliani, vs. Lexington County Sheriff’s Department, et. al.
U.S. District Court District of South Carolina Columbia Division
Case No.: 3:20-cv-03737-JMC-SVH
Attorney: David DeMasters
Defense: Arrest related death

August 17, 2021
Hattie Mennecke v Graydon Skeoch, MD
Superior Court for the State of California, County of San Bernadino
Case No.: CIVDS1713937
Attorney: Thomas Bradford
Defense: Care of stroke patient

August 19, 2021
Ron Ely v County of Santa Barbara, et al
U. S. District Court, Central District of California
Case No: 2:20-cv-06549 DMG (SKx)
Attorney: Mary Pat Barry
Defense: Stabbing death

August 23, 2021
B.P., as a minor, et al. v. County of San Bernardino, et al
U. S. District Court, Central District of California
Case No.: 5:19-cv-01243-JGB-SP
Attorney: Pete Ferguson
Defense: Arrest related death

August 24, 2021 (Part 1)
Anthony Perez, et al vs. American Ambulance
U. S. District Court, Eastern District of California, Fresno Division
Case No. 1:18-CV-00127-AWI-EPG
Attorney: Rick Ryan
Defense: EMS restraint death


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                                                              COP-STICKNEY007363
September 8, 2021 (Part 2)
Anthony Perez, et al vs. American Ambulance
U. S. District Court, Eastern District of California, Fresno Division
Case No. 1:18-CV-00127-AWI-EPG
Attorney: Rick Ryan
Defense: EMS restraint death

September 10, 2021
Brian Dunnigan v York County, et al.
U. S. District Court, Eastern District of Maine
Case 2:19-cv-00450-GZS
Attorney: Peter Marchesi
Defense: TASER burns

September 20, 2021
Estate of Michael Barrera v. City of Woodland, et al.
U. S. District Court, Eastern District of California
Case No: 2:18-cv-00329
Attorney: Derick Konz
Defense: In custody death during restraint

September 21, 2021
Roberto and Michelle Carrillo v. Mercy Health East Communities et al
Circuit Court of Lincoln County, Missouri
Case No. 18L6-CC001119
Attorney: Paul Venker
Defense: Missed diagnosis of multiple myeloma

November 10, 2021
Brejanea Burley, et al. v. County of Los Angeles, et al.
Superior Court of California, County of Los Angeles, South District, Long Beach
Case No. TC 027341
Attorney: Jill Williams
Defense: In custody death during restraint

Courtroom Testimony

January 23, 2018
Alexis Yancy, et al, vs. State of California; California Highway Patrol, et al.
U.S. District Court, Southern District of California
Case No.: 15-cv-0580 JM (PCL)
Attorney: Douglas Baxter
Defense: TASER, Restraint

March 12, 2017
Amy Manning, Personal Representative of The Estate of Patricia Cameron v. Presbyterian
County of Santa Fe; First Judicial District
Case No.: D-101-CV-2016-01392

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                                                                         COP-STICKNEY007364
Attorney: Walter Melendres
Defense: Pulmonary embolism

March 22, 2018
Nevada v Kenneth Lopera Grand Jury Investigation
Justice Court, Las Vegas Township
Case No. 1F10146X
Attorney David Rogers
Expert: neck holds

September 25, 2018
Aimee Bevan v. Santa Fe County, et al
State of New Mexico, County of Santa Fe First Judicial Court
Case# D-101-CV-2015-00061
Attorney: Mark Komer
Defense: In custody death, heroin OD

October 8, 2018
Magilson vs. Total Access Urgent Care, PC, et al.,
Circuit Court of St. Louis County State of Missouri
Case No. 15SL-CC04289
Attorney: Andrew Eastman
Defense: Urgent care PE death

December 13, 2018
Bryce Masters v. City of Independence, MO, et al
U.S. District Court, Western District of Missouri
Case No. 4:16-cv-01045-GAF
Attorney: James Tippin
Defense: TASER and cardiac arrest

February 5, 2019
Connie Lambert et al. v Dr. Joseph Procreva, et al.
Circuit Court, of Jackson County Mississippi
Case No. 2017-00072(2)
Attorney: John Banahan
Defense: missed SEA

April 16 and 18, 2019
Alan Simmons, Jr. v. Scripps Health, et. al.
Superior Court of California, County of San Diego Central Division
Case No.: 37-2016-00040795-CU-MM-CTL
Attorney: William Low
Defense: Missed meningococcemia

May 1, 2019
Alex Aguilar, Jr, et al v. City of Los Angeles, et al
U.S. District Court, Central District of California

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                                                            COP-STICKNEY007365
Case No.: 2:17-cv-043882-CBM-MRW
Attorney: Calvin House
Defense: In-custody death, ingested bindle, TASER

June 11, 2019
Christopher Wroth, et al v. City of Rohnert Park, et al.
U.S. District Court, Northern District of California
Case No.: 3:17-cv-05339-JST
Attorney: Raymond Fullerton
Defense: In-custody death, restraint

June 18, 2019
Norma M. Walkes, et al. v Jonatan D. Valdez, M.D., et al Hearing
Circuit Court of the Fifth Judicial Circuit in and for Lake County, Florida
Case No.: 2016-CA-001752
Attorney: Daryl Parks
Plaintiff: Hospital treatment of agitation

July 22, 2019
David Collins, et al v County of San Diego, et al
San Diego Superior Court
Case No. 37-2017-00028981-CU-PN-CTL
Attorney: Chris Welsh
Defense: hyponatremia at jail

November 15, 2019
Vincent Valenzuela, et. al. v City of Anaheim, et. al.
U.S. District Court of California, Southern Division
Case No. SACV17-02094 CJC
Attorney: Jill Williams
Defense: In Custody Death, Neck hold, TASER

January 29, 2020
Juan Frias vs City of Los Angeles, et al
U.S. District Court, Central District of California
Case No. CV16-4626 PSG (SKx)
Attorney: Christian Bojorquez
Defense: GSW death

February 20, 2020
Peralta v the State of Arizona, et al
U.S. District Court of Arizona
Case No. 17-CV-01868
Attorney: Michael Gaughan
Defense: paraplegia post fall at jail

April 8, 2021
Katrina Eisinger, et al v. City of Anaheim, et al.

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                                                               COP-STICKNEY007366
Superior Court of the State of California, County of Orange
Case No.:30-2018-010135259 CU-PA-CJC
Attorney: Moses Johnson
Defense: In Custody Death

May 17, 2021
McAtee/George v. CoxHealth, et. al.
Circuit Court of Taney County, Missouri at Forsyth
Case No. : 1946-CC00124
Attorney: Catherine Reade
Defense: Urgent care pediatric heart failure

June 15, 2021
Richard Donastorg v. City of Ontario
U.S. District Court, Central District of California
Case No.: 5:18-cv-00992 JGB (SPx)
Attorney: Daniel Roberts
Defense: Agitation with meth intoxication

August 31, 2021
KJP, et. al. v County of San Diego, et. al.
U.S. District Court, Southern District of California
Case No. 3:15-cv-02692-H-MDD
Attorney: Ron Lenert
Defense: In-custody death, restraint

October 19, 2021
State of Georgia vs. Henry Lee Copeland, Michael Howell, and Rhett Scott
Washington Superior Court
Case No: 18CR46A
Attorney Pierce Blitch
Defense: In-custody death




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                                                              COP-STICKNEY007367
APPENDIX C
                              Gary Michael Vilke, MD, FACEP, FAAEM
                                      11582 Normanton Way
                                    San Diego, California 92131
                                          (619) 666-8643


                                             Fee Schedule

FEE SCHEDULE
For case material review, research, report writing, written communication, deposition and trial
preparation, and telephonic or in person meetings: $750.00/ hour
A retainer for 3 hours ($2250.00) may be requested in advance.

For deposition and trial testimony: $1000.00/hour with a two (2) hour minimum. Deposition fees
are to be paid at the time of deposition or in advance.


TRAVEL
If travel out of county (more than 50 miles) for deposition or trial is required:

       Business class airline tickets to and from to be paid for by the requesting firm/agency.

       Hotel accommodations to be paid for by the requesting firm/agency.

       Transportation to and from the airport in the host city to be paid for by the requesting
       firm/agency.

Time for travel will be billed at the standard review rate up to 4 hours each direction. The time
starts at departure from home until arrival in host city, and from departure from host city until
arrival home.

If travel is within the county (less than 50 miles) for deposition or trial is required:

Time for travel will be billed at the standard review rate up to 4 hours each direction. The time
starts at departure from home until arrival at the depo/trial site, and from departure until arrival
home.

CANCELLATION:
A cancellation fee of $1000.00 will be charged if a trial or deposition that was to occur in San
Diego County is cancelled with less than 48 hours notice from the agreed upon scheduled time.

A cancellation fee of $2000.00 will be charged if a trial or deposition that was to occur outside of
San Diego County is cancelled with less than 72 hours notice from the agreed upon scheduled time
outside San Diego County.



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                                                                              COP-STICKNEY007368
EXHIBIT 23
CASEY JOE WELLS                                                           19-01162


Examination of the back revealed two apparent shallow puncture wounds likely
corresponding to sites of dart implantation from the CEW in the skin of his back, with at
least one puncture wound able to be delineated and measured to a depth of
approximately 1 cm within the fat and soft tissue of the back, associated with a small
amount of surrounding hemorrhage. As the CEW darts were only superficially
penetrating into the skin and subcutaneous tissues, were not placed over or in proximity
to the heart, and had no apparent immediate effects upon his consciousness or cardiac
function at the time the CEW was deployed (as he had continued to physically struggle
after the last CEW deployment), the CEW is not considered a potential cause or
contributing cause of death in this case.

There were no acute internal injuries of significance. Old rib fractures were identified on
postmortem radiographs as well as perimortem fractures of the ribs and sternum which
were recognized at the hospital as likely inflicted during cardiopulmonary resuscitation
with chest compressions.

Internal examination also revealed the presence of significant arteriosclerotic
cardiovascular disease with enlargement of the heart and thickening of its walls as well
as significant atherosclerotic stenosis of a major coronary vessel.         Microscopic
examination of the heart, including the conducting system, revealed myocytic
hypertrophy, small vessel disease, and scarring (fibrosis) in many areas of the heart
muscle, consistent with chronic cardiovascular disease.

Forensic neuropathologic examination of the brain, dura mater, and spinal cord
revealed the presence of hypoxic/ischemic encephalopathy with edema, consistent with
perimortem cardiorespiratory arrest and resuscitation. Despite the provided history, no
"brain mass" was identified at autopsy or on detailed neuropathological examination;
however, as noted above, the mass described in previous clinical imaging appeared to
involve the clivus bone at the skull base, and did not directly involve the brain or its
coverings. This mass may have caused headaches in life, but there was no autopsy
evidence that it caused or contributed to the death of this man. Please see the
accompanying forensic neuropathology report for details.

Forensic anthropologic evaluation of the hyoid bone and cartilaginous structures of the
airway revealed focal fractures of right sided airway cartilages. The hyoid bone was
reportedly intact. Please see the accompanying forensic anthropology report for details.

Toxicologic analyses performed on antemortem samples of blood from the treating
hospital revealed the presence of 580 ng/mL methamphetamine. Chiral analyses
revealed the methamphetamine that was detected consisted completely (100%) of the
d-isomer. In the setting of a past (2016) prescription for Desoxyn (a prescribed form of
d-methamphetamine), there is a slight possibility that this could represent this
medication (if still actively taken by the decedent, although there is no documented
recent prescription for this medication).

Alternatively, and more likely, with a history of illicit methamphetamine abuse (a street




                                      Page 6 of 15~

                                                                    COP-STICKNEY000547
EXHIBIT 24
                                    Michael Levine, MD
               EXPERT OPINION REPORT
               Pursuant to Federal Rules of Civil Procedure, Rule 26

Court:          United States District Court, District of Arizona
Case Number: 2:20-cv-1401-SMB-CBD
Case Name: Lei Ann Stickney v. City of Phoenix et. al.
Date of report: 30 November 2021


I, Michael David Levine, am an adult over 18 years of age and would be competent to testify
if called as a witness in this matter. I have prepared this report on behalf of the City of
Phoenix, Arizona in the matter of Lei Ann Stickney in the United States District Court,
District of Arizona.

   A. The University of California employs me as an associate professor of emergency
      medicine, and I am in charge of the medical toxicology consulting service at UCLA.
      My duties include, but are not limited to, supervising interns and residents in the
      emergency department, as an attending physician in the emergency department at
      Ronal Regan UCLA Medical Center, Olive View UCLA Medical Center, Santa Monica
      UCLA Medical Center. In addition, I also am an attending physician in the
      emergency department at Huntington Memorial Hospital. I am in charge of the
      medical toxicology consulting service at Ronald Regan UCLA Medical Center, Olive-
      View UCLA Medical Center, and Santa Monica UCLA Medical Center. I teach medical
      students, residents and fellows toxicology. In addition, I serve on a committee of the
      American Association of Poison Control Centers, which helps ascribe causality to
      overdose deaths reported to US Poison Control Centers.

   B. Past employment: University of Southern California (associate professor of
      emergency medicine, and chief of the division of medical toxicology), Banner
      University Medical Center (attending physician, department of medical toxicology),
      North Valley Emergency Specialists in Glendale, AZ (attending physician,
      department of emergency medicine, Banner Thunderbird Medical Center)

   C. I previously have served as vice chair of the pharmacy and therapeutics committee,
      and was chair of the medication safety committee, both at LA County-USC Medical
      Center.

       I have served on numerous committees as a member of the American College of
       Medical Toxicology during the past five years, and have helped develop guidelines,
       participate in research, and advance education of physicians currently in their
       emergency medicine residency and medical toxicology fellowships.

   D. I have 17 years of emergency medicine experience as an emergency physician, and




                                                                    COP-STICKNEY007411
     13 years of medical toxicology experience as a toxicologist. My area of expertise
     includes, but is not limited to, emergency medicine and medical toxicology. I am
     board certified in both Emergency Medicine and Medical Toxicology.

E. I have provided expert opinions in approximately 40 cases. I have been deposed
   approximately 15 times and have provided expert testimony one time for a grand
   jury and four times for trial. I have been recognized as an expert in both emergency
   medicine and medical toxicology by the United States District Court, Southern
   District of California.

F. I was asked to independently review the records and opine on the but for cause of
   death.

G. At the time of making this report, I have reviewed a variety of documents, including
   original research, to reach an opinion in this matter.

H. The statements made herein are based on my personal knowledge, which is based
   upon a review of the medical records and police reports, as well as years of training
   as a medical toxicologist and emergency physician. A copy of my Curriculum Vitae is
   attached herewith and incorporated hereto as though fully set forth.

I. I have received numerous documents from the Wieneke Law Group in October 2021
   through November 2021.

J. Based on the materials reviewed, as well as other related opinions, I was requested
   to provide my opinion as to the but for cause of death, and any possible effect of
   methamphetamine toxicity

K.    DOCUMENTS REVIEWED
      1. Notice of Claim
      2. Plaintiff’s Second Amended complaint, dated 24 June, 2020
      3. Defendant’s answer to Plaintiff’s Second Amended Complaint, dated 4
      September, 2020
      4. Defendants’ Ninth Supplemental disclosure statement
      5. Plaintiff’s Twelfth supplemental disclosure statement
      6.
      7. Phoenix police incident report 2019-00000203420 dated 4 Feb, 2019
      (redacted)
      8. Body cam video 05-5980_0219000203420_02.04.2019_16.52.14_01.05.24
      9. Report from the Office of the Medical Examiner case 19-01162, including final
      report, anthropology report, neuropathology report, and toxicology report
      10. Phoenix Fire Department ENS Incident report RE 19-045650
      11. Phoenix Fire Department Refusal of Treatment and release form 19-045650
      12. Phoenix Fire Department incident Hx Report 19-045650 02-04-19
      13. Glendale Police RPR Response Documents
      14. Cell phone video by Richard Buffington (redacted)



                                                                    COP-STICKNEY007412
        15. Danica Oparnica medical records; redacted
        16. Furguson Family Medicine report; redacted
        17. Jewish Family and Children’s Services medical records; redacted; defense
            exhibit 285
        18. Recovery Innovations medical records; redacted
        19. Chicanos Por La Causa medical records; redacted
        20. Banner Thunderbird Medical Center records
        21. J. Michael Holder medical records; redacted
        22. Riverside Community Hospital medical records; redacted
        23. Expert report of Daniel Spitz
        24. Response to subpoena duces tecum; Daniel Spitz
        25. Expert report of Daniel Wohlgelernter
        26. Response to subpoena duces tecum; Daniel Wohlgelernter
        27. Expert report of Scott DeFoe
        28. Response to subpoena duces tecum; Scott DeFoe
        29. Expert report of Michael Freeman
        30. Response to subpoena duces tecum; Michael Freeman
        31. St. Joseph’s Hospital Medical records
        32. Deposition transcript of Krystal Goodwin; 5 November 2021
        33. Deposition transcript of Connie Brenton; 2 November, 2021


L. OPINION NUMBER 1:           Mr. Casey Joe Wells was under the influence of
methamphetamine
In my opinion, Mr. Wells likely used methamphetamine within a day of his arrest.
Methamphetamine is a stimulant. Amphetamines bind to a specific type of receptor in the
brain, called a D2 receptor, which is a type of dopamine receptor. Stimulation of this
receptor, has been associated with acute psychosis. In fact, many antipsychotics work by
blocking this receptor. Mr. Wells was naked in the street, and by all descriptions, appeared
to be acutely psychotic. He was described as talking “incoherently” at times (COP-
STICKNEY000084), and as “talking to God and the heavens” at other times (COP-
STICKNEY000080). Mr. Wells quickly becomes agitated and combative. He is not following
commands.

Blood collected at the hospital revealed a methamphetamine level of 580 ng/mL, and an
amphetamine level of 68 ng/mL. On average, methamphetamine has a half-life of
approximately 11 hours, although there is some range associated with this.
Methamphetamine gets converted to amphetamine via a process of demethylation. Thus,
the fact that most of the drug is found in the methamphetamine form, and not the
amphetamine form, suggests recent use. While there is considerable overlap in drug levels,
such that one level may be fatal for one individual and not for others, a methamphetamine
level of 580 ng/mL, is clearly in a range where toxicity and death can occur.




                                                                    COP-STICKNEY007413
Opinion 2: Methamphetamine contributed to the events on 4 February, 2019
Mr. Wells has a history of auditory hallucinations and also attention deficit hyperactivity
disorder (ADHD). There has been discussion about a possible diagnosis of schizophrenia,
but in most of the medical records I have reviewed (e.g. WELLS 002872), Mr. Wells does not
mention any formal psychiatric history other than attention deficit hyperactivity disorder,
which is not associated with psychosis. Furthermore, it has been stated in deposition
testimony that Mr. Wells only hallucinated while high on illicit drugs. Methamphetamines
can clearly cause psychosis. They bind the same receptor, but do the exact opposite of many
antipsychotics. Thus, they can clearly cause acute psychosis. Even if there is a history of
schizophrenia, the fact that he was not on antipsychotics and spent much of his life not
hallucinating while not on drugs, and only hallucinated while on drugs, strongly suggests
that the methamphetamine at least contributed, and probably caused the hallucinations
encountered on 4 February, 2019, in which Mr. Wells was talking to God and the heavens.


Opinion 3: I disagree with the opinion of Dr. Wohlgelernter
Dr. Wohlgelernter states that Mr. Wells had a history of “unspecified psychosis not due to a
substance or known physiologic condition” (WELLS 003122). As previously stated, it has
been stated in deposition testimony that Mr. Wells only hallucinated while using
methamphetamines. He was not routinely on antipsychotics and was not routinely
hallucinating. If he had schizophrenia, and was not on antipsychotics, I would expect him to
be hallucinating routinely, with or without stimulants. The fact that he only hallucinates with
stimulants suggests that stimulants are the but for cause of the hallucinations, not an
underlying psychiatric illness.

More importantly, however, Dr. Wohlgelernter correctly describes pulseless electrical
activity (PEA). He then states, however, that “the only plausible and possible cause of PEA
cardiac arrest in the case of Casey Wells was hypoxia/hypoxemia,” and that “no other cause
of PEA is plausible or relevant in explaining Case Wells’ Cardiac arrest” (WELLS 003127). I
firmly disagree with this statement. First, there are multiple causes of pulseless electrical
activity, including acidosis, myocardial infarction, hypoxia, hypovolemia, and hyperkalemia,
among others. Furthermore, it is well known that methamphetamine can increase the
myocardial work-load. Like virtually all stimulants, methamphetamine increases the blood
pressure and the heart rate, thus making the heart work much harder than it normally would.
Methamphetamine has been associated with vasoconstriction and cellular hypoxia. The
autopsy of Mr. Wells revealed coronary atherosclerosis. It is certainly possible that the
underlying coronary atherosclerosis, coupled with the increased stress on the heart from the
methamphetamine, along with methamphetamine-induced vasoconstriction, and the near
certain acidosis that accompanied a multiple minute struggle, could have created a scenario
resulting in a cardiac arrest. Pulseless electrical activity has been described following
methamphetamine overdose.

Opinion 4: Methamphetamine is dangerous
Michael Freeman states that in contrast to opiates, methamphetamine has a low
hospitalization and death rate. He states it is “exceedingly small” chance to die from a dose
of methamphetamine. First, any comparison of opiates to methamphetamines is irrelevant



                                                                      COP-STICKNEY007414
as they are completely different drugs. Dr. Freeman uses an illogical calculation to determine
the risk of death from methamphetamine, and states 1 death occurs per 353,000 doses. It
should be noted that the National Institutes of Drug Abuse site 7.3 deaths due to
methamphetamine toxicity per 100,000 population, although the number is greater in some
individuals, including non-Hispanic whites, like Mr. Wells (9.4 deaths per 100,000
population). Regardless, as a practicing toxicologist, I can clearly state that patients
definitely die from acute methamphetamine toxicity. Furthermore, Dr. Freeman states
“there is no evidence that supports the implication that the very small amount of
methamphetamine in Mr. Wells’ blood (0.58 mg/L) was even a plausible cause of his death
in the absence of violent restraint” (WELLS 003045). It should be noted in Logan’s work
entitled “cause and manner of death in fatalities involving methamphetamine,” that Mr.
Wells’s level of 580 ng/mL is clearly in a range that has been associated with fatal ingestions.

O. EXHIBITS:
      1. Medical Examiner report with laboratory studies

P: QUALIFICATIONS:
     See attached Curriculum Vitae

Q. EXPERT TESTIMONY:
      See attached

R: PUBLICATIONS
      See attached curriculum vitae

S: PERSONAL COMPENSATION
      Case review     $350/hour
      Deposition fee  $450/hour
      Court testimony $600/hour

T: References:

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I reserve the right to modify or amend my report and/or opinions should additional
information become available to me.

Date: 30 November, 2021




Signature,   _________________________________________
             Michael Levine MD, FACEP, FACMT




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·Lei Ann Stickney, individually) No. 2:20-cv-01401-SMB-CDB
·and on behalf of all statutory)
·beneficiaries of Casey Wells, )
·and in her capacity as the· ··)
·personal representative of the)
·Estate of Casey Wells,· · · ··)
· · · · · · · · · · · · · · · ·)
· · · · · · ·· Plaintiff,· · · ·)
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·v.· · · · · · · · · · · · · ··)
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·City of Phoenix, et al.,· · ··)
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·1· · · · · · · ·THE WITNESS:··The tactical training

·2· ·detail, yes.

·3· · · ·Q.··BY MR. SHOWALTER:··Okay.··Now, is that -- is

·4· ·that something that's part of the Phoenix -- I think

·5· ·you testified earlier, that's part of the academy?

·6· · · ·A.··It's part of the Training Bureau, yes.

·7· · · ·Q.··And so you train officers at the academy?

·8· · · · · · · ·MS. RETTS:··Form.

·9· · · · · · · ·THE WITNESS:··We train officers in

10· ·general.··Sometimes at the academy, at offsite

11· ·locations, for instance.

12· · · ·Q.··BY MR. SHOWALTER:··So you train officers at the

13· ·academy and you also are involved in continuing

14· ·education; is that fair?

15· · · · · · · ·MS. RETTS:··Form.

16· · · · · · · ·THE WITNESS:··Correct.

17· · · ·Q.··BY MR. SHOWALTER:··What are the courses that

18· ·you personally teach?

19· · · ·A.··Currently the one that I teach, it would be a

20· ·response to resistance review.

21· · · ·Q.··A response to resistance review?

22· · · ·A.··Correct.

23· · · ·Q.··And so does that mean that that tends to be a

24· ·continuing education course for officers who have

25· ·already graduated from the academy?



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·1· · · ·A.··So it's part of our, we'll call it, annual

·2· ·advanced officer training in our module, that's one of

·3· ·the courses in that.

·4· · · ·Q.··And is that training every Phoenix police

·5· ·officer is required to take every year?

·6· · · ·A.··Yes and no.··It is mandatory for patrol

·7· ·officers to go through this training.··This year things

·8· ·are a little bit different, so non-patrol officers are

·9· ·also getting portions of the training as well.

10· · · ·Q.··And what is taught in the response to

11· ·resistance review?

12· · · ·A.··There are -- a lot of it is policy, where we go

13· ·over Operations Order 1.5, talking about resistance

14· ·levels, response options, how policy is written, what

15· ·it reads, what it says.··We discuss issues related to

16· ·articulation, when force is used, stuff that we see.

17· ·And then there is a lot of de-escalation, some small

18· ·team tactics, team movement, there are pressures on

19· ·crisis entry, active shooter and a few other things

20· ·related to that.

21· · · ·Q.··Did that used to be called the use of force

22· ·review?

23· · · ·A.··Yes.··This year we changed our verbiage from

24· ·response -- or from use of force to response to

25· ·resistance.



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·1· · · ·Q.··Do you know why that change was made?

·2· · · · · · · ·MS. RETTS:··Outside the scope; foundation.

·3· · · · · · · ·THE WITNESS:··You mean from the chain of

·4· ·command?

·5· · · ·Q.··BY MR. SHOWALTER:··Would you agree with me,

·6· ·that changing the name of that lesson plan from use of

·7· ·force review to response to resistance review, takes

·8· ·the emphasis away from the police use of force and

·9· ·attempts to put it on the resistance of subjects?

10· · · · · · · ·MS. RETTS:··Outside the scope; foundation.

11· · · · · · · ·THE WITNESS:··I believe it kind of puts

12· ·the onus back on the subject that's resisting from the

13· ·police.··Yeah, I would agree to that.

14· · · ·Q.··BY MR. SHOWALTER:··Other than changing the

15· ·name, was there a substantive change in what was being

16· ·taught?

17· · · ·A.··No.

18· · · · · · · ·MS. RETTS:··Form.

19· · · ·Q.··BY MR. SHOWALTER:··And so that change you

20· ·understand occurred in the past year?

21· · · ·A.··Yeah, within the last year, this year, last

22· ·year sometime.

23· · · ·Q.··I'm going to show you a lesson plan that's been

24· ·produced in this case that is a --

25· · · · · · · ·MR. SHOWALTER:··And Tina, Ms. Retts,



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·1· ·it's -- I believe it's our Exhibit 179.

·2· · · · · · · ·And this is a document that was produced

·3· ·to us in this case as the City of Phoenix Police

·4· ·Department Lesson Plan 2015 Module Use of Force Review

·5· ·and it is Bates stamped COP-STICKNEY003628 through 38.

·6· · · ·Q.··BY MR. SHOWALTER:··Is this a document that you

·7· ·reviewed prior to this deposition?

·8· · · ·A.··I believe so.··I looked at lot of lesson plans

·9· ·and I think this is one that I looked at.

10· · · ·Q.··And is this use of force review the lesson plan

11· ·that is a version of the lesson plan that is now known

12· ·as the response to resistance review?

13· · · · · · · ·MS. RETTS:··Form.

14· · · · · · · ·THE WITNESS:··Yes and no.··It's covering

15· ·Operations Order 1.5.··I believe we've had some

16· ·changes, obviously, in the last six years.··So some of

17· ·this stuff is our policies have changed, it would be

18· ·different.

19· · · ·Q.··BY MR. SHOWALTER:··Okay.··And so when I said

20· ·"version," would it be fair to say that this is an

21· ·earlier version of the training that is currently known

22· ·as the response to resistance review?

23· · · · · · · ·MS. RETTS:··Form.

24· · · · · · · ·THE WITNESS:··Yeah, you could say that.

25· · · ·Q.··BY MR. SHOWALTER:··And my understanding of



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·1· ·reviewing this is that this is a training that

·2· ·references Operations Order 1.5; is that fair?

·3· · · ·A.··That is correct.

·4· · · ·Q.··What is Operations Order 1.5?

·5· · · ·A.··Operations Order 1.5 used to be referenced as

·6· ·our use of force policy.··It's now the response to

·7· ·resistance policy.

·8· · · ·Q.··Okay.··So as of February 2019, Operations Order

·9· ·1.5 would have been the use of force policy, correct?

10· · · ·A.··Yes.

11· · · ·Q.··All right.··Now, I'm going to --

12· · · · · · · ·MR. SHOWALTER:··And, Donna, can we have PP

13· ·lesson plan that I just looked at marked as Exhibit

14· ·179?

15· · · · · · · ·THE COURT REPORTER:··Yes.

16· · · · · · · ·MS. RETTS:··Marked as 179 or -- do you

17· ·want to start at 179?

18· · · · · · · ·MR. SHOWALTER:··I'm just going to mark it

19· ·as 179 and I'm not going to go consecutive in this

20· ·deposition.··I'm just going to use our disclosure

21· ·exhibit numbers.

22· · · · · · · ·MS. RETTS:··All right.

23· · · · · ·(Whereupon, Deposition Exhibit 179 was marked

24· ·for identification.)

25· · · ·Q.··BY MR. SHOWALTER:··The next document is what



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·1· ·before I get into that.

·2· · · · · · · ·When did you graduate from the academy?

·3· · · ·A.··It would have been I believe October of 2003,

·4· ·2003.

·5· · · ·Q.··And when you first started as a Phoenix police

·6· ·officer, were you trained that there was a use of force

·7· ·continuum?

·8· · · · · · · ·MS. RETTS:··Form; outside the scope.

·9· · · · · · · ·THE WITNESS:··Numerous years.··I don't

10· ·remember this particular verbiage.··I know there's been

11· ·a use of force matrix and a use of force continuum

12· ·throughout my career.

13· · · ·Q.··BY MR. SHOWALTER:··And currently there are use

14· ·of force options, correct?

15· · · ·A.··That's correct.

16· · · ·Q.··And that was also the case in February of 2019

17· ·that there was use of force options, correct?

18· · · ·A.··I believe so, yeah.··I don't know when that

19· ·verbiage specifically changed, but that sounds about

20· ·right.

21· · · ·Q.··So looking at Exhibit 204, the first thing it

22· ·says, under general information, is "Sanctity of Life,

23· ·The Department respects the dignity of all persons and

24· ·recognizes the sanctity of human life, rights, and

25· ·liberty."



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·1· · · · · · · ·Did I read that correctly?

·2· · · ·A.··Yes.

·3· · · ·Q.··Is that true even for the lives of people who

·4· ·are alleged to have committed crimes?

·5· · · ·A.··It's true for everybody.

·6· · · ·Q.··And so it's also true -- and that's part of the

·7· ·training that even the City of Phoenix Police are

·8· ·trained that even people who are suspected of crimes

·9· ·have dignity and the sanctity of their life, rights and

10· ·liberty must be respected; is that fair?

11· · · ·A.··I would say, no, that's not fair.··When we

12· ·train this, we don't separate any segment of the

13· ·population.··It's just everyone, we will respect the

14· ·dignity and sanctity of life of everybody.··If they

15· ·happen to be criminals or if they happen to be whatever

16· ·else, they still fall under the sanctity of life

17· ·statement.

18· · · ·Q.··So it doesn't matter if they're a criminal,

19· ·officers are expected to have reverence for the

20· ·sanctity of their lives, correct?

21· · · ·A.··That is correct.

22· · · ·Q.··And it doesn't matter if they are under the

23· ·influence of alcohol or marijuana or methamphetamine

24· ·either, correct?

25· · · ·A.··To respect the sanctity of life, correct.



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·1· · · ·Q.··Correct.

·2· · · · · · · ·Is that right?

·3· · · ·A.··Yes.

·4· · · · · · · ·MS. RETTS:··He answered correct before.

·5· ·Did that not come across?

·6· · · · · · · ·MR. SHOWALTER:··I don't think it did.

·7· · · · · · · ·MS. RETTS:··Okay.

·8· · · ·Q.··BY MR. SHOWALTER:··And so Operations Order 1.5

·9· ·sets forth the policies of the Phoenix Police

10· ·Department for physical force, non-deadly force and

11· ·deadly force, as well as lethal weapons and equipment,

12· ·correct?

13· · · ·A.··Correct.

14· · · ·Q.··And it also states "Officers are trained to

15· ·utilize deadly force only as a last resort when other

16· ·measures are not practical under the existing

17· ·circumstances."

18· · · · · · · ·Did I read that correctly?

19· · · ·A.··Yes, you did.

20· · · ·Q.··And all officers have to be trained in this

21· ·before using any kind of force, correct?

22· · · ·A.··Officers are trained in defensive tactics,

23· ·first delivered in the academy and then through regular

24· ·in-service training, yes.

25· · · ·Q.··But is their training consistent with



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·1· ·Operations Order 1.5?

·2· · · ·A.··Yes.

·3· · · ·Q.··But the training actually includes many things

·4· ·that are not contained within Operations Order 1.5,

·5· ·correct?

·6· · · · · · · ·MS. RETTS:··Form.

·7· · · · · · · ·THE WITNESS:··How do you mean?

·8· · · ·Q.··BY MR. SHOWALTER:··There are specific tactics,

·9· ·you know, for instance with respect to you restraining

10· ·subjects that are not detailed in this operations

11· ·order, correct?

12· · · · · · · ·MS. RETTS:··Form.

13· · · · · · · ·THE WITNESS:··I think that would be

14· ·accurate.

15· · · ·Q.··BY MR. SHOWALTER:··And this policy defines --

16· ·it has a series of definitions, correct?

17· · · ·A.··Correct, right here on Point Number 2 under

18· ·definitions, yes.

19· · · ·Q.··And it defines non-deadly force, Definition B

20· ·as a tactic, "when properly applied, has minimal or no

21· ·risk of causing death."

22· · · · · · · ·Did I read that correctly?

23· · · ·A.··Yes.

24· · · ·Q.··Do you agree with that definition of non-deadly

25· ·force?



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·1· ·and training.

·2· · · · · · · ·MS. RETTS:··Form; foundation; outside the

·3· ·scope.

·4· · · · · · · ·THE WITNESS:··The same reaction or same

·5· ·response would be totality of the circumstances and

·6· ·what the intent of the officer was trying to do.

·7· · · ·Q.··BY MR. SHOWALTER:··And that's what police are

·8· ·trained is that you can't have a bright-line rule on

·9· ·that, it always depends on the totality of the

10· ·circumstances to determine whether that constitutes a

11· ·deadly force use?

12· · · · · · · ·MS. RETTS:··Form; outside the scope.

13· · · · · · · ·THE WITNESS:··Outside of a firearm, yeah.

14· · · ·Q.··BY MR. SHOWALTER:··What about placing somebody

15· ·in handcuffs and RIPP restraints and then facing them

16· ·facedown on the ground, can that be deadly force?

17· · · · · · · ·MS. RETTS:··Form; foundation; outside the

18· ·scope.

19· · · · · · · ·THE WITNESS:··Again, it is the totality of

20· ·the circumstances; placing someone on their chest would

21· ·not be considered deadly force.

22· · · ·Q.··BY MR. SHOWALTER:··Can it be if a person is

23· ·placed in restraints with their hands cuffed behind

24· ·their back and their legs restrained with RIPP

25· ·restraints and left facedown on the ground, can that



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·1· ·constitute deadly force under the City of Phoenix's

·2· ·policy?

·3· · · · · · · ·MS. RETTS:··Form; foundation; outside the

·4· ·scope.

·5· · · · · · · ·THE WITNESS:··Again, it would be dependent

·6· ·on the totality of the circumstances.

·7· · · ·Q.··BY MR. SHOWALTER:··I'm going to stop the share.

·8· ·I want to show you a different. . .

·9· · · · · · · ·Would you agree with me that City of

10· ·Phoenix -- well, are City of Phoenix police trained

11· ·that placing a handcuff restrained subject in the

12· ·facedown prone position can cause death or serious

13· ·bodily injury?

14· · · · · · · ·MS. RETTS:··Form.

15· · · · · · · ·THE WITNESS:··Again, based on the totality

16· ·of the circumstances, you could say that.··But merely

17· ·placing someone in restraints in the facedown position

18· ·would not constitute deadly force.··There's a lot more

19· ·that would go into it.

20· · · ·Q.··BY MR. SHOWALTER:··And that wasn't my question.

21· · · · · · · ·My question is:··Are City of Phoenix

22· ·police officers trained that placing somebody who has

23· ·been handcuffed and RIPPed restrained facedown in the

24· ·prone position can be deadly force?

25· · · · · · · ·MS. RETTS:··Form.



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·1· · · · · · · ·THE WITNESS:··Based on your specific

·2· ·question, no.

·3· · · ·Q.··BY MR. SHOWALTER:··Are Phoenix police officers

·4· ·trained that placing weight on the back of a subject

·5· ·who is facedown in the prone position, who's handcuffed

·6· ·and RIPPed restrained can be deadly force?

·7· · · · · · · ·MS. RETTS:··Form; foundation.

·8· · · · · · · ·THE WITNESS:··Again, it's totality of the

·9· ·circumstances.··Like we do defensive tactics training

10· ·all the times with recruits and in-service where we

11· ·restrain them, put them in handcuffs and use RIPP

12· ·restraint.··Team tactics where we use weight to control

13· ·subjects with movements.··And, no, we don't train

14· ·that's deadly force.··There's a lot of other mitigating

15· ·factors and stuff that go into it.··We don't -- to

16· ·answer your question a little bit -- to clarify what

17· ·you're asking -- if we were to leave people for

18· ·extended amount of time with other mitigating factors,

19· ·yeah, that could be considered deadly force.

20· · · ·Q.··BY MR. SHOWALTER:··And so what are the

21· ·circumstances under which leaving somebody facedown

22· ·who's restrained could constitute deadly force pursuant

23· ·to the City of Phoenix's training?

24· · · · · · · ·MS. RETTS:··Form; foundation.

25· · · · · · · ·THE WITNESS:··If they're in a fight.



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·1· ·They're exhibiting a lot of different behaviors,

·2· ·mental, physical, health, drugs, all of that would go

·3· ·into it.··As a rule, we don't -- we train that if

·4· ·they're in a position, it's just for a short time to

·5· ·gain control, take them into custody and then bring

·6· ·them into a position of recovery, as we refer to it or

·7· ·on their side or sit them up as soon as practical.

·8· · · ·Q.··BY MR. SHOWALTER:··So what are the -- so I'm

·9· ·going to go back to what I was talking about earlier.

10· · · · · · · ·Other than the training that use of a

11· ·firearm constitutes deadly force, are police officers

12· ·trained that there's any other use of force -- and we

13· ·also talked about bean bag shotguns -- are police

14· ·officers at the City of Phoenix trained that there's

15· ·any other use of force that can constitute deadly

16· ·force?

17· · · · · · · ·MS. RETTS:··Form; outside the scope.

18· · · · · · · ·THE WITNESS:··The answer would be we train

19· ·that anything officers do, right, tools, tactics that

20· ·create substantial risk of injury or death, right, when

21· ·they start getting into that arena, it could be

22· ·considered deadly force.

23· · · ·Q.··BY MR. SHOWALTER:··But they're not trained

24· ·about circumstances under which it actually would be

25· ·deadly force?



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·1· · · · · · · ·MS. RETTS:··Form.

·2· · · · · · · ·THE WITNESS:··How do you mean?

·3· · · ·Q.··BY MR. SHOWALTER:··I mean -- so let's -- with

·4· ·respect to restraint, are Phoenix police officers

·5· ·trained that there are certain specific circumstances

·6· ·under which the use of restraints on prone subjects

·7· ·constitutes deadly force?

·8· · · · · · · ·MS. RETTS:··Form; foundation.

·9· · · · · · · ·THE WITNESS:··There are things that --

10· ·such as the RIPP restraint, right.··Per our training,

11· ·lesson plans we explain you can't hogtie individuals,

12· ·meaning you can't tighten up their restraint where

13· ·their ankles and hands would be in a really tight

14· ·position and leave them, that has the potential of

15· ·creating serious risk of injury or death, so we train

16· ·not to do that.··We don't necessarily refer to it as

17· ·it's deadly force.

18· · · ·Q.··BY MR. SHOWALTER:··Is there a reason that you

19· ·don't teach -- or that City of Phoenix police officers

20· ·are not taught that hogtying a prone subject can

21· ·constitute deadly force?

22· · · · · · · ·MS. RETTS:··Form.

23· · · · · · · ·THE WITNESS:··Yeah.··The reason being,

24· ·based on a lot of unknown factors that officers have no

25· ·ability to know, such as physical issues, mental, drug,



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·1· ·clear bright-line rules, other than that a firearm is

·2· ·deadly force.

·3· · · · · · · ·Does that make sense?

·4· · · · · · · ·MS. RETTS:··Form.

·5· · · · · · · ·THE WITNESS:··It makes sense that it

·6· ·doesn't specify anything outside of firearm, yes.··But,

·7· ·again, it's the way it articulates any tactic or use of

·8· ·force that creates substantial risk of causing death or

·9· ·serious physical injury, such as the use of a firearm

10· ·could be considered deadly force.

11· · · ·Q.··BY MR. SHOWALTER:··Okay.··And so with respect

12· ·to TASERs, are police officers trained that under

13· ·certain circumstances, a TASER can cause serious bodily

14· ·injury or death?

15· · · · · · · ·MS. RETTS:··Form.

16· · · · · · · ·THE WITNESS:··Yes and no.

17· · · ·Q.··BY MR. SHOWALTER:··Explain.

18· · · ·A.··We're trained -- the officers are trained when

19· ·and how to use a TASER, if used improperly.··For

20· ·example, letting it run for an extended amount of time.

21· ·That could cause serious injury or death.

22· · · ·Q.··And are officers also trained that using a

23· ·TASER on a person who's physical compromised can cause

24· ·death?

25· · · · · · · ·MS. RETTS:··Form.



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·1· · · · · · · ·THE WITNESS:··No.··They're trained people

·2· ·that are physically compromised would not be the best

·3· ·candidate for the use of that tool or tactic.

·4· · · ·Q.··BY MR. SHOWALTER:··Are they trained that they

·5· ·should not use TASERs on people who are physically

·6· ·compromised?

·7· · · ·A.··No.··They're -- such as our current training,

·8· ·people that are, for instance, obese, because of the

·9· ·way the TASER works with muscle mass aren't necessarily

10· ·the best candidates for the use of TASER, people with

11· ·low body mass, elderly, children are not the best

12· ·candidates for the use of that tool.··However, there's

13· ·nothing that strictly prohibits it, based on the

14· ·officers' judgment and the totality of the

15· ·circumstances.

16· · · ·Q.··And so on the TASER, there's no bright-line

17· ·rule about types of people it can be used against?

18· · · · · · · ·MS. RETTS:··Form.

19· · · · · · · ·THE WITNESS:··Types of people, no.

20· ·Situations, yeah.··They don't prohibit using the TASER

21· ·when people are on an elevated location, on a wall, in

22· ·a tree -- up in a tree, next to a ledge, something like

23· ·that.··We try not to tase people that are in or around

24· ·bodies of water, the potential to fall and create other

25· ·risk is there, so we train that's not the best tool in



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·1· ·that situation.

·2· · · ·Q.··BY MR. SHOWALTER:··Are officers trained that

·3· ·it's not the best tool or that they should not use it

·4· ·in that situation?

·5· · · · · · · ·MS. RETTS:··Form.

·6· · · · · · · ·THE WITNESS:··It's not the best tool.

·7· ·They shouldn't tase people at elevated locations.··The

·8· ·risk of fall is great.··But, again, the totality of

·9· ·circumstances can factor into the decision making of

10· ·each officer at the time.

11· · · ·Q.··BY MR. SHOWALTER:··What about use of TASER

12· ·against handcuffed subjects, is that --

13· · · · · · · ·MS. RETTS:··Form.

14· · · ·Q.··BY MR. SHOWALTER:··Is that something that

15· ·officers are trained that they should not do or that

16· ·it's not the best option?

17· · · · · · · ·MS. RETTS:··Form; foundation.

18· · · · · · · ·THE WITNESS:··So as a rule, generally,

19· ·officers are trained that they will not use the TASER

20· ·on handcuffed subjects.··However, again, based on the

21· ·totality of the circumstances if, as a situation if

22· ·someone is handcuffed, yet they're still causing

23· ·issues, biting, kicking, scratching, doing other stuff

24· ·like that, that would constitute continued active

25· ·aggression, then use of the TASER would not strictly be



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·1· ·prohibited.

·2· · · ·Q.··BY MR. SHOWALTER:··So what if a subject is

·3· ·handcuffed and they're··facedown, prone on the ground,

·4· ·being held by officers, is it okay to use a TASER on

·5· ·that subject?

·6· · · · · · · ·MS. RETTS:··Form; foundation; outside the

·7· ·scope.

·8· · · · · · · ·THE WITNESS:··What's the subject doing?

·9· · · ·Q.··BY MR. SHOWALTER:··So they're being held to the

10· ·ground by police officers.··They're handcuffed.··Is it

11· ·okay to use a TASER on them?

12· · · · · · · ·MS. RETTS:··Form; foundation; outside the

13· ·scope.

14· · · · · · · ·THE WITNESS:··If they're not doing

15· ·anything else, they're not continuing fighting,

16· ·kicking, scratching, trying to bite, anything like

17· ·that, right, we're talking hypothetically here, it's

18· ·probably not the best tool.

19· · · ·Q.··BY MR. SHOWALTER:··Is it prohibited?

20· · · · · · · ·MS. RETTS:··Form; foundation; outside the

21· ·scope.

22· · · · · · · ·THE WITNESS:··No.··It's not specifically

23· ·prohibited.··I believe our policy says we will not use

24· ·a TASER on handcuffed individuals.··But, again, the

25· ·totality of the circumstances, exactly what's going on,



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·1· ·what the subject was doing that led to that decision is

·2· ·all mitigating factors.

·3· · · ·Q.··BY MR. SHOWALTER:··So officers are trained that

·4· ·they shouldn't use a TASER on a handcuffed subject but

·5· ·that they can, if they can articulate a reason for

·6· ·doing so; is that fair?

·7· · · · · · · ·MS. RETTS:··Form.

·8· · · · · · · ·THE WITNESS:··They're trained that, as a

·9· ·rule, we don't tased handcuffed prisoners.

10· · · ·Q.··BY MR. SHOWALTER:··But they can if they can

11· ·articulate a reason for doing so, correct?

12· · · · · · · ·MS. RETTS:··Form; foundation; outside the

13· ·scope.

14· · · · · · · ·THE WITNESS:··Based on the totality of the

15· ·circumstances, there are instances where it could be

16· ·used, correct.

17· · · ·Q.··BY MR. SHOWALTER:··All right.··Are police

18· ·officers at the City of Phoenix trained that they need

19· ·to be able to articulate the reason for their use of

20· ·force?

21· · · ·A.··Yes.

22· · · ·Q.··What are they trained that that means?··That

23· ·articulate, what are they trained that that means?

24· · · ·A.··They're trained to have to be able to explain

25· ·who, what, where, when, why, how everything that was



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·1· · · · · · · ·Does the City of Phoenix have anywhere a

·2· ·list of techniques or tactics that, if used improperly,

·3· ·constitute deadly force?

·4· · · · · · · ·MS. RETTS:··Form.

·5· · · · · · · ·THE WITNESS:··Not to my knowledge, no.

·6· · · ·Q.··BY MR. SHOWALTER:··Are City of Phoenix police

·7· ·officers -- other than with respect to firearms, are

·8· ·City of Phoenix police officers ever trained on what

·9· ·techniques, if used improperly, can constitute deadly

10· ·force?

11· · · ·A.··How do you mean?

12· · · ·Q.··Are City of Phoenix police officers trained or

13· ·is there any policy that says if you hogtie someone and

14· ·leave them facedown that is deadly force?

15· · · · · · · ·MS. RETTS:··Form.

16· · · · · · · ·THE WITNESS:··That specific incident?

17· · · ·Q.··BY MR. SHOWALTER:··Yes.

18· · · ·A.··No.··We don't have anything to say that's

19· ·deadly force, but we have policy that prohibits

20· ·hogtying.

21· · · ·Q.··Are City of Phoenix police officers trained if

22· ·they use a TASER on somebody who they know to be

23· ·physically compromised, that that can amount to deadly

24· ·force?

25· · · · · · · ·MS. RETTS:··Form; foundation.



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·1· · · · · · · ·THE WITNESS:··I don't believe so, no.

·2· · · ·Q.··BY MR. SHOWALTER:··Are City of Phoenix police

·3· ·officers trained that using a TASER on a subject who

·4· ·may be suffering from excited delirium may be deadly

·5· ·force?

·6· · · · · · · ·MS. RETTS:··Form; foundation; outside the

·7· ·scope.

·8· · · · · · · ·THE WITNESS:··No.··Using a TASER on a

·9· ·subject who is experiencing characteristics of excited

10· ·delirium would probably be a better tool when used

11· ·properly because it would help get that person into

12· ·custody faster, which is what the training is, is we

13· ·need to detain them as quickly as possible to lessen

14· ·the likelihood of serious harm or death.

15· · · ·Q.··BY MR. SHOWALTER:··Are City of Phoenix police

16· ·officers trained that placing their weight on a subject

17· ·who is handcuffed in the prone position can be deadly

18· ·force?

19· · · · · · · ·MS. RETTS:··Form; foundation; outside the

20· ·scope.

21· · · · · · · ·THE WITNESS:··That specifically, no, it's

22· ·not trained it could be deadly force.··Again, there is

23· ·training that when someone is controlled, handcuffed

24· ·and proned out, we'll roll them into a recovery

25· ·position as soon as possible, as soon as practical.



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·1· ·different.··It's based on what the subject actions are

·2· ·doing.··We don't train that using body weight on the

·3· ·subject that we're trying to take into custody is

·4· ·deadly force, no.

·5· · · ·Q.··BY MR. SHOWALTER:··And so in the City of

·6· ·Phoenix, officers are not trained that if they have a

·7· ·prone suspect or subject who's been handcuffed and

·8· ·maybe they're still struggling, but they've been

·9· ·handcuffed, that placing weight on them can cause

10· ·death?

11· · · · · · · ·MS. RETTS:··Form; foundation.

12· · · · · · · ·THE WITNESS:··The training is consistent

13· ·with Graham versus Connor.··It's totality of the

14· ·circumstances.··It's all based on what is going on,

15· ·right.··The training would be when the subject is

16· ·detained and they can safely be rolled over into a

17· ·recovery position, to do that as soon as practical.

18· · · ·Q.··BY MR. SHOWALTER:··And I understand that.··But

19· ·I just want to know, does the City of Phoenix train

20· ·police officers that placing weight on the back of a

21· ·handcuffed prone subject can cause death?

22· · · · · · · ·MS. RETTS:··Form; foundation.

23· · · · · · · ·THE WITNESS:··So based solely on what you

24· ·said, no.

25· · · ·Q.··BY MR. SHOWALTER:··Are City of Phoenix police



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·1· · · ·A.··Yeah.··That's one place, yeah.

·2· · · ·Q.··And you could have a training for City of

·3· ·Phoenix police officers where you have them read Graham

·4· ·v. Connor and you then say, okay, as you can see, it's

·5· ·the totality of the circumstances, and we're done here,

·6· ·go forth and police, right.··And that would be an

·7· ·inadequate training, correct, if that was all it was,

·8· ·is police officers are hired, they read Graham v.

·9· ·Connor, they're told that it's the totality of the

10· ·circumstances and they go out into the world applying

11· ·force under the totality of the circumstances, that

12· ·would be inadequate, correct?

13· · · · · · · ·MS. RETTS:··Form; foundation; outside the

14· ·scope.

15· · · · · · · ·THE WITNESS:··I would consider that

16· ·inaccurate -- or inadequate, yes.

17· · · ·Q.··BY MR. SHOWALTER:··And so simply telling

18· ·officers that, well, it's the totality of the

19· ·circumstances, that's not really training, is it?

20· · · · · · · ·MS. RETTS:··Form; foundation.

21· · · · · · · ·THE WITNESS:··So officers are trained,

22· ·right, for -- since we're talking TASER, they can use

23· ·the TASER during these circumstances, active

24· ·aggression, danger to self, danger to others, right,

25· ·and it's a handcuff assist or control assist tool.··If



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·1· ·a subject were still displaying those levels of

·2· ·resistance and a TASER could be appropriate, right,

·3· ·even though they're handcuffed, it's based completely

·4· ·on what that subject is displaying at that time, during

·5· ·that incident.

·6· · · ·Q.··BY MR. SHOWALTER:··Okay.··I'm going to take you

·7· ·back up to the definition of active aggression.··It

·8· ·says, "Physical actions of assault."

·9· · · · · · · ·Do you see where I read that?

10· · · ·A.··Yep.

11· · · ·Q.··And so if a handcuffed -- let's say you have a

12· ·subject who's been handcuffed and is in RIPP

13· ·restraints, what would constitute assault by that

14· ·person that would justify a use of an electronic

15· ·control device?

16· · · · · · · ·MS. RETTS:··Form; foundation; outside the

17· ·scope.

18· · · · · · · ·THE WITNESS:··So just because someone

19· ·would be handcuffed or be in RIPP restraints, would not

20· ·prevent someone from physical action of assault, they

21· ·can still kick, bite, scratch, grab onto.··I've seen

22· ·incidents where a subject was handcuffed to the rear

23· ·and has caused pretty significant bodily harm just by

24· ·squeezing and grabbing onto an officer's leg.

25· · · · · · · ·So that's what we're referring to, right.



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·1· ·If they're solely laying down in handcuffs and RIPP

·2· ·restraint, there's no longer physical actions of

·3· ·assault, they're not in active aggression, they're not

·4· ·a danger to self or others and they're able to be

·5· ·rolled over into a prone position, that would be the

·6· ·expectation.

·7· · · ·Q.··BY MR. SHOWALTER:··I didn't understand the last

·8· ·thing you said about -- it sounded like you said able

·9· ·to be rolled over into the prone position?

10· · · ·A.··Correct.

11· · · · · · · ·I'm sorry, not -- I misspoke, not the

12· ·prone position, the position of recovery from the prone

13· ·position.··I apologize.

14· · · ·Q.··Spitting on an officer is considered -- is that

15· ·considered an assault?

16· · · · · · · ·MS. RETTS:··Form; foundation.

17· · · · · · · ·THE WITNESS:··I would consider it an

18· ·assault, yes.

19· · · ·Q.··BY MR. SHOWALTER:··And I'm not asking for your

20· ·personal opinion, I'm asking for as police officers are

21· ·trained and the policies of the City of Phoenix?

22· · · · · · · ·MS. RETTS:··Form; foundation; outside the

23· ·scope.

24· · · · · · · ·THE WITNESS:··Per Arizona Revised Statutes

25· ·that could be considered an assault.··But I can't say



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·1· ·do, arrest team tactics, you know, positional arrest

·2· ·tactics, there are portions where we train officers to

·3· ·use body weight, arms to control the subject to place

·4· ·them in handcuffs.··But the training does not include

·5· ·extended periods of time in that position.··The

·6· ·training is used to gain control and then move on.

·7· · · ·Q.··BY MR. SHOWALTER:··And officers are not trained

·8· ·that placing body weight on the back of a prone

·9· ·handcuffed subject can cause death, correct?

10· · · · · · · ·MS. RETTS:··Form.

11· · · · · · · ·THE WITNESS:··That one is a difficult --

12· ·it's not a yes or no.··They're trained that that could

13· ·be a factor, right.··But depending on the situation,

14· ·you still have to be able to detain and control the

15· ·subject.··So if and when there are mitigating factors

16· ·similar to excited delirium or positional asphyxia, the

17· ·training is consistent with getting control and getting

18· ·that subject into a recovery position and requesting

19· ·fire or EMS.

20· · · ·Q.··BY MR. SHOWALTER:··Have you reviewed the case

21· ·of Casey Wells?

22· · · ·A.··I have not.

23· · · ·Q.··Have you ever watched the video showing Casey

24· ·Wells being restrained and tased?

25· · · · · · · ·MS. RETTS:··Form.



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·1· ·force that is excessive or outside of policy with

·2· ·respect to this tactic or technique?

·3· · · · · · · ·MS. RETTS:··Form.

·4· · · · · · · ·THE WITNESS:··I don't believe we use any

·5· ·specific videos to highlight improper use of force or

·6· ·bad tactics for training, no.

·7· · · ·Q.··BY MR. SHOWALTER:··And stepping away from

·8· ·videos, are officers trained even outside of videos,

·9· ·with demonstrations or explanations of specific tactics

10· ·that, if used, would constitute excessive force?

11· · · · · · · ·MS. RETTS:··Form; foundation.

12· · · · · · · ·THE WITNESS:··It truly would depend on

13· ·what exactly we're talking about.··Like, when we're

14· ·doing defensive tactics training, we'll do the RIPP

15· ·restraint training.··During that training, I would say,

16· ·yes, we show them exactly what is not authorized.··We

17· ·explain when a RIPP restraint is placed around

18· ·someone's ankles, you cannot shorten the length, right,

19· ·the clasp would need to be, and we use it as a visual

20· ·example as we're explaining, connected to the chain

21· ·between your handcuffs or in the case of hinge cuffs,

22· ·it would be wrapped around one time and the clasp will

23· ·go back onto the strap.

24· · · · · · · ·And then we'll show an example, that you

25· ·can't shorten this because it would create what could



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·1· ·be construed as hogtying and would lead to other issues

·2· ·with position asphyxia and stuff like that.

·3· · · ·Q.··BY MR. SHOWALTER:··So what are officers trained

·4· ·is the problem with hogtying?

·5· · · ·A.··Just that, that when subjects are forced into

·6· ·that position their legs and hands together, it leads

·7· ·to complications related to positional asphyxia,

·8· ·breathing issues, especially in a prone position.··So

·9· ·we don't train for hogtying.··We use the restraint to

10· ·restrain people's legs to keep them from kicking as

11· ·much as possible.

12· · · ·Q.··So what are officers trained to do with RIPP

13· ·restraints?

14· · · ·A.··As I just said, the clasp goes around the -- or

15· ·connects to the chain between the handcuffs, right, and

16· ·they're not shortening that strap in any way or in the

17· ·case of hinge cuffs, you wrap around the hinge of the

18· ·handcuff and then connect back to the strap and not

19· ·shorten the strap in any way.

20· · · ·Q.··So I'm going to show you what we'll mark as

21· ·Exhibit 300.

22· · · · · ·(Whereupon, Deposition Exhibit Number 300 was

23· ·marked for identification.)

24· · · ·Q.··BY MR. SHOWALTER:··And this is has been

25· ·provided to us as the City of Phoenix's lesson plan for



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·1· ·RIPP restraint hobble.

·2· · · · · · · ·Do you recognize this document?

·3· · · ·A.··Yes.

·4· · · ·Q.··Is this something you've reviewed in advance of

·5· ·today's deposition?

·6· · · ·A.··Yes.

·7· · · ·Q.··And is this a course you've ever taught?

·8· · · ·A.··I haven't specifically taught it.··This -- I

·9· ·believe this is the lesson plan that we're still using

10· ·for teaching RIPP.··I haven't been present when it's

11· ·been taught.

12· · · ·Q.··Okay.··And it states at page 3 of the lesson

13· ·plan that "The purpose of the RIPP restraint hobble is

14· ·to temporarily restrain a combative subject."

15· · · · · · · ·Is that accurate?

16· · · ·A.··That is accurate, yes.

17· · · ·Q.··And then below that it gives the method of

18· ·restraining, RIPP restraint hobble, and it defines that

19· ·as "Restraining device used to secure the legs and

20· ·ankles of a subject."

21· · · · · · · ·Did I read that accurately?

22· · · ·A.··Yes.

23· · · ·Q.··And it also has this term "T.A.R.P."··total

24· ·appendage restraining procedure.

25· · · · · · · ·Is that something different than a RIPP



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·1· ·restraint hobble?

·2· · · ·A.··I don't believe so.··It's just that's the term,

·3· ·you're getting both arms and feet restrained.

·4· · · ·Q.··So, in other words, total appendage restraining

·5· ·procedure, if I understand you correctly, is the

·6· ·position that somebody is in once the RIPP restraint

·7· ·hobble has been appropriately applied; is that

·8· ·accurate?

·9· · · ·A.··I believe so, yes.

10· · · ·Q.··And under total appendage restraining

11· ·procedure, it says, "A position achieved by snapping

12· ·the fully extended remaining belt to the handcuff

13· ·chains to restrict kicking."

14· · · · · · · ·Did I read that correctly?

15· · · ·A.··Yes.

16· · · ·Q.··And so once -- is the training that once a

17· ·subject is put in the RIPP restraints that they are to

18· ·be sit up -- well, strike that.

19· · · · · · · ·Once the RIPP restraint hobble is

20· ·effectively applied and the subject has stopped

21· ·resisting -- you know, strike that.

22· · · · · · · ·I'm not sure I understand this Number 2.

23· ·It says, "After restraining with the Hobble, always

24· ·seat the subject upright and check for injuries.··If

25· ·the subject displays signs of a medical issue, request



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·1· ·the fire department immediately."

·2· · · · · · · ·What does that mean?

·3· · · ·A.··It means exactly what it says, it's another

·4· ·restraint tool.··Just like with handcuffing, sit the

·5· ·subject into a recovery position and if they're

·6· ·displaying of signs of any medical issues, you request

·7· ·the fire department immediately.

·8· · · ·Q.··Okay.··And maybe that's what I don't

·9· ·understand.··It says, "seat the subject upright and

10· ·check for the injuries," is that the same as putting

11· ·them in the recovery position?

12· · · ·A.··Yes.

13· · · ·Q.··I thought the recovery position was putting

14· ·them on their side?

15· · · ·A.··It's either/or, on their side or seated -- sat

16· ·upright.

17· · · ·Q.··Okay.··Now the next portion of the lesson plan

18· ·is the application of the RIPP restraint hobble,

19· ·correct?

20· · · ·A.··That is correct.

21· · · ·Q.··Is this something where there is an

22· ·accompanying PowerPoint or is it all just done by

23· ·demonstration?

24· · · ·A.··This one is all demonstration done usually in

25· ·one of our defensive tactics rooms and accompanied with



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·1· ·other defensive tactics training.

·2· · · ·Q.··Does the City of Phoenix have videos that show

·3· ·correct application of the RIPP restraint hobble?

·4· · · ·A.··Not to my knowledge.··Well, we don't use them,

·5· ·to my knowledge.

·6· · · ·Q.··Do you know if the City of Phoenix has such

·7· ·videos?

·8· · · ·A.··I would imagine we have body worn camera where

·9· ·people have used RIPP restraint.

10· · · ·Q.··Looking at the body worn camera, without

11· ·knowing what the training is, would not provide us with

12· ·information on what the officers are trained to do,

13· ·correct, it would just provide us with information of

14· ·what they actually did, fair?

15· · · ·A.··So I thought the question was do we use videos

16· ·for training.··No, to my knowledge, we don't use videos

17· ·for training.··We physically show them how to put those

18· ·on.

19· · · · · · · ·And then I thought you asked if we had

20· ·videos.··And I would imagine through the course of

21· ·several years with the body worn cameras, we have

22· ·recorded someone getting placed in a RIPP restraint,

23· ·but we don't use it for training, to my knowledge.

24· · · ·Q.··And let me put it a different way.··Are you

25· ·aware of whether the City of Phoenix has videos that



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·1· ·show the proper procedure for RIPP restraint?··It could

·2· ·have been either provided by police agencies, AZ POST,

·3· ·or the manufacturer of the RIPP restraint.

·4· · · · · · · ·MS. RETTS:··Form; foundation.

·5· · · · · · · ·THE WITNESS:··Used for training.

·6· · · ·Q.··BY MR. SHOWALTER:··Not used for training.··I

·7· ·just want to know if you know if the City of Phoenix

·8· ·has such videos?

·9· · · · · · · ·MS. RETTS:··Form; foundation; outside the

10· ·scope.

11· · · · · · · ·THE WITNESS:··To my knowledge, no.··I

12· ·imagine they might.

13· · · ·Q.··BY MR. SHOWALTER:··Have you ever seen any video

14· ·that was used to demonstrate either the proper or

15· ·improper use of RIPP restraint hobbles?

16· · · · · · · ·MS. RETTS:··Form.

17· · · · · · · ·THE WITNESS:··No.··Based on my memory,

18· ·every time I've attended training, it's been in person

19· ·and shown physical examples of how to apply the RIPP

20· ·restraint.

21· · · ·Q.··BY MR. SHOWALTER:··Okay.··Going down what is

22· ·this on right side it say P.O. Number 1, P.O. Number 2,

23· ·P.O. Number 3.··What does that stand for?

24· · · ·A.··Those stand for performance objectives.

25· · · ·Q.··Okay.··Now, when it talks about RIPP restraint



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·1· ·hobble application it says, "Prone handcuffed subjects.

·2· ·This should be completed by two or three officers."

·3· · · · · · · ·Do you see where I read all that?

·4· · · ·A.··I do.

·5· · · ·Q.··And this lesson plan, this Exhibit 300, is this

·6· ·the same way that you were trained to apply RIPP

·7· ·restraints?

·8· · · · · · · ·MS. RETTS:··Form.

·9· · · · · · · ·THE WITNESS:··It looks like it, yes.

10· · · ·Q.··BY MR. SHOWALTER:··And is it your understanding

11· ·that this lesson plan represents the City of Phoenix's

12· ·training applicable to RIPP restraints as of February

13· ·2019?

14· · · ·A.··I believe so, yes.

15· · · ·Q.··Okay.··So it says -- why is it -- is two or

16· ·three officers the minimum number of officers for

17· ·applying a RIPP restraint?

18· · · ·A.··There's no minimum or maximum, but if you're in

19· ·a situation that a subject is displaying conditions

20· ·that are conducive to applying a RIPP restraint,

21· ·probably you'll need at least two or more to restrain

22· ·the subject enough to put them into a RIPP restraint.

23· · · ·Q.··Okay.··Then it says, "Control the subject's

24· ·body and legs.··Cross the subject's ankles."

25· · · · · · · ·Did I read that correctly?



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·1· · · ·A.··Yes.

·2· · · ·Q.··And so at this point in the application, the

·3· ·subject's prone, facedown, and an officer places -- is

·4· ·physically controlling their ankles and placing one

·5· ·ankle on top of the other, correct?

·6· · · ·A.··Correct.

·7· · · ·Q.··And then it says at (a), this thing about

·8· ·"bulky items such as cowboy boots or baggy jeans," that

·9· ·can pose a problem, correct?

10· · · ·A.··Correct.

11· · · ·Q.··At Number 3, it says, "Open the Hobble wide

12· ·enough to loop it around the subject's ankles and cinch

13· ·the strap snugly around the ankles by pulling up on the

14· ·brass clip with one hand and pushing the jawed

15· ·alligator clip down against the ankles."

16· · · · · · · ·Did I read that correctly?

17· · · ·A.··Yes.

18· · · ·Q.··So if I understand this, I don't want to sound

19· ·overly -- and I'm not really being critical, but I just

20· ·want to make sure I understand something.··In Number 3

21· ·here, "Open the Hobble wide enough to loop it around

22· ·the subject's ankles and cinch the strap snugly around

23· ·the ankles by pulling up on the brass clip with one

24· ·hand and pushing jawed alligator clip down against the

25· ·ankles."



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·1· · · · · · · ·Left out of that, but understood to be

·2· ·there is, you not only have to open the hobble wide

·3· ·enough to loop it around the subject's ankles, you

·4· ·actually have to loop it around the subject's ankles,

·5· ·correct?

·6· · · ·A.··Correct.

·7· · · ·Q.··And so this is just talking about one end of

·8· ·the RIPP device; is that fair?

·9· · · ·A.··That is correct.··Yeah, it's the loop end.··The

10· ·clasp end is on the other end.

11· · · ·Q.··Okay.··And so once that is -- so at this point,

12· ·when that is applied are the subject's legs still

13· ·extended?

14· · · ·A.··In a perfect world, yes.

15· · · ·Q.··Okay.··So they can be, but they don't have to

16· ·be?

17· · · ·A.··Yes.··I mean, that -- for it to be applied

18· ·efficiently, yeah, that would be the best position.

19· · · ·Q.··But if you have a subject who's struggling or

20· ·the officers have already -- the subject was struggling

21· ·and the officers already brought his ankles upwards

22· ·somewhat to stop him from struggling, then it can be

23· ·applied at that point, correct?

24· · · ·A.··Yeah.··It may not be applied as efficiently as

25· ·if they were straight out.··And it's -- it can be



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·1· ·extremely difficult to apply when subjects are

·2· ·constantly kicking and fighting.··That's another reason

·3· ·why it says for two or more -- or two or three

·4· ·officers.

·5· · · ·Q.··Okay.··And so if we complete Number 3

·6· ·correctly, we will have the loop firm around the

·7· ·subject's ankles, which are crossed over each other,

·8· ·correct?

·9· · · ·A.··Correct.

10· · · ·Q.··And, at this point, it says "Bring the

11· ·subject's ankles towards the buttocks by pulling the

12· ·strap towards the handcuffs and attach the brass clip

13· ·to the middle chain of the handcuffs or to the hinge of

14· ·the cuffs."

15· · · · · · · ·Did I read that correctly?

16· · · ·A.··Yes.

17· · · ·Q.··When it says about attaching the brass clip to

18· ·the middle chain of the handcuffs or to the hinge of

19· ·the handcuffs, what is the hinge of the handcuffs?

20· · · ·A.··So you have basically two types of handcuffs,

21· ·chain handcuffs that generally have two to three links

22· ·between them and then hinge cuffs, where it's a hinge

23· ·that will be similar to that(Witness indicating),

24· ·right, that bends.··So with hinge cuffs you can't

25· ·attach the clip to the hinge, you have to wrap the



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·1· ·strap around the hinge and then attach it back to

·2· ·itself.

·3· · · ·Q.··Okay.··And so at Number 5 it says, "Do not

·4· ·shorten the strap or wrap it around the subject's

·5· ·ankles."

·6· · · · · · · ·Did I read that correctly?

·7· · · ·A.··Yes.

·8· · · ·Q.··And then it says, "Be mindful of body positions

·9· ·which impair subject's ability to breathe normally."

10· · · · · · · ·Did I read that correctly?

11· · · ·A.··You did.

12· · · ·Q.··What does that mean?

13· · · ·A.··That's where we're talking about the taller

14· ·individuals, where that strap, it's one length, so you

15· ·can't make it longer or shorter.··It could put them in

16· ·like a hogtied position and we're trying to avoid that

17· ·at all costs.··We don't want them -- their ankles up by

18· ·their hands.··It's just to restrain the feet and keep

19· ·them from kicking as much as possible.··And then once

20· ·the RIPP restraint is placed on, then you start getting

21· ·them out of the prone position as quickly as practical.

22· · · ·Q.··How -- I mean, what -- hold on.··Let me just

23· ·make sure I'm not missing something.

24· · · · · · · ·How is hogtie defined?

25· · · ·A.··Honestly, I don't know.··I've never studied or



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·1· ·researched hogtying.

·2· · · ·Q.··What were you trained was the difference

·3· ·between using the RIPP restraint -- or I'm sorry.··What

·4· ·is the City of Phoenix trained is the difference

·5· ·between hogtying and properly applying the RIPP

·6· ·restraint?

·7· · · ·A.··Hogtying, you can't move your ankles or hands,

·8· ·you're pretty much stuck in that position and you can't

·9· ·move.··Whereas, with the RIPP restraint and the strap

10· ·around the ankles, subjects can still move their legs,

11· ·but just restricts, it doesn't get rid of it, but it

12· ·restricts the ability to kick.

13· · · ·Q.··And as an officer applying RIPP restraints, how

14· ·do you know whether you're properly applying them or

15· ·whether you've gone from properly applying them to

16· ·having a subject in a hogtied position?··What's the

17· ·training on that?

18· · · · · · · ·MS. RETTS:··Form.

19· · · · · · · ·THE WITNESS:··There isn't necessarily any

20· ·training.··Other than the clasp or clip goes around the

21· ·hinge cuffs or connected to the handcuff and the strap

22· ·is not shortened in any way.··When you're doing that,

23· ·you avoid hogtying.

24· · · ·Q.··BY MR. SHOWALTER:··Is part of the training

25· ·showing officers what hogtying looks like, so they know



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·1· ·not to do that?

·2· · · ·A.··No.··The training does include showing what it

·3· ·looks like to shorten the strap, right.··So the strap

·4· ·would be clipped through the handcuffs and back to

·5· ·itself at the ankles and it does show wrapping around

·6· ·the ankles to shorten the strap as an example of what

·7· ·not to do and then it's shown again how do it correctly

·8· ·without shortening the strap.

·9· · · ·Q.··Is there a -- RIPP restraints are one size fits

10· ·all, correct?

11· · · ·A.··As far as I know, yes.

12· · · ·Q.··Officers don't walk around with tape measures

13· ·and say, you know, he looks like a 38 or whatever,

14· ·correct?

15· · · ·A.··That is correct.

16· · · ·Q.··With a fairly short individual, it's going to

17· ·be necessary to shorten the strap in order to properly

18· ·apply the RIPP restraint, correct?

19· · · · · · · ·MS. RETTS:··Form.

20· · · · · · · ·THE WITNESS:··No.··I mean, a short

21· ·individual it will work as well it can.

22· · · ·Q.··BY MR. SHOWALTER:··In terms of a subject's body

23· ·position, what is the difference between body

24· ·position -- is it your testimony -- or is it your

25· ·training that if a subject can move their legs, they



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·1· · · · · · · ·MS. RETTS:··Form; foundation; outside the

·2· ·scope.

·3· · · · · · · ·THE WITNESS:··I guess effectively if they

·4· ·use it incorrectly, yes.

·5· · · ·Q.··BY MR. SHOWALTER:··Is it possible to look at a

·6· ·picture of a subject who has been -- well, given that

·7· ·you've never been trained on what actually constitutes

·8· ·hogtying, would you be able to look at a picture of a

·9· ·subject in RIPP restraints and tell whether or not they

10· ·were properly applied or whether they had, in fact,

11· ·been hogtied?

12· · · · · · · ·MS. RETTS:··Form; foundation; outside the

13· ·scope.

14· · · · · · · ·THE WITNESS:··I could look at a picture

15· ·and determine if I believe the RIPP restraint was

16· ·applied correctly.

17· · · ·Q.··BY MR. SHOWALTER:··We looked at that earlier

18· ·where it says -- good grief.

19· · · · · · · ·This is Number 6 on page 4.··It says, "Be

20· ·mindful of body positions which impair subject's

21· ·ability to breathe normally."··And I asked you what

22· ·body positions those would be and it sounded like you

23· ·said very tall people.

24· · · · · · · ·Was there any other training on that topic

25· ·on body positions that impair subject's ability to



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·1· ·breathe normally?

·2· · · · · · · ·MS. RETTS:··Form.

·3· · · · · · · ·THE WITNESS:··No, just a long exposure in

·4· ·the prone position.··People that are very tall, right,

·5· ·it would restrict the movement of the legs quite a bit.

·6· · · ·Q.··BY MR. SHOWALTER:··And then it also says that

·7· ·"Facedown exposure should be limited to the time

·8· ·necessary to apply the hobble and custody is

·9· ·maintained."

10· · · · · · · ·Does that mean that facedown exposure

11· ·itself is a body position which impairs the subject's

12· ·ability to breathe normally?

13· · · · · · · ·MS. RETTS:··Form.

14· · · · · · · ·THE WITNESS:··It could.··But, again, it's

15· ·the totality of the circumstances.··During this

16· ·training, people are in the facedown position with

17· ·handcuffs and RIPP restraints for minutes on end during

18· ·the training.

19· · · ·Q.··BY MR. SHOWALTER:··And are those -- is part of

20· ·the training that those people have also been in a

21· ·fight and are being held down by seven officers and

22· ·they're also being tased?

23· · · · · · · ·MS. RETTS:··Form; outside the scope.

24· · · · · · · ·THE WITNESS:··During the training, no.

25· · · ·Q.··BY MR. SHOWALTER:··Is there ever a police



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·1· · · ·A.··Correct.

·2· · · ·Q.··And what is your -- well, what is your training

·3· ·on how the TASER is supposed to work with respect to

·4· ·the human nervous system?

·5· · · · · · · ·MS. RETTS:··Object to form.

·6· · · · · · · ·THE WITNESS:··What is my specific

·7· ·training --

·8· · · ·Q.··BY MR. SHOWALTER:··Yes?

·9· · · ·A.··-- or what is the training?

10· · · · · · · ·I'm sorry, you're asking for my specific

11· ·training?

12· · · ·Q.··Yes.··I'm asking for your understanding of how

13· ·the City of Phoenix trained people as of 2019 about

14· ·what the purpose of the TASER was with respect to the

15· ·human nervous system?

16· · · ·A.··Right.··So the training consists of explaining

17· ·how the TASER, the electricity of the TASER works by

18· ·like overriding the subject's ability to fight through

19· ·it.··It kind of hijacks the nervous system to where

20· ·they can't control the muscles between the probes.··The

21· ·training is an arrest assist tool.··And prolonged

22· ·exposures, numerous exposures are frowned upon, right.

23· ·The goal is to use it to gain control and place them

24· ·into custody.

25· · · · · ·(Phone ringing.)



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·1· ·the lesson plan in 2019.··Mark Veres would have still

·2· ·have been an officer in charge of the TASER program and

·3· ·Chris Stone would be there.··I imagine Mark's name is

·4· ·there so this could be it.

·5· · · ·Q.··Okay.··Now this gives a -- this training,

·6· ·that's the 2013 revision, gives guidelines for use.··It

·7· ·says subject operations order 1.5.4E.··And it says "The

·8· ·TASER will not be" -- below this it says, "The TASER

·9· ·will not be used for," and then it gives a series of

10· ·lists, correct?

11· · · ·A.··Correct.

12· · · ·Q.··It gives a list, with a series of

13· ·circumstances, correct?

14· · · ·A.··Yes.

15· · · ·Q.··And so this says "The TASER will not be used

16· ·for, One, coercion of any type."

17· · · · · · · ·Is that accurate?··Is that what the

18· ·training is?

19· · · ·A.··Yes.

20· · · ·Q.··But then it gives an exception and it says, "A

21· ·warning ARC combined with the proper verbal warning may

22· ·be used as coercion in situations that would likely

23· ·result in a justified deployment of the ECD," correct?

24· · · ·A.··That is correct.

25· · · ·Q.··And then it says, "The TASER will not be used



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·1· ·for:··Against subjects solely for running from the

·2· ·officer," is that correct?

·3· · · ·A.··Yes.

·4· · · ·Q.··And are officers trained that, under no

·5· ·circumstances, will a TASER be used against a subject

·6· ·solely because they're running from an officer?

·7· · · ·A.··That one is kind of difficult, because the

·8· ·solely for running, right, lack of any probable cause,

·9· ·reasonable suspicion, yeah, we wouldn't tase that

10· ·person.

11· · · ·Q.··And then it also says, "The TASER will not be

12· ·used," and you referenced before, it says, "TASERs will

13· ·not be used against a subject who would be in danger of

14· ·falling from a significant height."

15· · · · · · · ·Did I read that correctly?

16· · · ·A.··Yes.

17· · · ·Q.··And is that something that officers are trained

18· ·is an absolute rule?

19· · · · · · · ·MS. RETTS:··Form.

20· · · · · · · ·THE WITNESS:··No.··Go back to how we

21· ·discussed it earlier for the totality of circumstances,

22· ·right.··As a general rule, people that are at

23· ·significant height or have a potential for fall, they

24· ·could do something else that would heighten that level

25· ·of force through the need to use force than would be



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·1· ·counteractive.

·2· · · ·Q.··BY MR. SHOWALTER:··Okay.··So the written

·3· ·training says "The TASER will not be used against a

·4· ·subject who would be in danger of falling from a

·5· ·significant height."··But in the actual training,

·6· ·officers are told that this is not a hard and fast

·7· ·rule, there maybe circumstances where they can do this,

·8· ·correct?

·9· · · · · · · ·MS. RETTS:··Form.

10· · · · · · · ·THE WITNESS:··No.··In the training it's

11· ·said, exactly what I said, is that people who are at a

12· ·falling risk should not be tased.··But in most of our

13· ·training, we explain that, you know, most incidents are

14· ·not black and white, there are other mitigating

15· ·factors.··So as we expect our officers to be able to

16· ·think through problems and identify times when certain

17· ·levels of force should or shouldn't be used.

18· · · ·Q.··BY MR. SHOWALTER:··So then it says TASERs

19· ·should not be used when subjects are near flammable

20· ·liquids and gasses.··Did I read that correctly?

21· · · ·A.··Yes.

22· · · ·Q.··And is it the same thing where officers are

23· ·basically -- so let me strike that.

24· · · · · · · ·Are officers basically told that, yeah, we

25· ·teach you these rules, is the training that we teach



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·1· ·you these rules, but if the circumstances are

·2· ·appropriate, you don't have to follow these rules?

·3· · · · · · · ·MS. RETTS:··Form.

·4· · · · · · · ·THE WITNESS:··No.··Our policy allows for

·5· ·deviation at times when the deviation is needed and

·6· ·it's objectively reasonable and a supervisor is

·7· ·notified, right.··So we're talking Number 4 right here,

·8· ·the subject -- it say "The TASER will not be used for

·9· ·subjects near flammable liquids and gases, right.··And

10· ·then the reason would be with the TASER, the arc of

11· ·electricity could spark and cause someone who's near or

12· ·around flammable gases to catch fire.

13· · · · · · · ·So that would be something you would want

14· ·to avoid as much as possible, if that person were to do

15· ·something to rise to the level of deadly force and that

16· ·was the force option you already had, and you needed to

17· ·deploy force, that could be an option, not the best

18· ·option.··There are other stuff, but, again, training

19· ·officers to think through problems.

20· · · ·Q.··BY MR. SHOWALTER:··So are you talking about

21· ·that portion of Operational Order 1.5, where it talks

22· ·about deviation when we an officer is faced with deadly

23· ·force?

24· · · ·A.··Yes.

25· · · ·Q.··And so when you say that officers -- is



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·1· ·there -- when you say that officers are trained and

·2· ·they can deviate from policy if circumstances require

·3· ·it, other than a subject who poses an immediate threat

·4· ·of death or serious bodily injury, are there any other

·5· ·circumstances that permit deviation from the policies?

·6· · · ·A.··To break it down, right, danger to self,

·7· ·others, if they're exhibiting something that's

·8· ·threatening to themselves, officers or others, then,

·9· ·yes, they can -- but there's a lot of stuff they can

10· ·do -- but if need be, they could deviate, if needed.

11· · · ·Q.··So are officers trained that if a person has

12· ·doused himself with gasoline and is holding a lighter,

13· ·threatening to light himself on fire, that they can use

14· ·a TASER on that person?

15· · · ·A.··No, that's not the best tool for that

16· ·circumstance.

17· · · ·Q.··Because you said to danger to self.··I mean,

18· ·danger to self, under what circumstances does a person

19· ·presenting a danger to themselves permit an officer to

20· ·use deadly force?

21· · · · · · · ·MS. RETTS:··Form; foundation.

22· · · · · · · ·THE WITNESS:··I wouldn't know danger to

23· ·themself, right.··But, again, we're talking TASER, so

24· ·someone flammable, there are other tools, tactics and

25· ·techniques that could be used and are better for the



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·1· ·TASER -- or better than a TASER.

·2· · · ·Q.··BY MR. SHOWALTER:··Are officers trained that

·3· ·they should not use force to prevent something, that

·4· ·using the force will make happen, does that make sense?

·5· · · · · · · ·MS. RETTS:··Form.

·6· · · · · · · ·THE WITNESS:··I don't understand what you

·7· ·mean.

·8· · · ·Q.··BY MR. SHOWALTER:··Well, an example we just

·9· ·gave, a subject has doused himself with gasoline and

10· ·he's sitting in the middle of -- there's nobody near

11· ·him.··He doesn't pose a danger to anybody else, but

12· ·he's threatening to light himself on fire.··If you

13· ·tased him, you have the possibility of actually causing

14· ·that fire to happen, correct?

15· · · ·A.··Correct.

16· · · ·Q.··Are officers trained that that doesn't make --

17· ·not to do things like that?

18· · · ·A.··Yes.

19· · · ·Q.··How does that training occur?

20· · · ·A.··Much like the lesson plan, it breaks down

21· ·different times when the TASER would not be an optimal

22· ·tactic and that's something that we talk about, someone

23· ·that had doused themself in gasoline or flammable

24· ·liquid, the TASER could ignite that liquid and it's not

25· ·the best tool for that situation.



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·1· · · ·Q.··And that's kind of the same thing.··You say you

·2· ·have somebody who's on a bridge threatening suicide or

·3· ·threatening to jump and if you tase them, they might

·4· ·fall and you're just causing the thing you claim you're

·5· ·trying to prevent, right?

·6· · · ·A.··Correct.··For like a suicidal subject, yes.

·7· · · ·Q.··I'm just wondering if -- I mean, both of those

·8· ·things with the TASER would also apply to other things,

·9· ·I suppose, right?··You also wouldn't want to shoot that

10· ·person for various reasons.··I guess what I'm wondering

11· ·is there a general rule for that type of training and

12· ·kind of just general police common sense?

13· · · · · · · ·MS. RETTS:··Form.

14· · · · · · · ·THE WITNESS:··I guess the answer would be,

15· ·yeah.··We want our officers to be independent thinking.

16· ·We teach them policy.··We teach them response options,

17· ·what they can do and the training is to use the least

18· ·amount of force as necessary to effect the detention or

19· ·arrest.

20· · · ·Q.··BY MR. SHOWALTER:··And so that is part of their

21· ·training is least amount of force necessary, correct?

22· · · ·A.··Correct.

23· · · ·Q.··Now, are they trained that if they do not use

24· ·the least amount of force necessary, that they are

25· ·being excessive?



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·1· · · · · · · ·MS. RETTS:··Form; outside the scope.

·2· · · · · · · ·THE WITNESS:··Again, it's situational,

·3· ·dependent on the totality of the circumstances.

·4· · · ·Q.··BY MR. SHOWALTER:··Okay.··Then Number 5 is

·5· ·"Intimidation by reckless display."

·6· · · · · · · ·Did I read that correctly?

·7· · · ·A.··Yes.

·8· · · ·Q.··And just -- we're back at Exhibit 306.

·9· · · · · · · ·Example 6 -- or I'm sorry, Prohibition 6

10· ·is on "Escorting or prodding individuals," correct?

11· · · ·A.··Correct.

12· · · ·Q.··Prohibition 7 is "Waking unconscious or

13· ·intoxicated individuals," correct?

14· · · ·A.··Yep.

15· · · · · · · ·Yes.··I'm sorry.

16· · · · · · · ·MR. SHOWALTER:··I'm sorry, Donna, did I

17· ·just give him Prohibition 7?

18· · · · · · · ·THE COURT REPORTER:··Prohibition 7, yes,

19· ·"Waking unconscious or intoxicated individuals."

20· · · ·Q.··BY MR. SHOWALTER:··Okay.··Prohibition 8 is it

21· ·should not be used on "individuals operating a motor

22· ·vehicle," correct?

23· · · ·A.··Correct.

24· · · ·Q.··And Nine, "Individuals holding a firearm when

25· ·their finger is on the trigger," correct?



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·1· · · ·A.··That is correct.

·2· · · ·Q.··Number 10 is "Handcuffed prisoners

·3· ·resisting/refusing to entering a police vehicle,

·4· ·holding room, or hanging onto railing or other item, et

·5· ·cetera."

·6· · · · · · · ·What is the meaning of that 10th

·7· ·prohibition?

·8· · · ·A.··Basically, someone -- it's kind of going back

·9· ·to the escorting or prodding, "handcuffed prisoners who

10· ·are resisting or refusing to enter a police vehicle,

11· ·holding room or hanging onto railing or other item."

12· · · ·Q.··And so does that mean it shouldn't be used --

13· ·is that just a prohibition on using TASERs against

14· ·handcuffed prisoners?

15· · · · · · · ·MS. RETTS:··Form.

16· · · · · · · ·THE WITNESS:··Not necessarily.

17· · · ·Q.··BY MR. SHOWALTER:··When does Ten apply?

18· · · ·A.··When someone is -- like a handcuffed prisoner

19· ·refusing to get into a car, but not necessarily being a

20· ·threat, causing a danger to self or others, like being

21· ·more of a pain not allowing them to put him in a car, a

22· ·holding cell or grabbing onto a railing, right.

23· ·Grabbing onto a railing isn't necessarily a threat,

24· ·it's just being a pain.··So the TASER would not be a

25· ·tool to use in that situation.



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·1· · · ·Q.··Are City of Phoenix police officers trained

·2· ·that they should not use the TASER against handcuffed

·3· ·prisoners who are held facedown or prone?

·4· · · · · · · ·MS. RETTS:··Form.

·5· · · · · · · ·THE WITNESS:··No.

·6· · · ·Q.··BY MR. SHOWALTER:··And does the City of

·7· ·Phoenix's policy preclude police officers from using a

·8· ·TASER against a prone, handcuffed subject?

·9· · · · · · · ·MS. RETTS:··Form; foundation.

10· · · · · · · ·THE WITNESS:··Not necessarily, no.

11· · · ·Q.··BY MR. SHOWALTER:··When does it violate City of

12· ·Phoenix policy to use a TASER against a prone

13· ·handcuffed subject?

14· · · · · · · ·MS. RETTS:··Form; foundation; outside the

15· ·scope.

16· · · · · · · ·THE WITNESS:··When it's not objectively

17· ·usable and the totality of the circumstances does not

18· ·dictate the need of that tool.··If someone is laying

19· ·still prone and they're not doing anything else, there

20· ·would be no reason to use the TASER.··So, yeah, it

21· ·wouldn't be justified then.

22· · · · · · · ·If they're still displaying active

23· ·aggression, danger to self, others, fighting, right,

24· ·again, the totality of the circumstances, then it's up

25· ·to that officer to articulate and decide what level of



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·1· ·force and what force options he uses.

·2· · · ·Q.··What if they are handcuffed, facedown, their

·3· ·legs are being controlled, their legs are in RIPP

·4· ·restraints and they've got five, six or seven officers

·5· ·holding them down, in that circumstance, is it

·6· ·appropriate to tase a subject?

·7· · · · · · · ·MS. RETTS:··Form; foundation; outside the

·8· ·scope.

·9· · · · · · · ·THE WITNESS:··I would imagine if there's

10· ·four or five or six officers holding a subject down,

11· ·that would tell me they're probably still fighting,

12· ·kicking and making it difficult and they're not

13· ·restrained.

14· · · ·Q.··BY MR. SHOWALTER:··So that would not be

15· ·prohibited under the City of Phoenix policy, to tase

16· ·somebody in that circumstance?

17· · · · · · · ·MS. RETTS:··Form; foundation; outside the

18· ·scope.

19· · · · · · · ·THE WITNESS:··It's situational dependent,

20· ·right.··There's nothing that prohibits the use of the

21· ·TASER when there's signs of active aggression or higher

22· ·or they do to self others [sic].··As a general rule, if

23· ·a subject is handcuffed, we don't use the TASER.··But

24· ·like we've covered numerous times, in the totality of

25· ·the circumstances, the mitigating factors will decide



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·1· ·whether or not that level is appropriate or not.

·2· · · ·Q.··BY MR. SHOWALTER:··So as general rule, officers

·3· ·are trained that they can't use a TASER on a handcuffed

·4· ·subject unless they decide under the totality of the

·5· ·circumstances it's reasonable; is that correct?

·6· · · · · · · ·MS. RETTS:··Form.

·7· · · · · · · ·THE WITNESS:··Yes.··That's based on the

·8· ·subject's levels of resistance.

·9· · · ·Q.··BY MR. SHOWALTER:··Are there any absolute rules

10· ·about use of force that the City of Phoenix trains its

11· ·officers?

12· · · · · · · ·MS. RETTS:··Form.

13· · · · · · · ·THE WITNESS:··Such as.

14· · · ·Q.··BY MR. SHOWALTER:··Are there any absolute

15· ·rules?

16· · · ·A.··Yeah.··I mean, for instance, you can't use the

17· ·TASER unless the subject is displaying active

18· ·aggression, a danger to himself or another, right.

19· ·Outside of those circumstances, you can't use the

20· ·TASER.

21· · · ·Q.··But that's not an absolute rule, because it

22· ·allows for an exception based on discretion of the

23· ·officer, correct?

24· · · · · · · ·MS. RETTS:··Form.

25· · · · · · · ·THE WITNESS:··Correct.



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·1· · · ·Q.··BY MR. SHOWALTER:··And isn't that the way of

·2· ·all of the City's rules about uses of force work is

·3· ·that they present a rule.··But then officers are

·4· ·trained if need be, they can deviate from that rule,

·5· ·correct?

·6· · · · · · · ·MS. RETTS:··Form.

·7· · · · · · · ·THE WITNESS:··That is correct.··Because

·8· ·the world and people do unexpected things and this job,

·9· ·this profession is incredibly difficult.··It's very

10· ·difficult to place in it a box and make absolute rules

11· ·that this will never be done or to never do that

12· ·because people do unexpected things that require people

13· ·to think and react.··And more often than not, in very

14· ·short time frames.

15· · · ·Q.··BY MR. SHOWALTER:··So under certain

16· ·circumstances, it would be within policy for City of

17· ·Phoenix police officers to hogtie a subject if they

18· ·reasonably believed that doing so was necessary,

19· ·correct?

20· · · · · · · ·MS. RETTS:··Form.

21· · · · · · · ·THE WITNESS:··Based on our training and

22· ·lesson plans, hogtying is prohibited, right.··But if

23· ·hypothetically they're in a deadly force encounter and

24· ·that person is still a risk to significant serious

25· ·injury, physical or death to another person, and that's



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·1· · · ·Q.··So what about this one, excited delirium?

·2· · · ·A.··This is one that I would have reviewed.··It

·3· ·would have pertained to Phoenix police officers.

·4· · · ·Q.··And this one relates to prone restraint,

·5· ·correct?

·6· · · ·A.··Correct.

·7· · · ·Q.··The reason I was closing out of all those

·8· ·windows, because it was kind of like you were trying to

·9· ·kind of keep up with me as I was doing that.··I've just

10· ·got too many windows open, I'm trying to man -- you

11· ·know, we've got lot of exhibits.··But I can't even see

12· ·things at a certain point.

13· · · · · ·(Whereupon, Deposition Exhibit Number 165 was

14· ·marked for identification.)

15· · · ·Q.··BY MR. SHOWALTER:··So this is Exhibit 165.

16· ·It's Phoenix Police Department Training Materials,

17· ·Number 09367 Excited Delirium.

18· · · · · · · ·Are you familiar with this document?

19· · · ·A.··I believe this is one that I reviewed.

20· · · ·Q.··Okay.··And is this a course that you took as a

21· ·Phoenix police officer, training you received?

22· · · ·A.··I couldn't tell you if this one specifically.

23· ·Through the years, there's been numerous different

24· ·lesson plans and training.··I have received training on

25· ·excited delirium, yes.



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·1· · · ·Q.··Is training on excited delirium mandatory for

·2· ·all patrol officers at the City of Phoenix?

·3· · · ·A.··At some point, I'm sure all officers have gone

·4· ·through, whether the academy or through advanced

·5· ·officer training.··We don't do it every year.

·6· · · ·Q.··Okay.··And so I want to go to Number 316, which

·7· ·is this AZ POST training on in-custody death.

·8· · · · · · · ·Is this a training that you have received?

·9· · · ·A.··This specific one?

10· · · ·Q.··Yes.

11· · · ·A.··I don't believe so.··This is from 2014 and I

12· ·was a recruit in 2003.··This is -- if I'm looking at

13· ·this correctly, this would be a police recruit class.

14· · · ·Q.··Okay.··Is excited delirium a term that the City

15· ·of Phoenix uses in its trainings

16· · · ·A.··I believe so, yes.

17· · · ·Q.··In looking at this AZ POST lesson plan, there

18· ·is reference to something called sudden in-custody

19· ·death syndrome.

20· · · · · · · ·Do you see that?

21· · · ·A.··Yes.

22· · · ·Q.··Is that a term that the City of Phoenix uses in

23· ·its training?

24· · · ·A.··Not necessarily.

25· · · ·Q.··What do you mean by not necessarily?



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·1· · · ·A.··I've seen it in lesson plans that we've used in

·2· ·the past.··We don't necessarily use it in training

·3· ·right now.

·4· · · ·Q.··And when you say "in the past," you mean at

·5· ·some point since 2003?

·6· · · ·A.··Yes.··And in reviewing some of the lesson

·7· ·plans, I've seen it as well.

·8· · · ·Q.··Just so I can understand it, would this 2014

·9· ·lesson plan, AZ POST lesson plan on managing in-custody

10· ·death be something that applied to City of Phoenix

11· ·officers?

12· · · · · · · ·MS. RETTS:··Form.

13· · · · · · · ·THE WITNESS:··It would have been

14· ·instruction that police recruits received.

15· · · ·Q.··BY MR. SHOWALTER:··And so if they received this

16· ·AZ POST training, as a general matter, are they

17· ·required to comply with their AZ POST training unless

18· ·they receive some contrary training at the City of

19· ·Phoenix or there's a contrary policy at the City of

20· ·Phoenix?

21· · · ·A.··It would be expected to comply with the

22· ·training they received, whether it was POST or Phoenix.

23· · · ·Q.··And is AZ POST considered to be the standard

24· ·for peace officers in Arizona?

25· · · ·A.··They set the standard for training in Arizona,



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·1· · · · · · · ·THE WITNESS:··Correct.

·2· · · ·Q.··BY MR. SHOWALTER:··With the proviso that there

·3· ·may be other discussion of excited delirium in

·4· ·reference to other policies, trainings, or tactics,

·5· ·correct?

·6· · · ·A.··Yes.

·7· · · ·Q.··And, let's see, reviewing this -- for some

·8· ·reason, it suddenly turned sideways on me.

·9· · · · · · · ·So looking at the third page of excited

10· ·delirium, you know, it says "Excited Delirium Draft" on

11· ·that page and on some of the other, but ultimately it's

12· ·signed, correct?

13· · · ·A.··Correct.

14· · · ·Q.··So this was a training, even though it says the

15· ·draft, correct?

16· · · ·A.··Yes.

17· · · ·Q.··And in the introduction of the outline on the

18· ·training, it gives an overview of the performance

19· ·objectives.··And the first is to list some signs and

20· ·symptoms of excited delirium.··The second is to

21· ·identify appropriate measures and tactics used to

22· ·contain and control individuals displaying excited

23· ·delirium.··And the third is to recognize excited

24· ·delirium as a medical emergency which requires fire

25· ·department response.



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·1· · · · · · · ·Did I read that correctly?

·2· · · ·A.··Yes.

·3· · · ·Q.··And is that how officers at the City of Phoenix

·4· ·are trained regarding excited delirium?

·5· · · ·A.··Yes.

·6· · · ·Q.··They are trained that it is a medical emergency

·7· ·that requires a fire department response, correct?

·8· · · ·A.··Correct.

·9· · · ·Q.··In the right-hand margin, when you get down a

10· ·little bit, there's a reference Di Maio & Di Maio 2006.

11· ·Are you familiar with those authors or their book,

12· ·which is referenced on the first page?

13· · · ·A.··I am not.

14· · · ·Q.··The book itself is called "Excited Delirium

15· ·Syndrome" by Di Maio & Di Maio.··So you're not familiar

16· ·with that book?

17· · · ·A.··I'm not.

18· · · ·Q.··Okay.··And that book itself is not a part of

19· ·the training, correct?

20· · · ·A.··Correct.

21· · · ·Q.··It's just a source or reference cited in the

22· ·training?

23· · · ·A.··That is correct.

24· · · ·Q.··And there is a history of excited delirium

25· ·given.··Do you have an understanding of why it's



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·1· ·it's trained at the City of Phoenix is that it is not a

·2· ·situation where somebody's heart is exploding

·3· ·literally, correct?

·4· · · ·A.··Correct, not physically literally exploding.

·5· ·no, correct.

·6· · · ·Q.··And the City of Phoenix police officers are

·7· ·trained that excited delirium is a medical emergency

·8· ·that if fire personnel are called out for death can be

·9· ·prevented, correct?

10· · · ·A.··No, that's not correct.··I don't know if death

11· ·can be prevented.··It's something that we are trained

12· ·to get medical or fire as quickly as possible, it can

13· ·help it.

14· · · ·Q.··Are City of Phoenix officers trained that if a

15· ·subject is showing symptoms of excited delirium or is

16· ·in a state of excited delirium, that death is

17· ·inevitable?

18· · · · · · · ·MS. RETTS:··Form.

19· · · · · · · ·THE WITNESS:··No.

20· · · ·Q.··BY MR. SHOWALTER:··Are City of Phoenix officers

21· ·trained that when a subject is displaying signs or

22· ·symptoms of excited delirium, that death may happen

23· ·regardless of what police officers do?

24· · · · · · · ·MS. RETTS:··Form.

25· · · · · · · ·THE WITNESS:··Officers are trained that if



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·1· ·they're dealing with someone who is showing signs or a

·2· ·lot of symptoms of excited delirium, they need to

·3· ·detain with legal authority, if they have legal

·4· ·authority, to detain as quickly as possible and get

·5· ·medical assistance.

·6· · · ·Q.··BY MR. SHOWALTER:··And the signs and symptoms

·7· ·of excited delirium, given in this training, are, one,

·8· ·violent or aggressive behavior; two, running or running

·9· ·wildly about; three, shouting or incoherent babbling;

10· ·four, destructive behavior, attacking glass or shiny

11· ·objects; five, profuse sweating; six, unusual or

12· ·seemingly incredible strength; seven, no appreciable

13· ·response to pain compliance techniques; eight, refusal

14· ·to comply with commands; nine, may continue to fight

15· ·even after restrained; ten, naked, wearing only

16· ·underwear or disrobing; eleven, history of recent or

17· ·chronic drug and/or alcohol use, abuse, prior psych

18· ·history."

19· · · · · · · ·Did I read all of that correctly?

20· · · ·A.··You did, yes.

21· · · ·Q.··And is that what the City of Phoenix's training

22· ·on excited delirium or the signs and symptoms of

23· ·excited delirium are between 2009 and February of 2019?

24· · · ·A.··Yes.

25· · · ·Q.··And then at B it says, "May be followed by a



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·1· ·delirium even if they've already been handcuffed and

·2· ·are already being restrained?

·3· · · · · · · ·MS. RETTS:··Foundation.

·4· · · · · · · ·THE WITNESS:··No.··It's just saying it's a

·5· ·tool to be used to help detain subjects.

·6· · · ·Q.··BY MR. SHOWALTER:··And so under tactical

·7· ·response, it says the "Primary officer should attempt

·8· ·to safely restrict the individual's movement.··Observe

·9· ·the individual's behavior and physical characteristics

10· ·to determine if the subject is more likely than not in

11· ·a state of excited delirium; and request fire to

12· ·respond, advise radio of possible excited delirium and,

13· ·if feasible, advise radio of the individual's physical

14· ·characteristics and actions."

15· · · · · · · ·Did I read that correctly?

16· · · ·A.··Yes.

17· · · ·Q.··And so once an officer identifies symptoms or

18· ·signs of excited delirium, they should notify fire that

19· ·they are dealing with a subject who may be in a state

20· ·of excited delirium; is that correct?

21· · · ·A.··That is correct.··We attempt to get fire there

22· ·as soon as possible.

23· · · ·Q.··And then there's another discussion of the use

24· ·of the TASER.··And it says, "The TASER in probe mode is

25· ·suggested tool in these situations due to its



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·1· ·incapacitating effect when combined with adequate back

·2· ·up and lethal coverage."

·3· · · · · · · ·And then it says, below that, "An

·4· ·effective deployment will fully incapacitate the

·5· ·individual for five seconds; officers should move in to

·6· ·control the individual while he/she is incapacitated."

·7· · · · · · · ·Did I read that correctly?

·8· · · ·A.··Yes.

·9· · · ·Q.··And so that is for taking the individual into

10· ·custody, correct?

11· · · ·A.··Correct.

12· · · ·Q.··Once they're handcuffed or once they're in

13· ·custody, unless the scene is otherwise secured, request

14· ·fire respond to the scene, correct?

15· · · ·A.··Correct.

16· · · ·Q.··And then it says, "To the extent feasible, keep

17· ·the individual in a safe position, location,

18· ·handcuffed, sitting upright or lying on their side."

19· · · · · · · ·What does that mean?

20· · · ·A.··If it's feasible, if it's safe, get the person

21· ·into a recovery position.

22· · · ·Q.··Either sitting or lying on their side?

23· · · ·A.··Correct.

24· · · ·Q.··And then it says, "Talk to the individual and

25· ·gauge their level of consciousness," correct?



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·1· ·to take them into custody.··It's a control hold to keep

·2· ·subjects from rolling into you or further attack while

·3· ·we're trying to take them into custody.

·4· · · ·Q.··What if the subject has already been

·5· ·handcuffed, is there a training that the City of

·6· ·Phoenix uses about putting knees on the back, shoulders

·7· ·or neck?

·8· · · · · · · ·MS. RETTS:··Form.

·9· · · · · · · ·THE WITNESS:··Not necessarily.··But,

10· ·again, it's about control.··If there's a subject still

11· ·fighting, biting, kicking, that kind of stuff, you're

12· ·trying to stop that act of aggression, then there is a

13· ·control technique.

14· · · ·Q.··BY MR. SHOWALTER:··Other than the carotid hold

15· ·technique, is there any training at the City of Phoenix

16· ·that authorizes the use of force against a subject's

17· ·neck?

18· · · · · · · ·MS. RETTS:··Form.

19· · · · · · · ·THE WITNESS:··Yes, the carotid control

20· ·technique which was allowed in 2019.··It's no longer

21· ·allowed now.··But there's a lot of pressure points,

22· ·pain compliance, nerve endings that are in the

23· ·subject's neck, below the ear, down to the traps,

24· ·brachial plexus along the side of the neck.

25· · · ·Q.··BY MR. SHOWALTER:··Are officers trained that



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·1· ·they should not strike individuals in the throat?

·2· · · ·A.··Yes.

·3· · · ·Q.··Are officers trained that they should not

·4· ·target the throat?

·5· · · ·A.··Yes.

·6· · · ·Q.··Why is that?

·7· · · ·A.··As discussed earlier, with the use of the

·8· ·carotid, there's bones and nerves and a lot of

·9· ·important bodily parts that could get damaged, if you

10· ·strike someone in the throat.

11· · · ·Q.··Now, if an officer is in extreme circumstances

12· ·and they find that the only thing they can do to save

13· ·themselves is to strike a suspect in the throat, that

14· ·would be authorized under the policy that we talked

15· ·about earlier, which says if you're facing a deadly

16· ·threat, you can diverge from these policies, correct?

17· · · · · · · ·MS. RETTS:··Form; foundation; outside the

18· ·scope.

19· · · · · · · ·THE WITNESS:··I guess.··In my opinion, it

20· ·wouldn't be the best tactic to use.··However, fighting,

21· ·struggling with people is dynamic and there's a lot of

22· ·different techniques that could be used where people

23· ·move.··In a dynamic environment where someone could be

24· ·potentially trying to put pressure on the brachial

25· ·plexus and the subject rolls and they end up getting a



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·1· ·thumb to the their throat.··You try to strike them in

·2· ·the face and their head moves, there's a lot of

·3· ·mitigating factors to that.

·4· · · ·Q.··BY MR. SHOWALTER:··And if an officer did that,

·5· ·and struck a subject in the throat, you would expect

·6· ·that would be something that they would report to

·7· ·medical responders at the scene, hey, I accidentally

·8· ·struck this guy in the throat and I think he may have

·9· ·an injury?

10· · · · · · · ·MS. RETTS:··Form; foundation; outside the

11· ·scope.

12· · · · · · · ·THE WITNESS:··Yeah, they would be expected

13· ·to notify medical and your supervisor.

14· · · ·Q.··BY MR. SHOWALTER:··So you were talking about

15· ·the use of the knee in the back in order to extend a

16· ·subject's arm for handcuffing.··Do you recall that?

17· · · ·A.··Yeah.

18· · · ·Q.··Is it unreasonable under a City of Phoenix

19· ·policy and training, for an officer to continue to

20· ·place a knee on a subject's back after they've already

21· ·been handcuffed?

22· · · · · · · ·MS. RETTS:··Form; foundation; outside the

23· ·scope.

24· · · · · · · ·THE WITNESS:··It depends on what's going

25· ·on.



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·1· · · ·Q.··BY MR. SHOWALTER:··What if the subject is not

·2· ·moving, would it be unreasonable then?

·3· · · · · · · ·MS. RETTS:··Form; foundation; outside the

·4· ·scope.

·5· · · · · · · ·THE WITNESS:··If they're not moving,

·6· ·right, they're no longer fighting, resisting, any of

·7· ·that, and they can safely remove their knee, then,

·8· ·yeah, the expectation that they would move their knee

·9· ·would be there.

10· · · ·Q.··BY MR. SHOWALTER:··And so that would be

11· ·outside -- leaving a knee on the back of a subject

12· ·who's handcuffed and not moving or resisting would be

13· ·contrary to City of Phoenix policy and training,

14· ·correct?

15· · · · · · · ·MS. RETTS:··Form; foundation; outside the

16· ·scope.

17· · · · · · · ·THE WITNESS:··The expectation is they

18· ·would move the knees, correct.

19· · · ·Q.··BY MR. SHOWALTER:··And if you have a subject

20· ·who's been handcuffed and is being held down by

21· ·multiple officers and is not resisting or fighting back

22· ·or moving, it would be contrary to City of Phoenix

23· ·policies and training to tase that subject, correct?

24· · · · · · · ·MS. RETTS:··Form and foundation; outside

25· ·the scope.



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·1· · · · · · · ·THE WITNESS:··If there's multiple people

·2· ·holding a subject down, I would find it difficult to

·3· ·say that they were no longer moving.··But they would

·4· ·still have to be able to articulate justified use of

·5· ·that force option and that tool.

·6· · · ·Q.··BY MR. SHOWALTER:··And so I'm not clear that

·7· ·that's responsive to my question, so let me ask it

·8· ·again slightly different.

·9· · · · · · · ·A subject -- let me just ask you for a

10· ·scenario.

11· · · · · · · ·A subject can be resisting and officers

12· ·can respond to that resistance by holding the subject

13· ·down, correct?

14· · · ·A.··Correct.

15· · · ·Q.··And they may continue to hold that subject down

16· ·even after they've stopped resisting, correct?

17· · · ·A.··If the person has stopped resisting and there's

18· ·no longer a need to do that, the expectation would be

19· ·that they would no longer put pressure, right.

20· · · ·Q.··Sure.··But that's not an instantaneous thing

21· ·that happens in real life, is it?

22· · · ·A.··Correct.

23· · · ·Q.··So a subject may be resisting, officers may

24· ·hold them down, they may continue to resist and then

25· ·stop resisting, correct?



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·1· · · ·A.··I guess that could happen, yeah.

·2· · · ·Q.··And officers may in that situation reasonably

·3· ·continue to restrain them for some period of time after

·4· ·they first sensed that the person has stopped

·5· ·resisting, because they want to make sure that that

·6· ·resistance stays stopped, right?

·7· · · ·A.··Correct.

·8· · · · · · · ·MS. RETTS:··Form.

·9· · · ·Q.··BY MR. SHOWALTER:··And so there are certainly

10· ·circumstances in which officers could be holding down a

11· ·person, who's not resisting at that moment, correct?

12· · · · · · · ·MS. RETTS:··Form; foundation.

13· · · · · · · ·THE WITNESS:··Yeah.··I mean, if we're

14· ·talking minute time periods, yeah.

15· · · ·Q.··BY MR. SHOWALTER:··And even if a person is

16· ·resisting, if they're being held down and effectively

17· ·controlled by other officers, then it would be

18· ·unreasonable and unnecessary to tase that person,

19· ·correct?

20· · · · · · · ·MS. RETTS:··Form; foundation; outside the

21· ·scope.

22· · · · · · · ·THE WITNESS:··It's not necessarily a yes

23· ·or no answer, right.··If multiple officers are holding

24· ·someone down, I find it odd -- it would be hard for me

25· ·to say they're no longer resisting, right.··So if



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·1· ·scope.

·2· · · · · · · ·THE WITNESS:··If he is still fighting,

·3· ·struggling, kicking, biting, that could be an

·4· ·appropriate tool to use.··If he's not doing anything

·5· ·whatsoever, it would probably be inappropriate.

·6· · · ·Q.··BY MR. SHOWALTER:··And my question was whether

·7· ·it was allowed under policy and training or within

·8· ·policy and training.··When you say appropriate or

·9· ·inappropriate, is that what you mean?

10· · · ·A.··Yeah.

11· · · ·Q.··Okay.

12· · · ·A.··Within our training standards, the scope of

13· ·training, yes.

14· · · ·Q.··Okay.··I want to ask -- I'm almost done.··I

15· ·thought I would be done sooner.

16· · · · · · · ·I just want to ask you about -- so Item

17· ·11, "The City of Phoenix Police Department's knowledge,

18· ·training, policies, customs and practices regarding use

19· ·of force reporting since 2009."

20· · · · · · · ·What is the policy about use of force

21· ·reporting at the City of Phoenix?

22· · · · · · · ·Or where is it found?

23· · · ·A.··How do you mean, reporting?

24· · · ·Q.··Yes.

25· · · ·A.··It's in a few different places, 1.5 and



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·1· ·Section 4 where they talk about notifying supervisors

·2· ·and documenting through use of force reports.

·3· · · ·Q.··Okay.··Beyond documenting in that fashion, does

·4· ·the City of Phoenix have any policies on collecting and

·5· ·aggregating use of force information or use of force

·6· ·reports?

·7· · · · · · · ·MS. RETTS:··Form; foundation.

·8· · · · · · · ·THE WITNESS:··Are you talking like you see

·9· ·our information to notify FBI for our own internal

10· ·investigations?··What are you referring to?

11· · · ·Q.··BY MR. SHOWALTER:··In any -- for City of

12· ·Phoenix's own purposes, does the City of Phoenix gather

13· ·all use of force reports for any kind of review and

14· ·analysis?

15· · · ·A.··Yes.

16· · · ·Q.··What is that, that it does with that?

17· · · ·A.··Well, when an officer applies force above a

18· ·certain level, we used to refer to it as Level 30 or

19· ·anything above, handcuffs or restraint, joint locks,

20· ·pressure points, it goes to another level, what used to

21· ·be called use of force report where a supervisor would

22· ·fill that out and send it through the chain to the

23· ·lieutenant commander.··And then depending on the level

24· ·of force, it would also be reviewed and investigated

25· ·by our professional standards bureau.



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·1· · · · · · · · · · · · ·EXAMINATION

·2· ·BY MS. RETTS:

·3· · · ·Q.··Sergeant, today you gave testimony about

·4· ·formalized training that's given through the

·5· ·department.··But in terms of an officer who goes

·6· ·through the academy, the City of Phoenix training, is

·7· ·there on-the-job training that also occurs?

·8· · · ·A.··Yes.··There's training received in the basic

·9· ·curriculum at the academy.··Once graduating the

10· ·academy, they go through a field training program where

11· ·they have -- you work from 12, upwards of 18 weeks

12· ·riding with a field training officer and then they also

13· ·attend advanced officer training yearly.

14· · · ·Q.··And during that period of time, when they have

15· ·their process of going through the field training, they

16· ·have someone who is evaluating them and giving them

17· ·feedback on any force they might have to use?

18· · · ·A.··Correct.··They have a field training officer

19· ·ride with them at all times, until the end of their

20· ·training, until the last two weeks.··And they're also

21· ·working around other field training officers and field

22· ·training sergeants that are kind of keeping an eye out

23· ·on their training.

24· · · ·Q.··Is it a part of the responsibility of those

25· ·field training officers and sergeants when a recruit --



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·1· ·when a new officer encounters situations with the

·2· ·public or encounters a suspect that after those,

·3· ·there's a debrief and there's a discussion about force

·4· ·that could be used, might be used, other situations

·5· ·could be resolved differently?

·6· · · ·A.··Yes.··After -- usually after every single

·7· ·incident, each incident is broken down and discussed

·8· ·better ways, other ways to handle it, different

·9· ·techniques, tactics that can be used.

10· · · ·Q.··And those are situations where you would expect

11· ·a field training officer to give feedback about

12· ·specific instances and what were appropriate for and/or

13· ·inappropriate for?

14· · · ·A.··Yes.

15· · · ·Q.··In addition to that, as officers get on shift,

16· ·are there usually briefings before they start?

17· · · ·A.··They are.

18· · · ·Q.··And what happens during a briefing?

19· · · ·A.··During briefings the supervisor should go

20· ·over -- so we expect our supervisors to train, talk

21· ·about different expectations, tactics, trainings,

22· ·everything like that.··And they also go over -- we used

23· ·to call it the briefing book, but now it's the duty

24· ·report, incidents that have happened throughout the

25· ·city, of note.··And as well any crime watches, specific



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·1· ·activities to their beat, their area.

·2· · · ·Q.··And those are situations where a sergeant,

·3· ·commander, lieutenant would talk to the officers coming

·4· ·on shift about incidents that happened and about

·5· ·tactics that were or were not appropriate?

·6· · · ·A.··Correct.

·7· · · ·Q.··And those are constant things that are

·8· ·happening on a day-to-day basis, correct?

·9· · · ·A.··Yes.··And we also do what we refer to as

10· ·organized briefing training, in addition to our

11· ·learning platform where we have constant new material

12· ·going out for officers to keep their training current

13· ·and updated.

14· · · ·Q.··When you were asked a bunch of questions about

15· ·whether officers are trained about what is, quote,

16· ·excessive force.··Do you remember those questions?

17· · · ·A.··Yes.

18· · · ·Q.··Now, the training given from the City of

19· ·Phoenix, does it focus on what is an appropriate versus

20· ·inappropriate tactic?

21· · · ·A.··The department focuses on what would be

22· ·appropriate.··I don't necessarily want to highlight bad

23· ·behavior or wrong behavior.··You want to highlight what

24· ·is expected and the correct process, the correct force

25· ·and you get repetitions in that and build repetitions.



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·1· · · ·Q.··So there's a concept in defensive tactics

·2· ·training, any type of use of force that's muscle

·3· ·memory, are you familiar with that?

·4· · · ·A.··Yes.

·5· · · ·Q.··What is that concept?

·6· · · ·A.··So muscle memory, it's not necessarily muscles

·7· ·have memory.··But under stress, human nature will

·8· ·revert to what they normally do.··So we try to get

·9· ·proper repetitions, repeatedly over and over and over,

10· ·so under stress the reaction will be what is trained

11· ·rather than what is untrained.··For instance, in our

12· ·policing world, one of the things that I bring up,

13· ·officers who keep their phone on their belt and

14· ·constantly answer their phone.··Under stress, we've

15· ·incidents nationwide where officers have grabbed there

16· ·phone instead of a gun or another tool that would be

17· ·appropriate.··So we really try to focus on the

18· ·appropriate response and multiple repetitions.

19· · · · · · · ·So under stress, they refer back to their

20· ·training.

21· · · ·Q.··For example, in a situation of applying a RIPP

22· ·restraint, you want to teach that and have them

23· ·demonstrate and do that in the appropriate way, not

24· ·teach them how to inappropriately apply that, such as

25· ·actually having them apply a hogtie?



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·1· · · ·A.··Correct.··We don't want to teach them how to

·2· ·apply it inappropriately.

·3· · · ·Q.··We don't want them, for example, in the heat of

·4· ·a moment not remember what the correct technique was

·5· ·and do the wrong one, correct?

·6· · · ·A.··Correct.

·7· · · ·Q.··Now, as you go through that training, such as

·8· ·the RIPP restraint uses an audible description and

·9· ·shows how the RIPP restraint should not be applied.

10· ·For example, to shorten it, that you cannot shorten it?

11· · · ·A.··Correct.··We show wrapping it around the feet,

12· ·we shorten it.··And we show wrapping around the

13· ·handcuffs multiple times shortened.··And then we show

14· ·pulling it all the way back to the feet and explain

15· ·those are incorrect.··And then we show them the correct

16· ·way again and then have them demonstrate, acknowledge

17· ·the correct application.

18· · · ·Q.··So that would be another instance where when

19· ·you're giving that training, you're not saying, this

20· ·is, quote, excessive force.··You're saying this is

21· ·inappropriate, you don't do that?

22· · · ·A.··Correct.

23· · · ·Q.··Now we talked about TASER training, some of the

24· ·general rules that apply to TASER restrictions.

25· ·Officers are trained generally not to tase someone from



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·1· ·a height, correct?

·2· · · ·A.··Correct.

·3· · · ·Q.··Would that be another instance where we're

·4· ·talking about -- we're not using the terminology of

·5· ·excessive force, for the reason that we talk about not

·6· ·tasing someone from a height is because it could be an

·7· ·unreasonable force?

·8· · · ·A.··Correct.··It's not necessarily excessive.··In

·9· ·this instance, the way that the TASER works, it can

10· ·incapacitate someone from being able to stop their fall

11· ·and they could fall on their head, hurt their neck,

12· ·that sort of thing.··So we don't teach them to do it

13· ·wrong, we try to explain to do it right and the reasons

14· ·why to do it right.

15· · · ·Q.··Now, we went through some hypothetical

16· ·scenarios in your testimony about TASERs and one of

17· ·them was, for example, a person who might be doused in

18· ·a flammable liquid and he has a lighter, that as a

19· ·general rule you would not want to tase that person,

20· ·correct?

21· · · ·A.··That is correct.

22· · · ·Q.··Now we also went through the policy that talked

23· ·about in certain circumstances where there may be a

24· ·deadly force scenario with danger to a third person

25· ·that there might be, as an exception, a deviation,



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·1· ·correct?

·2· · · ·A.··Correct.

·3· · · ·Q.··So, for example, let's say that person doused

·4· ·in flammable liquid with a lighter is at a gas station

·5· ·and walks to the gas pumps where there are ten people

·6· ·standing there.··Is that the type of situation where

·7· ·use of the TASER may, depending upon the totality of

·8· ·the circumstances, be appropriate?

·9· · · ·A.··Yes, that would be a deadly force encounter

10· ·that could be a deadly force option.

11· · · ·Q.··Officers also go through firearms training

12· ·that's called decision making analysis or it's been

13· ·called FAAC and it's been called MILO.··Are you

14· ·familiar with that?

15· · · ·A.··Yes.

16· · · ·Q.··And those are basically training scenarios

17· ·where the officer is in a video and a red gun and they

18· ·have to make the decision on whether the circumstances

19· ·justify using deadly force or not using deadly force,

20· ·correct?

21· · · ·A.··Correct.··Our department uses two different

22· ·virtual trainers, the TI system and the Virtual Trainer

23· ·where they're predominantly used for lethal force,

24· ·shoot, don't shoot scenarios, decision making.··But

25· ·we've also encountered other scenarios that did include



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·1· ·use force or not, i.e., such as the TASER or OC spray,

·2· ·that kind of stuff.··But it's all decision making.

·3· · · ·Q.··And that process allows you to do evaluation of

·4· ·officers to make sure that they're, as you talked about

·5· ·earlier, having good decision making using the

·6· ·framework of totality of the circumstances?

·7· · · ·A.··Exactly.

·8· · · ·Q.··And if someone doesn't pass that, they have to

·9· ·go through and retake it, correct?

10· · · ·A.··They receive remedial training and then they go

11· ·through another pass/fail scenario or set of scenarios

12· ·as their assessment.

13· · · ·Q.··In addition to Policy 1.5, the response options

14· ·for force situations, the City also has Policy 7.1 for

15· ·handcuffing prisoners, correct?

16· · · ·A.··Correct.

17· · · ·Q.··And in that policy, officers are specifically

18· ·told that there is a risk of injury or death by

19· ·position asphyxia when a suspect is kept facedown for a

20· ·prolonged period of time, correct?

21· · · ·A.··That is correct.

22· · · ·Q.··And the training, in terms of prone placement,

23· ·he's not calling it deadly or non-deadly force, but

24· ·making officers aware that there could be a risk of

25· ·physical harm by that being facedown?



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·1· · · ·A.··Correct.

·2· · · ·Q.··And officers are trained.··And it's reiterated

·3· ·in the policy, to minimize the time they're facedown,

·4· ·correct?

·5· · · ·A.··Yes.

·6· · · ·Q.··And they trained when feasible, to roll a

·7· ·person over into the recovery position on their side or

·8· ·sit them up, correct?

·9· · · ·A.··Correct.

10· · · ·Q.··Officers are trained that the preferred target

11· ·for the TASER is the back, correct?

12· · · ·A.··That is the primary target area, yes.

13· · · ·Q.··And is part of that reason to minimize the

14· ·potential of exposure to the chest?

15· · · ·A.··Yes.··We have a term, we call it dart to heart,

16· ·where we try to avoid darts near the heart.··The back

17· ·being the primary target area for that reason and it is

18· ·a large muscle area that gets the most effect from that

19· ·tool.

20· · · ·Q.··If a TASER is deployed and the probes don't

21· ·spread a certain distance, what is the potential effect

22· ·of that?

23· · · · · · · ·MR. SHOWALTER:··Form; foundation.

24· · · · · · · ·THE WITNESS:··So the potential of that is

25· ·when you're in compliance, the TASER, the way the



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EXHIBIT 30
                                                                                                 Operations Order
USE OF FORCE
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PHOENIX POLICE DEPARTMENT                                                     Rev. 06/16             PAGE 1

1.   GENERAL INFORMATION

     A.   Sanctity of Life – The Department respects the dignity of all persons and recognizes the
          sanctity of human life, rights, and liberty.

     B.   The policies of the Department are set forth as follows:

          •    Physical force
          •    Non-deadly force
          •    Deadly force

               ∗    Officers are trained to utilize deadly force only as a last resort when other measures
                    are not practical under the existing circumstances.

          •    Lethal weapons and equipment

     C.   Sworn employees and affected civilian employees will be trained and instructed in these policies
          before employing any of the weapons, tactics, or techniques.

     D.   Only Department-issued or approved weapons, equipment, and chemical agents will be
          authorized.

2.   DEFINITIONS

     A.   Reasonable   •    When the facts and circumstances cause a reasonable and prudent law enforcement
          Belief            officer to act or think in a similar way under the circumstances
     B.   Non-Deadly   •    Is a tactic when properly applied has minimal or no risk of causing death
          Force
     C.   Deadly       •    Any tactic or use of force that creates a substantial risk of causing death or serious
          Force             physical injury, such as the use of a firearm
     D.   Serious      •    A bodily injury that creates a reasonable risk of death, causes serious and permanent
          Physical          disfigurement, or results in long term loss or impairment of the functioning of any bodily
          Injury            member or organ
     E.   Excessive    •    The application of an unreasonable amount of force in a given incident based on the
          Force             totality of the circumstances
     F.   Types of     •    Psychological Intimidation - Non-verbal cues indicating subject’s unwillingness or
          Resistance        threats through attitude, appearance, and physical readiness
                       •    Verbal Non-Compliance - Verbal responses indicating unwillingness or threats
                       •    Passive Resistance - Physical actions that do not prevent an officer’s attempt to
                            control
                       •    Defensive Resistance - Physical actions that attempt to prevent an officer’s control,
                            but does not involve attempts to harm the officer

                            ∗   Based on this definition, solely running from officers does not constitute defensive
                                resistance

                       •   Active Aggression - Physical actions of assault
                       •   Aggravated Active Aggression - Deadly force encounter
     G. Response       The option used is determined by the totality of the circumstances
        Options
                       •    Presence - Identification of authority
                       •    Verbal Direction - Commands of direction or arrest
                       •    Soft Empty Hand Control and Restraining Devices - Techniques that have a minimal
                            chance of injury

                            ∗   Restraining Devices - Handcuffs, Ripp restraint, ankle cuffs, shackles

                       •    Chemical Weapons - Oleoresin capsicum (OC), Chloroacetophenone (C/N) and 2-
                            Chlorobenzaimalononitrile (C/S)



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2.   DEFINITIONS (Continued)

     G. Response         •   Electronic Control Device (ECD): for example, Taser
        Options          •   Intermediate Control Techniques - Techniques that have a probability of injury
        (Continued)
                             ∗    Hard Empty Hand Control
                             ∗    Impact Weapons
                             ∗    Stunbag Shotgun
                             ∗    Canine (K9) Application

                       •  Carotid Control Technique
                       •  Deadly Force
     H.   Use of Force Handcuffed/Restrained Persons
          Restrictions
                       •  Employees will not use strikes, impact weapons, chemical weapons, ECDs, carotid
                          control techniques, or deadly force unless such force is necessary to prevent imminent
                          serious bodily injury or death, or unless such force is reasonable based on the totality
                          of circumstances.

3.   GENERAL POLICY

     A.   It is the policy of the Department to use a reasonable amount of force to conduct lawful public
          safety activities.

     B.   The response option employed will be reasonable and based on the totality of circumstances.

          (1)   Employees involved in the use of force have the responsibility of providing the facts and
                circumstances they believe justified the use of force by completing the necessary reports,
                memorandums, etc.

          (2)   Circumstances that may govern the reasonableness of using a particular force option
                include, but are not limited to:

                •     The severity of the crime
                •     Whether the subject poses an immediate threat to the safety of officers or others
                •     Whether the subject is actively resisting arrest or attempting to evade arrest by flight

          (3)   Elements of Force - Employees need to consider the following:

                •     Ability - Subject has the reasonable ability to carry out the act
                •     Opportunity - Subject has the reasonable opportunity to carry out the act
                •     Jeopardy - Subject creates jeopardy to the officer or others
                •     Preclusion - Other alternatives have been reasonably considered based on the
                      totality of the circumstances

     C.   Escalation/De-Escalation of Force

          •     When use of force is needed, employees will assess each incident to determine, based on
                policy, training, and experience, which use of force option will de-escalate the situation and
                bring it under control.

     D.   All sworn employees will intervene, if a reasonable opportunity exists, when they know or should
          know another employee is using unreasonable force.

          •     All sworn employees will immediately report excessive force verbally to a supervisor.

     E.   Medical Treatment - Employees are responsible for requesting medical treatment for subjects
          against whom force was used.

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3.   E.   Medical Treatment (Continued)

          •     Any time there is an injury, or an alleged injury, as a result of force used by Department
                personnel, employees will:

                ∗    Examine any person claiming injury and render first aid, if necessary.
                ∗    Request paramedics to respond to the scene, if appropriate.
                ∗    Immediately notify a supervisor.

     F.   The techniques taught by the Department’s proficiency skills instructors will be used when
          practical.

4.   RESPONSE OPTIONS

     A.   Presence

          •     Presence is established through identification of authority.

                ∗    The presence of a K9 at a scene falls under this parameter.

     B.   Verbal Persuasion, Negotiation, or Command

          •     Includes instruction or direction from an officer in the form of verbal statements or
                commands.

     C.   Soft Empty Hand Techniques and Restraining Devices - These techniques have a minimal
          chance of injury.

          (1)   Control and restraint techniques include, but are not limited to:

                •    Wrist locks
                •    Joint locks
                •    Pressure points
                •    Handcuffing (metal, plastic, or soft restraint devices)
                •    Restraining devices such as Ripp restraints, ankle cuffs, and shackles (transport use
                     only)

          (2)   Employees will not restrain subjects with their legs behind their back (hog-tying).

     D.   Chemical Agents - The use of authorized chemical agents is considered a non-deadly tactic.

          (1) Oleoresin       May be used when reasonable and justified in the following situations:
              Capsicum
              (OC) Spray      •   To prevent the possibility of injury to an officer or another person
                              •   To ward off threatening dogs or other animals
                              •   In tactical building entries, such as search warrants
                              •   To subdue a person who is:

                                  ∗    Threatening or attempting physical harm to himself or another
                                  ∗    Resisting an arrest
                                  ∗    Rioting
                                  ∗    Interfering with an arrest
                              Carrying Procedures

                              •   Uniformed Employees

                                  ∗    All uniformed employees will be trained in the use of OC spray.
                                  ∗    Mandatory equipment which will be attached to the gunbelt and carried at all
                                       times while on duty.
                                  ∗    It will be carried with the canister in an upright position.

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4.   D.   Chemical Agents (Continued)

          (1) Oleoresin     •   Sworn Plainclothes Employees
              Capsicum
              (OC) Spray        ∗    All plainclothes employees will be trained in the use of OC spray.
              (Continued)       ∗    Sworn employees in plainclothes below the rank of commander will carry
                                     3/4-ounce OC spray as readily available as their weapon.

                            •   Undercover Operations - Carrying OC spray is optional for sworn employees
                                assigned to undercover operations.
                            •   Civilian Employees - Because civilian employees do not have arrest powers and
                                the training necessary to restrain aggressive individuals, those civilians
                                authorized to carry OC spray will utilize this as a defensive tool in an effort to gain
                                time and distance from an attacking subject.

                                ∗    Civilian employees will not engage individuals who, by their verbal or
                                     non-verbal actions, are engaging in aggressive behavior that may result in a
                                     physical attack to the employee.

                            Directions for Use

                            •   Employees using the 1.6-ounce OC spray will direct a one-second burst into the
                                face of the subject; effective range is normally 12-15 feet.
                            •   Employees using the 3/4-ounce spray will direct a one-second burst into the face
                                of the subject; effective range is normally 10-12 feet.
                            •   Do not use within three (3) feet of a subject as soft tissue damage could occur.
                            •   The subject should be immediately handcuffed and moved to a well-ventilated
                                area; medical help will be requested if a subject complains or displays any severe
                                or abnormal reaction to the spray.
                            •   Employees will not unnecessarily display or handle any OC spray.
                            •   When the circumstances justifying the use of OC spray no longer exist, OC spray
                                will immediately be discontinued.

                                ∗    Employees still may use reasonable force to maintain control and to protect
                                     themselves from danger.
                            Post-Use Care

                            •   Warm water can be used to flush the eyes without rubbing.
                            •   If water is not available, the Fire Department will be called to the scene.
                            •   Subjects should recover within 45 minutes; however, the intense sensation of
                                skin burning may persist for 30 to 90 minutes after exposure.
                            •   Salve or ointments should not be used on affected areas.
                            •   Subjects sprayed with OC will not be left unattended.
                            •   Paramedics will be called to the scene if a subject exposed to OC spray
                                complains or displays any severe or abnormal reaction to the spray at any time.
                            •   Employees will continue to provide post-use care to the subject until the subject
                                has recovered from the effect of the spray.
                            •   Employees will not lay subjects on their stomach.
                            •   Civilian employees will follow the proper directions for use as prescribed for
                                sworn employees and will notify Communications that OC spray has been
                                deployed.

                                ∗    The employee will make efforts to maintain a visual on the subject and direct
                                     sworn officers to the location for disposition and post-use care.
                                ∗    Once sworn employees arrive, post care procedures will be implemented.
          (2) Oleoresin     Authorized Personnel
              Capsicum
              Spray         •   Supervisors
              Mark-9        •   Officers and supervisors of the Special Assignments Unit (SAU), Major Offender
              Canister          Unit (MOU), Downtown Operations Unit (DOU), and Tactical Response Unit
                                (TRU)
              18.34 ounce

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4.   D.   Chemical Agents (Continued)

          (2) Oleoresin     •   K9 handler
              Capsicum
              Spray             ∗    Supervisors may direct an officer to deploy the Mark 9 canister when reasonable
              Mark-9                 to do so.
              Canister
                            Directions for Use
              18.34
              ounce         •    Employees using the Mark-9 canister OC spray will direct a one-second burst into the
              (Continued)        face of the subjects from a minimum distance of 15 feet.
                            •    The effective range is normally 20-25 feet.
                            •    Employees using the Mark-9 canister OC spray in a riot control situation should direct
                                 the spray face level, from a minimum distance of 15 feet, into the crowd until the
                                 desired effect is achieved.
                            •    Employees will not unnecessarily display or handle any OC Spray Mark 9 canister
                                 18.34 ounce.
                            •    Tactical chemical agents are considered non-lethal weapons.
                            •    Detailed training, deployment procedures, and tactical considerations are found in the
                                 appropriate bureau manuals.
          (3) Tactical      Delivery Systems
              Chemical
              Agents        •   Isper Jet
                            •   37mm Gas Delivery System

                                ∗    Ferret rounds will not be directed at individuals due to the possibility of serious
                                     injury if the round strikes a person.
                                ∗    Ferret rounds will not be used against moving vehicles.
                            Authorization for Use
                            •   The use of tactical chemical agents will be limited to those officers and supervisors
                                specifically authorized and trained in their use.
                            •   SAU and DOU are responsible for tactical chemical agent training; grenadier 1 and 2
                                levels, and will maintain the roster of officers certified to deploy chemical agents.
                            •   SAU, DOU, and TRU supervisors may authorize use of tactical chemical agents.

     E.   Electronic Control Devices (ECD) - Use is considered a non-deadly tactic.

          (1) Guidelines    •   ECDs, such as the Taser, use compressed nitrogen gas to propel probes and wires
              For Use           that conduct electrical energy which overrides a subject’s central nervous system,
                                attempting to temporarily stop the subject’s actions.
                            •   ECDs may be used when it is objectively reasonable based on the totality of the
                                circumstances, on subjects who are displaying active aggression, or who are placing
                                an officer or a third party in reasonable apprehension of imminent physical injury, or
                                to prevent a subject from harming him/herself.
                            •   The following circumstances should be considered prior to use:
                                ∗    Is the subject posing an imminent threat to the safety of officers, a third party, or
                                     him/herself?
                                ∗    What is the severity and violence level of the crime?
                                ∗    Does the subject have a history of violent behavior?
                                ∗    If an arrest team is not available, is it feasible to delay deployment to wait for one?
                            •   When the circumstances justifying the use of an ECD no longer exist, the ECD will
                                immediately be discontinued.

                                ∗    Employees still may use reasonable force to maintain control and to protect
                                     themselves or others from danger when such force can be justified through the
                                     totality of the circumstances.



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4.   E.   Electronic Control Devices (ECD) (Continued)

          (1) Guidelines    •   ECDs will not be used for any of the following:
              For Use
              (Continued)       ∗   Coercion of any type
                                    EXCEPTION: A warning Arc combined with the proper verbal warning may be
                                               used as coercion in situations that would likely result in a justified
                                               deployment of the ECD.
                                ∗   Against subjects solely for running from the officer
                                ∗   Against a subject who would be in danger of falling from a significant height
                                ∗   When subjects are near flammable liquids and gases
                                ∗   Intimidation by reckless display
                                ∗   Escorting or prodding individuals
                                ∗   Waking unconscious or intoxicated individuals
                                ∗   Individuals operating a motor vehicle
                                ∗   Individuals holding a firearm when their finger is on the trigger
                                ∗   Handcuffed prisoners resisting/refusing to enter a police vehicle, holding room,
                                    or hanging onto a railing or other item, etc.

                                NOTE:    The Department currently uses a nitrogen propellant OC spray; however,
                                         employees need to use caution in incidents involving other jurisdictions which
                                         might be using an alcohol based OC spray.

                            •   Employees will avoid using ECDs against the following subjects, unless employees
                                can articulate other reasonable force options have been tried or were unlikely to
                                succeed:
                                ∗   Female subjects known to be pregnant or who are visibly pregnant
                                ∗   Elderly subjects
                                ∗   Young children
                                ∗   Handcuffed prisoners
                            •   The following should be considered prior to using the device on subjects in water:
                                ∗   Any significant amount of water may cause the subject to drown and will hinder
                                    other officers assisting in the apprehension of the subject.
                                ∗   Deep water reduces the target area.
                            •   Employees requested to provide ECD demonstrations to groups and organizations
                                will first obtain permission from their bureau/precinct commander.
                            •   Employees shall not carelessly or recklessly display the ECD.

                            Tactical Considerations - When deploying an ECD, employees:
                            •   Will announce deployment to prevent contagious fire.
                            •   Will communicate with other employees upon arriving at the scene.
                            •   Will, when practical, have an arrest team available.
                            •   Will consider whether other options exist when dealing with mental health or excited
                                delirium subjects.
                                ∗   If an exigency exists for ECD use, the circumstances regarding the decision will
                                    be explained in the Incident Report (IR).
                            •   Will, when practical, give a verbal warning and consider the brief use of the warning Arc
                                function to give the subject adequate opportunity to comply before force is applied.
                            •   Should, if inside nine (9) feet, deploy in two authorized locations on the body far
                                enough away from each other to create neuromuscular incapacitation (NMI) and then
                                use the Arc button to activate all deployed probes.
                            •   May, if outside of nine (9) feet, deploy the ECD for one 5-second cycle, evaluate the
                                subject’s response, and, when feasible, allow the arrest team to control the subject.
                                ∗   Subsequent deployment may be administered if control over the subject is not
                                    achieved.
                                ∗   If the ECD is ineffective or inoperable, consider another force option.
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4.   E.   Electronic Control Devices (ECD) (Continued)

          (1) Guidelines    Tactical Considerations - When deploying an ECD, employees: (Continued)
              For Use
              (Continued)   •   Will, if it is determined an extended cycle is necessary to control a combative suspect,
                                explain the circumstances regarding the decision in the IR.
                            •   Should only apply the number of cycles reasonably necessary to safely approach and
                                restrain a subject (a limit to the number of cycles that may be administered to a subject
                                has not been determined).
                            Primary Target Areas for Probe Deployment
                            •   Center mass of the subject’s back
                            Secondary Target Areas for Probe Deployment
                            •   If unable to fire at the subject’s back, employees will fire at either side of the body
                                attempting to aim below the diaphragm.
                            •   If unable to fire at the subject’s back or sides of his/her body, employees should target
                                the lower front torso just above the belt line allowing the bottom probe to strike the
                                legs.
                            •   The groin area will not be intentionally targeted.
                            Target Areas for Drive Stun
                            •   Muscle or nerve points on the front, back, side, legs and arms (radial nerve, brachial
                                plexus tie-in, common peroneal, etc.)
                            Close Deploy and Redirect - This technique may be used when proximity to the subject
                            would not result in a probe spread large enough to achieve NMI.
                            •   Under exigent circumstances; for example, cartridge malfunction, employees may
                                deploy probes at close range and then redirect a drive stun to an area of the body at
                                a distance great enough to achieve NMI.
                            •   ECDs equipped with Rotational Pulse Drive technology incorporate Smart Cartridges
                                which, when working properly, can be deployed in a semi-automatic mode; therefore
                                employees may deploy in two (2) authorized locations on the body far enough away
                                from each other to create NMI and then back away using the Arc button to activate all
                                deployed probes.
                            Non-Target Areas
                            •   Head, neck, female breast, and groin
                            Probe Deployment Ranges for Patrol
                            •   Maximum range 25 feet for Smart Cartridge
                            •   Preferred range nine (9) to 18 feet for 25 foot Smart Cartridge
                            Medical Treatment
                            •   Paramedics will be requested for the following:
                                ∗   Probe penetrates the skin, or if the probes penetrate the clothing and the cycle is
                                    effective
                                ∗   If multiple drive stun applications are delivered
                            •   Prior to paramedic care, ECD operators should remove probes from the subject while
                                wearing latex gloves.
                            •   Do not remove probes from the subject’s eyes, face, throat, or groin.
                            •   Any medical complications will be reported to paramedics.
                            •   A supervisor will be notified and respond to the scene.




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4.   E.   Electronic Control Devices (ECD) (Continued)

          (1) Guidelines    Authorized Personnel
              For Use
              (Continued)   •   Only employees who are trained and certified by Training Bureau staff are authorized
                                to carry and deploy the ECD.
                            •   ECD operators will receive training and recertify annually.
                            Authorized Equipment
                            •   Employees will only carry one (1) authorized ECD device (Taser X2).
                            •   First responders who have been certified and issued an ECD will carry the device on
                                their person and a minimum of two (2) cartridges at all times.
                            •   ECD holsters will be worn on the support side (opposite side of the primary handgun)
                                in a “cross draw” orientation.
                                ∗   The Safariland 6005-10 in black with a single leg strap is the only optional
                                    authorized drop-leg ECD holster (employees wearing this option will wear the
                                    holster/platform and ECD attached to the duty belt and wearer’s leg in order to
                                    be in compliance with this policy).
                            •   Sworn employees assigned to specialty details will carry an ECD in accordance with
                                approved procedures authorized by the respective bureau commander.
                            •   Employees working in a non-uniform capacity that have a Department-issued ECD will
                                have the device available in the passenger compartment of their City vehicle.
                            •   Employees who have a Department-issued ECD and are working in an off-duty
                                capacity will carry the device as if they were in an on duty status.
                            •   Exceptions may be made by the employee’s bureau/precinct commander.
                            •   Certified civilian detention officers will carry their ECD in accordance with this policy.
                            Use on Animals
                            •   Employees may deploy an authorized ECD to incapacitate dangerous animals posing
                                an immediate threat to officers or the public.
                            •   Employees should consider containment of the animal and request assistance from
                                the Maricopa County Animal Care & Control (MCACC).
                            •   Follow the reporting and impounding procedures as outlined in section 6.A.(3) of this
                                order.
          (2) General
              Information Storage and Tracking Data
                            •   New ECDs will be entered into www.evidence.com prior to being placed into service.

                                ∗   The ECD serial number and the officer‘s name and serial number to whom the
                                    device is assigned will be kept current for as long as the program is in use.

                            •   Each bureau/precinct will maintain a log which will contain the following information:
                                ∗   The serial numbers of the cartridges assigned to each officer
                                ∗   The reason a new cartridge was issued (training, defective, use of force incident,
                                    etc.)
                                ∗   IR number if the cartridge was fired during a use of force incident

                            •   Police Supply is responsible for ordering extra cartridges and Power Magazines and
                                keeping an extra supply of ECDs to replace those which are inoperable or taken due
                                to an investigation.
                            •   Each bureau/precinct will maintain extra duty cartridges and Power Magazines.
                            •   Upon transfer from a first responder assignment, officers will immediately turn in their
                                ECD, holster, battery, and cartridges to administrative staff of the assignment they are
                                leaving so the equipment can be returned to Police Supply.
                            •   Employees will inspect their ECD for damage, to insure all parts are present prior to
                                the start of shift.
                            •   If the ECD is damaged or parts are found missing, it will be reported to a supervisor
                                in accordance with Operations Order 3.13, Rules and Regulations.
                            •   Employees will conduct a functional test of their ECD, in accordance with established
                                training at the beginning of each shift in order to test the operability of the ECD.
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4.   E.   Electronic Control Devices (ECD) (Continued)

          (2) General     •     The employee’s supervisor will conduct an inspection of the ECD, ensure the device
              Information       has been downloaded each month, and the results will be reflected in their supervisor
              (Continued)       notes.
                            Online Firmware Updates
                            •   Taser, Intl. publishes firmware updates online via www.evidence.com. Tasers must
                                be connected monthly to ensure the most current firmware is installed on the device.
                            Voluntary Exposures
                            •   It is not the practice of the Department to conduct voluntary exposures as a
                                requirement for user or in-house instructor certification or during Department
                                approved ECD demonstrations.

     F.   Intermediate Control Techniques - Techniques that may result in injury.

          (1) Hard Empty These include but are not limited to:
              Hand
              Techniques •   Closed fist strikes                              •    Kicks
                         •   Hammer fist strikes                              •    Knee strikes
                         •   Palm-heel strikes                                •    Elbow strikes
                         •   Impact pushes

                            Guidelines for Use

                            •   Areas to avoid are the neck, back, sternum, kidneys, and groin.
                            •   Hard empty hand techniques may be used when facing the active aggression level of
                                resistance.
                            •   When the circumstances justifying the use of hard empty hand techniques no longer
                                exist, hard empty hand techniques will immediately be discontinued.

                                ∗   Employees still may use reasonable force to maintain control and to protect
                                    themselves from danger.

                            •   Although these techniques may be used in some situations when facing passive
                                resistance, employees will first attempt verbal persuasion and soft empty hand
                                techniques when practical.
                            •   Closed fist, palm-heel, and elbow strikes are the only techniques that may be used to
                                strike the face and head, and then only when reasonable as a means to overcome a
                                violent attack.

                                ∗     A supervisor will be advised and respond to the scene to view and evaluate the
                                      subject.
                                 ∗    Jail personnel will be advised.
          (2) Impact        Straight, Side-handle, or Expandable Baton
              Weapons
                            •   Impact weapon strikes may be used when facing the active aggression level of
                                resistance.
                            •   Passive resistance or resistance, such as a subject’s refusal to enter a police vehicle
                                or holding room or to let go of a railing, is not sufficient in itself to justify the use of
                                impact weapon strikes.
                            •   When the use of the impact weapon is warranted, employees will attempt to strike
                                large muscle group areas and nerve motor points where there is minimal chance of
                                permanent injury.
                            •   Employees will not purposely strike or jab suspects with an impact weapon on the
                                head, neck, sternum, spine, lower abdomen, groin, or kidneys unless faced with a
                                deadly force situation.
                            •   When the circumstances justifying the use of impact weapons no longer exist, the use
                                of impact weapons will immediately be discontinued.

                                ∗   Employees still may use reasonable force to maintain control and to protect
                                    themselves from danger.
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4.   F.   Intermediate Control Techniques (Continued)

          (2) Impact        Authorization to Carry Impact Weapons
              Weapons
              (Continued)   •   Employees may carry impact weapons at their discretion unless specifically required
                                otherwise.
                            •   The impact weapon will meet the specifications listed in Operations Order 3.15,
                                Uniform Policy.
                            •   Employees who elect to carry an impact weapon must satisfactorily complete the
                                appropriate course taught by a Department impact weapons instructor.
          (3) Flashlights   •   Flashlights are not designed as impact weapons; however, a flashlight may be used
                                as an impact weapon if a baton is not readily available.
                            •   Employees will not purposely strike or jab subjects with a flashlight on the head, neck,
                                sternum, spine, lower abdomen, groin, or kidneys unless faced with a deadly force
                                situation.
          (4) Canines       K9s are considered a non-deadly tactic when properly deployed.
              (K9s)
                            •   K9s will not be used for control of crowds or in any circumstances where a strong
                                potential exists for discrediting the Department.
                            •   K9s may be used to search for or apprehend felony subjects when public or officer
                                safety is threatened sufficiently to justify this level of force.
                            •   K9s may be used to search for misdemeanor subjects; however, the animal will
                                remain on lead unless officer safety is threatened.
                            Procedures for Deploying K9s
                            •   Whenever time and circumstances permit, a verbal warning will be given to a subject
                                before releasing the K9 to conduct a search.
                            •   An announcement identifying police authority and giving directions to the subject
                                should be made in addition to stating the K9 will be released if the subject fails to
                                comply.
                            •   Detailed procedures for K9 use are found in Operations Order 5.3, Specialized
                                Investigations and Assistance, and the Tactical Support Bureau (TSB) manual.
          (5) Stunbag       •   Stunbag shotguns and 37mm direct impact munitions may be used in situations where
              Shotguns          distance is necessary to maintain officer safety and the use of impact weapons is a
              and 37mm          reasonable use of force: for example, subduing a person who is threatening or
              Direct            attempting physical harm to himself or another.
              Impact        •   Stunbag or 37mm direct impact munition rounds should not be fired through mediums,
              Munitions         such as glass or chain link fences, because the bag might tear and lead shot might
              (SAU)             be released.
                            •   Employees should anticipate firing follow-up shots if the prior shot missed or was not
                                effective.
                            •   The affected bureau/precinct/duty commander will be immediately notified of all
                                incidents involving the use of a stunbag shotgun or 37mm direct impact munitions.
                            •   Optimal ranges for the stunbag shotgun are between five (5) feet and 20 yards.
                            •   If possible, officers should consider other force options at less than five (5) feet.
                            •   When the circumstances justifying the use of a stunbag shotgun no longer exist, the
                                use of a stunbag shotgun will immediately be discontinued.

                                ∗    Employees still may use reasonable force to maintain control and to protect
                                     themselves from danger.
                            Primary Target Areas
                            •   Arms below the elbow
                            •   Lower abdomen
                            •   Buttocks
                            •   Legs
                            Secondary Target Areas
                            •   Arms above the elbow
                            •   Back, excluding spinal cord area from the base of the skull to the tailbone
                            •   Knees
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4.   F.   Intermediate Control Techniques (Continued)

          (5) Stunbag       Non-target Areas
              Shotguns
              and 37mm      •   Head
              Direct        •   Spine
              Impact        •   Thorax
              Munitions     •   Neck
              (SAU)
                            NOTE: Shots to non-target areas can result in fatal or serious injury.
              (Continued)
                            Additional Information
                            •   For specific guidelines reference the stunbag shotgun, refer to Operations Order 4.25,
                                Firearms Regulations.
                            •   For specific guidelines reference the 37mm direct impact munitions, refer to the TSB
                                manual.

     G.   Carotid Control Technique

          (1) Guidelines    •   The carotid control technique is designed to reduce the flow of oxygenated blood to
                                the brain.
                            •   If oxygenated blood flow to the brain is cut off for longer than four (4) to six (6)
                                minutes, irreparable brain damage may occur.

                            When to Use the Carotid Control Technique
                            •   The carotid control technique should only be used on subjects who are using active
                                aggression, aggravated active aggression, or who are a threat to themselves or
                                others.
                            Improper Applications of the Carotid Control Technique
                            •   This technique will not be used to render a subject unconscious for the following
                                situations:
                                ∗    Administrative reasons, such as obtaining fingerprints or photographs
                                ∗    If a subject demonstrates passive resistance, such as refusing to enter a police
                                     vehicle or holding room
                            Post-Use Care - If a subject is rendered unconscious as a result of the application of this
                            technique, employees will comply with the following:

                            •   Immediately handcuff the subject
                            •   Roll the subject onto their side and check for vital signs (recovery time will vary, but
                                usually takes 20 to 30 seconds)
                            •   Paramedics will be immediately summoned to the scene in all cases.
                            •   If cardiopulmonary resuscitation (CPR) is necessary, officers will immediately
                                remove the handcuffs.
                            Notifications
                            •   A supervisor will be notified immediately and respond to the scene.
                            •   Employees will advise receiving officers (including detention personnel who may
                                assume custody of the subject) the subject was rendered unconscious by the use of
                                the carotid control technique.
                            •   The use of the carotid control technique will also be reported on relevant reports,
                                booking forms, referrals, etc.

                            Restrictions

                            •   Employees will not use the technique more than once on the same subject because
                                of the possibility of progressive physical injury.
                            •   The subject will remain handcuffed or restrained, as necessary, to avoid subsequent
                                applications of the carotid control technique.

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4.   G.   Carotid Control Technique (Continued)

          (1) Guidelines    Restrictions (Continued)
              (Continued)
                            •   Subjects who have had the carotid control technique applied will not be restrained
                                with their legs behind their back (hog-tying).

     H.   Deadly Force

          (1) Guidelines    Employees may use deadly force under the following circumstances:

                            •   When such force is reasonable to protect themselves or a third person from another’s
                                use, or threatened use, of deadly force.
                            •   To prevent the escape of a subject whom the employee has probable cause to believe
                                has committed an offense involving the infliction or threat of serious physical injury or
                                death, and is likely to endanger human life or cause serious injury to another unless
                                apprehended without delay.
                            •   In situations where the employee must overcome an attack the employee reasonably
                                believes would produce serious physical injury or death to the employee or another
                                person.
                                ∗   When the use of techniques taught by the Department’s proficiency skills
                                    instructors is not practical under the circumstances, the employee may resort to
                                    any reasonable method to overcome the attack.
                            •   When the circumstances justifying the use of deadly force no longer exist, deadly force
                                will immediately be discontinued.
                                ∗   Employees still may use reasonable force to maintain control and to protect
                                    themselves from danger.
                            •   Deadly force is utilized as a last resort when other measures are not practical under
                                the existing circumstances.
                            •   The intentional use of a police vehicle against a subject on foot will be considered a
                                use of deadly force.
                            •   Employees will not attempt to deliberately collide with other vehicles or use a police
                                vehicle to force any vehicle off the roadway.
                                EXCEPTION:      Employees trained in the precision immobilization technique (PIT)
                                                maneuver and assigned to the Airport Bureau on Airport grounds or
                                                dignitary protection officers when needed as part of their duties.
                            Use of Firearms
                            •   In addition to the guidelines listed above, employees will discharge firearms in
                                connection with police activities only, and in accordance with the following policies,
                                whether on or off duty.
                            •   Employees will not unnecessarily draw or display any firearm, or carelessly handle a
                                firearm.
                            •   Warning shots will not be fired.
                            •   When the shooting of a subject appears imminent, employees will, if practical, issue
                                a verbal warning.
                            •   Firearms will not be used under circumstances in which a substantial and unjustifiable
                                risk of injury or death to bystanders exists.
                            •   Employees will not discharge a firearm from a moving vehicle.
                            •   Firearms will only be used to kill an animal posing an immediate danger to the
                                employee or the public when other means of protection are impractical.




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4.   H.   Deadly Force (Continued)

          (1) Guidelines    Vehicles
              (Continued)
                            •   Weapons will not be fired solely to disable a moving vehicle.
                                ∗      Weapons may be discharged at the driver or other occupant of a moving vehicle
                                       only when the employee has probable cause to believe the subject poses an
                                       immediate danger of death or serious physical injury to the employee or others,
                                       and the use of deadly force does not create a danger to the public that outweighs
                                       the benefits of its use.
                            •   Employees will not deliberately place themselves in the path of a moving vehicle or
                                one capable of immediate movement.
                                ∗      This is generally considered tactically unsound unless executed as part of a
                                       tactical plan intended to enhance safety.
                                ∗      This is not intended to prevent employees from moving in front of or around
                                       vehicles during the execution of routine traffic duties, such as directing traffic.
                            •   Employees are reminded of the serious risks involved when reaching in or leaning into
                                a running vehicle occupied.
                            •   Exigent circumstances must exist before an employee may reach or lean into a
                                running vehicle with the driver’s seat occupied.
                            •   When it is safe to do so, placing a police vehicle directly in front and rear of the subject
                                vehicle provides an extra margin of safety.
                            Notifications

                            •   Employees who discharge any firearm will make a verbal report to a supervisor as
                                soon as possible and submit a written report as soon as practical.
                                ∗      A command officer can make an exception to this requirement.
                            •   The employee’s bureau/precinct commander or the duty commander will be advised
                                of the weapon discharge incident.
                            •   Firearms training, lawful target practice, and lawful hunting are exempt from this
                                paragraph.

5.   RESPONSE OPTIONS TRAINING

     A.   All sworn employees will receive annual training on use of force options and policy by Department
          authorized instructors, who are certified through Arizona Peace Officers Standards and Training
          Board (AzPOST).

     B.   Impact Weapons

          (1) Basic         •   Recruits will receive basic impact weapons training while in the academy.
              Impact        •   Employees not previously certified in basic impact weapons usage may receive
              Weapons           impact weapons training on duty or if they are unable to complete the training during
              Training          their assigned shift, in an authorized off duty training program.
                            •   Overtime will be authorized for any impact weapons certification/re-certification
                                training only when employees are unable to complete the training during their regular
                                on duty shift.
          (2) Impact        •   Employees carrying impact weapons will successfully demonstrate proficiency in its
              Weapons           use annually.
              Proficiency   •   Department training records will reflect which impact weapon/s an officer has elected
              Training          to carry and the date basic and proficiency training was completed.

     C.   Stunbag Shotguns and 37mm Direct Impact Munitions (SAU)

          •    All sworn employees below the rank of lieutenant will receive stunbag training upon
               assignment to patrol, and every year thereafter if assigned to patrol.
          •    See Operations Order 4.25, Firearms Regulations, and the TSB manual for more information.
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5.   D.   Chemical Agents

          •   All sworn employees below the rank of commander will receive annual training regarding use
              of OC spray.

     E.   Carotid Control Technique

          •    In order to use the carotid control technique, an employee must satisfactorily complete the
               basic training course for carotid control.
          •    Employees will only use the carotid control technique taught by Department defensive
               tactics instructors.
          •    Employees must pass a proficiency test administered by a Department certified defensive
               tactics instructor.
          •    Certified employees will receive this training while attending post academy.
          •    Employees not previously trained in the basic carotid control technique must receive carotid
               control technique training and will demonstrate proficiency prior to utilizing it.
          •    Employees who are authorized to use the carotid control technique will demonstrate
               proficiency in its use annually.
          •    No other type of neck restraint/hold is authorized.

     F.   Firearms - See Operations Order 4.25, Firearms Regulations.

6.   REPORTING USE OF FORCE INCIDENTS - Employees will document the use of each response
     option.

     A.   Reporting Guidelines

          (1) Officer       Document the following as required in IRs:
              Presence
              Verbal        •    Officer presence
              Persuasion    •    Verbal persuasion, negotiation, or commands used
              Negotiation   •    Soft empty hand and restraining devices
              or Command
              Soft Empty    Reporting requirements when injury or alleged injury occurs:
              Hand and
                            •  A supervisor will be contacted as soon as possible.
              Restraining
                            •  An IR will be completed with the use of force details explained in the Narrative section
              Devices
                               to include how any injuries were sustained.
                            •  If no injury is visible, this will also be documented.
                            •  Supervisors will complete a Use of Force report.
          (2) Chemical      Reporting requirements for all incidents involving the use of chemical agents:
              Agents
                            •  A supervisor will be contacted as soon as possible.
                            •  An IR will be completed with the use of the chemical agent documented in the
                               Narrative section.
                            •  Supervisors will complete a Use of Force report only upon complaint of injury.
          (3) ECDs          Reporting requirements for all incidents involving an ECD:

                            •    A supervisor will be contacted as soon as possible.
                            •    The ECD will be downloaded immediately prior to the completion of the Use of Force
                                 report.
                            •    Supervisors will complete an Event Information Log for ECDs, available online at
                                 www.evidence.com for those with appropriate access, which will be saved
                                 electronically and attached to the Use of Force report.
                            •    An IR will be completed with the use of force details explained in the Narrative section
                                 including the reason for the ECD deployment and target and impact areas.



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6.   A.   Reporting Guidelines (Continued)

          (3) ECDs           Reporting requirements for all incidents involving an ECD (Continued):
              (Continued)
                             •   Supervisors will complete a Use of Force report which will include the following:
                                 ∗   Serial number of ECD used
                                 ∗   Number of times deployed
                                 ∗   Distance of the subject from the operator/s who deployed the ECD
                                 ∗   Effectiveness and result of use

                             Impounding Procedures
                             •   Place the probes backward in the spent cartridge and cover with a biohazard sticker.
                             •   Place the cartridge, probes, and some of the Anti-Felon Identifications (AFIDs) in a
                                 plastic container and then into a plastic evidence bag marked with biohazard stickers,
                                 and impound as evidence.
                             •   When completing the IR, list the package/item in the Evidence section ensuring the
                                 spent cartridge serial number is included.
                             •   If there is no evidentiary value to the cartridge and probes, the following procedures
                                 will be followed:
                                 ∗   Place the probes backward in the spent cartridge and cover with a biohazard
                                     sticker.
                                ∗    Place the cartridge in the sharps/biohazard container in any precinct impound
                                     room.
          (4) Intermediate   Reporting requirements for all incidents involving intermediate control techniques:
              Control
              Techniques     •   A supervisor will be contacted as soon as possible.
                             •   An IR will be completed with the use of force details explained in the Narrative
                                 section.
                             •   Supervisors will complete a Use of Force report.
                             •   K9s
                                 ∗   All Department K9 injury incidents will be investigated and documented by a K9
                                     Unit supervisor using the standard bite report format.
                                 ∗   The K9 Unit supervisor will also complete the Use of Force report.

                             •   Stunbag Shotguns and Sage SL-6 (SAU) - The Use of Force report will include the
                                 following:
                                 ∗   Reason for the shooting
                                 ∗   Weapon/s used
                                 ∗   Number of shots fired
                                 ∗   Target and impact locations
                                 ∗   Distance of the subject from the officer/s that fired
                                 ∗   Effectiveness and result of use
                             •  If a subject sustains a serious injury from a stunbag shotgun or Sage SL-6 shooting
                                incident, see section 7.B of this order for detailed procedures.
          (5) Carotid        Reporting requirements for all incidents involving the carotid control technique:
              Control
              Technique      •   A supervisor will be contacted as soon as possible.
                             •   An IR will be completed with the use of force code details explained in the Narrative
                                 section.
                             •   Supervisors will complete a Use of Force report.
          (6) Deadly         •   See the section 7 of this order for investigation and documentation procedures.
              Force

     B.   Use of Force Report

          (1)   Upon notification of a use of force incident, supervisors will conduct a fact finding
                investigation which will be documented in a Use of Force report if a Use of Force report is
                required as outlined above in section 6.A.
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6.   B.   (1)    (a)   Refer to the Field Based Reporting (FBR) User Manual for data entry procedures.

                 (b)   A Use of Force report will not be completed on prisoner injuries occurring prior to police
                       arrival or by means other than by police employees.

                       •   Refer to Operations Order 7.1, Prisoners, for required documentation.

                 (c)   When possible, audio record witness statements which will be attached to the Use of
                       Force report as an “Image.”

                 (d)   Digital photographs will be taken of any injuries which will be processed/stored as
                       outlined in Operations Order 8.1, Evidence, Impounding, and Property.

                 (e)   No additional paperwork is required unless unusual circumstances exist.

          (2)    Supervisors will submit the initial Use of Force report within seven (7) days of notification of
                 the incident.

          (3)    Use of Force reports will be submitted up to commander approval within 30 days of initiation
                 of the report.

7.   SHOOTINGS AND OTHER CRITICAL USE OF FORCE INCIDENTS

     A.   Required Reports - Supervisors will complete the following reports:

          •     Shooting Investigation (if applicable; see section 7.E of this order)
          •     Use of Force Report

     B.   Investigation and Reporting Responsibilities

          (1) Shootings and             All shootings and other use of force incidents resulting in death or serious injury
              Other Use of Force        involving employees of this Department will be investigated concurrently by the
              Incidents Resulting       following:
              in Death or Serious
              injury                    •   Professional Standards Bureau (PSB) - Completes the Use of Force report
                                        •   Involved employee’s supervisor
                                        •   Violent Crimes Bureau (VCB)/Homicide Unit
                                        •   Incident Review Unit (IRU)
                                        EXCEPTION:      Incidents listed in the following sections will be investigated
                                                       accordingly.
          (2) Non-Injury                •   For non-injury accidental discharges not involving a police action and
              Accidental                    shootings involving animals, the employee’s supervisor will investigate the
              Discharges and                incident and complete the Use of Force report.
              Shootings Involving
              Animals
          (3) Accidental                •   If an accidental discharge occurs while the employee is performing a police
              Discharge Involving           function and a citizen or subject is in close proximity such as, attempting to
              Police Action                 arrest a subject, PSB will conduct the investigation and complete the Use
                                            of Force report.

     C.   Notifications - The highest ranking officer at the scene will notify the PSB commander, VCB
          commander, and IRU/Legal Unit lieutenant.

     D.   Handling of Involved Employee’s Firearm

          (1)    Employees involved in any incident in which their firearm was discharged will release the
                 firearm to the officer or supervisor responsible for the investigation.

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7.   D.    (2)   Employees will be issued another firearm by PSB investigators prior to going off shift or
                 returning to duty.

     E.    Shooting Investigation

           (1)   The written report will include the following pre-narrative information:

                        Investigating Supervisor       Name, serial number, duty assignment, work days and hours

                            Employee Involved          Name, serial number, duty assignment, work days and hours
                                 Synopsis
                           Reason for Shooting         Injured animal, accidental discharge, etc.
                                 Occurred              Location, date and time
                      Employee’s Prior Use of Force
                       Incidents and Dispositions
                               Weapon Used             Make, model, caliber, ownership and type of ammunition
                      Number of Shots Fired/ Impact
                     Locations/ Backdrop Description
                            Injuries or damage         Description of any animals involved and name, address, etc.,
                                                       of owner of damaged property/injured animals
                               Witnesses
                      Photos/Latent Print Examiner     Name of the employee who took the photographs
                      IR Numbers of Other Related
                             Investigations
                         Details of Investigation      Narrative

           (2)   As soon as possible (after the scene investigation has been completed), the PSB
                 Investigations Unit lieutenant will be contacted to obtain a PSB shooting incident control
                 number.

                 •      If the incident occurs during non-business hours, the investigating supervisor will
                        contact PSB at the beginning of the next business day to obtain the control number.
                 •      The control number will be included in the subject portion of the memorandum in
                        addition to any other title information.

           (3)   All pertinent documents, including photographs, will be attached to the investigative report.

           (4)   Evidence in the form of bulk items (guns, shell cases, etc.) will not be forwarded.

           (5)   Supervisors will make no recommendations other than referring the matter to the Use of
                 Force Review Board.

     F. Routing of Administrative Use of Force Investigation

          (1)    Incidents Investigated by PSB - The PSB Commander will forward a copy of the PSB report
                 to the employee’s assistant chief and Department Use of Force Board chairperson.

          (2)    Incidents Investigated by the Employee’s Supervisor - The completed Use of Force report
                 and shooting investigation will be forwarded to the commander of the involved employee’s
                 bureau/precinct.

8.   TACTICAL REVIEW COMMITTEE

     A.    Purpose

           (1)   The Tactical Review Committee (TRC) and TRC sub-committee will review critical use of
                 force incidents and identify any related training needs.

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8.   A.   (2)   The TRC will not have the authority to make recommendations on whether or not a particular
                use of force involved in the incident reviewed complies with Department policy.

          (3)   While the role of the committee is primarily restricted to the identification of training needs
                for individuals and the Department as a whole, the committee may make suggestions
                regarding amendments to policy.

                •     Use of force incidents generally evolve rapidly, compelling employees to make
                      decisions with limited time and/or information; therefore, the TRC will take into
                      consideration the totality of the circumstances involved in the incident and decide if the
                      training need is sufficient to justify immediate intervention.

     B.   TRC Committee Members

          (1)   The TRC will report to the Police Chief or designee and will consist of the following
                personnel:

                •      Training Bureau commander (chair)
                •      Department Legal advisor (or representative)
                •      PSB commander or designee
                •      SAU lieutenant
                •      Arizona Law Enforcement Academy (ALEA) Basic Training lieutenant
                •      Training Bureau Advanced Training/Proficiency Skills lieutenant
                •      Phoenix Police Sergeants and Lieutenants Association (PPSLA) president (or
                       representative)
                •      Phoenix Law Enforcement Association (PLEA) president (or representative)

     C.   TRC Sub-Committee Members

          (1)   The TRC sub-committee, consisting of the following personnel, will attend each VCB
                debriefing following a critical use of force incident:

                •      Officers – Tactical Training Detail officer, SAU officer, and a patrol officer
                •      Sergeants – Firearms Detail sergeant, SAU training sergeant, Tactical Training
                       sergeant, and a patrol sergeant
                •      Lieutenants – Advanced Training/Proficiency Skills lieutenant, SAU lieutenant, K9
                       Unit lieutenant, and a patrol lieutenant

          (1)   Based on the information reviewed at the incident debriefing, the sub-committee will discuss
                the incident and determine the type of training opportunities that can be addressed.

                (a)    This training will address the tactical decision-making and actions of the involved
                       officers, as well as the management of the tactical scene by the responding
                       supervisors.

                (b)    The TRC sub-committee will make their recommendations to the TRC.

                (c)    The TRC will make a final determination on any training needs.

     D.   Post Use of Force Training

          (1)   Upon review of the incident by the TRC, all involved employees (to include supervisors) will
                be required to attend mandatory training.

                •      At the discretion of the TRC sub-committee, personnel indirectly involved in the
                       incident may also be required to attend training.

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8.   D.   (2)   A Training Notification Form 80-593D, completed by the TRC, will specify the required
                training and who will be required to attend the training.

                •     The commander/administrator of the affected employee/s will ensure the training is
                      completed without delay.

                      ∗    With the exception of extenuating circumstances, the mandatory training shall be
                           satisfactorily completed within 14 calendar days from the date notified.

          (3)   Employees will complete the mandatory training before returning to their regular work
                assignment.

          (4)   Once the training is completed, the Training Notification form will be signed by the employee
                and the Advance Training/Proficiency Skills lieutenant.

                •     The signed Training Notification form will be returned to the TRC.

     E.   Training Bureau Responsibilities

          (1)   The Training Bureau will be responsible for designing and delivering training based on the
                review and recommendations made by the TRC.

          (2)   Training may include the use of scenario based instruction when appropriate.

                (a)   The Training Bureau may develop instruction, based on the TRC review process, to
                      be given at module training, produced as training videos, or created as a written
                      directive for Department-wide dissemination.

                (b)   Matters deemed to be of an urgent nature will be addressed as soon as possible and
                      will not be set aside for the next module.

          (3) The training recommended by the TRC may be different for supervisors and other involved
              employees.

          (4)   The Training Bureau will ensure employees involved in the training acknowledge they have
                received and are responsible for the information presented to them.

     F.   Use of Force: Semi-Annual Report

          (1)   The TRC chairperson will provide a semi-annual report of lethal force activity to the
                executive staff by memorandum.

          (2)   The TRC semi-annual report will include the following:

                •     The number and type of lethal force incidents reviewed
                •     Any training given in relation to each lethal force incident and how the training was
                      distributed
                •     Any trends identified in lethal force incidents and any policy revisions or improvements
                      made as a result of the TRC review process

          (3)   The TRC may review incidents of non-lethal force upon referral made by a commander or
                assistant chief.

                NOTE: Normally, the TRC will not review non-lethal force incidents.



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9.   POST USE OF FORCE TRAUMA

     A.   Purpose

          (1)   The physical and emotional well being of Department employees is a primary concern
                following any use of force incident.

          (2)   The following guidelines have been established to ensure the physical and emotional needs
                of Department personnel are addressed.

     B.   Definitions

          (1) Critical Use of Force Incident    Any situation where an employee seriously injures or kills a person
          (2) Persons Directly Involved         Employees who seriously injure a person or who are seriously injured
                                                and those who participate in the incident
          (3) Post Use of Force Trauma          The emotional and physical effects that may occur to persons who
                                                have been involved physically or emotionally in a use of force incident

     C.   Assistance at the Scene of Any Use of Force Incident

          (1)   Critical Incident Stress Management (CISM) Team - A CISM team coordinator will be
                contacted to evaluate the incident and call out CISM team members as needed in all use of
                force incidents.

          (2)   Command Personnel - Appropriate command personnel, at the discretion of the Police
                Chief, will initiate personal contact with the involved employee and family to provide
                Department support and assistance as soon as possible.

     D.   Post Use of Force Counseling

          (1)   Employees Directly Involved in a Critical Use of Force Incident - All employees directly
                involved in a use of force incident resulting in death or serious injury will attend a
                psychological debriefing with the contracted psychologist listed in this order.

          (2)   The psychological debriefing will be scheduled as soon as possible after the incident by the
                employees’ immediate supervisors.

                (a)   Counseling is available on a 24-hour per day basis if needed.

                (b)   Five (5) follow-up sessions will be available at no expense to employees.

          (3)   Employees will meet with the contracted psychologist a second time before being released
                to enforcement duties (this session will be completed 30 days following the critical incident).

          (4)   Verification of the visits from the psychologist’s office (not the contents of the sessions) will
                be included in the Return to Work Authorization Form 80-595D to be forwarded to the
                appropriate assistant chief for review and his/her signature.

          (5)   Employees Not Directly Involved in a Use of Force Incident

                (a)   All employees who feel they are or may be negatively affected as a result of their
                      involvement are strongly encouraged to take advantage of the counseling services
                      available through the Employee Assistant Unit (EAU)

                (b)   This may include the employees’ spouses or immediate family members.


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9.   D.   (6)   Services Contracted to Provide Post Use of Force Counseling - The following service is
                contracted to provide post use of force counseling:

                Jeni McCutcheon, Psy. D., M.S.C.P., ABPP
                4501 N 22nd Street, Suite 190
                Phoenix, Arizona 85016
                602-368-2526
                To schedule appointments: www.drjeni.org

          (7)   Counseling Confidentiality Assurance - Employees who seek consultation or receive
                counseling through the Department contracted psychologist are assured maximum
                confidentiality.

                (a)   No individual, group, organization, department, City employee, or City official shall
                      have access to any information regarding an individual’s participation in the program
                      except as noted.

                (b)   The only exception to the guarantee of confidentiality is an indication by the officer to
                      the psychologist of any immediate physical danger to self or others.

                (c)   In the event of such an occurrence, the Police Chief shall be notified or action taken to
                      ensure protection of those concerned.

     E.   Post Use of Force Reassignment

          (1)   Reassignment Guidelines

                (1) Employees        •   Any employee who seriously injures or kills a person and is able to work will
                    Who                  be assigned at home for one (1) week following the incident.
                    Seriously        •   The employee will ensure availability to investigators.
                    Injure or Kill   •   The employee may be assigned to a non-enforcement position for at least
                    a Person             three (3) additional weeks pending administrative review.
                                     •   The Police Chief may return the employee to full duty prior to the Use of Force
                                         Review Board upon recommendation of the officer’s assistant chief.
                                     •   The employee will attend an initial psychological debriefing as soon as
                                         possible and a second meeting 30 days following the critical incident.
                (2) Any Other        •   Any other employee directly involved in a use of force incident resulting in
                    Employee             death or serious injury to any person may be reassigned to a non-enforcement
                    Directly             position pending administrative review of the incident.
                    Involved in a    •   The Police Chief may return the employee to full duty prior to the Use of Force
                    Use of Force         Review Board upon recommendation of the officer’s assistant chief.
                    Incident         •   The employee will attend a psychological debriefing.

          (2)   Any employee involved in a use of force incident resulting in assignment at home will have
                PX time (Use of Force/Administrative Leave) entered in eChris by the Fiscal Management
                Bureau/Human Resource Unit supervisor.

          (3)   All employees directly involved in a Class III discharge of a firearm will be referred to the
                Training Bureau firearms staff for an appointment prior to returning to enforcement duty from
                administrative leave.

                (a)   The employee’s bureau/precinct commander/administrator or designee will be
                      responsible for contacting the Training Bureau firearms staff to schedule the
                      appointment.

                (b)   This appointment will provide employees with the opportunity to fire their duty weapon,
                      and if necessary, qualify on a replacement weapon and discuss any weapons related
                      questions they may have as a result of their shooting incident.

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9.   E.   (4)   All employees involved in a critical use of force incident will have a Return to Work
                Authorization form completed by their commander/administrator prior to returning to their
                regular work assignment.

          (5)   The administrative review process will be considered complete upon the findings of the Use
                of Force Review Board, if the incident is found within policy, or upon completion of the
                disciplinary review process, if the incident is found to be out of policy.




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